Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 1 of 113




            EXHIBIT 2
Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 2 of 113




  MASTER SOLUTION PURCHASE AND SERVICES AGREEMENT

                       BY AND BETWEEN

               DOMINION VOTING SYSTEMS, INC.
                       as Contractor,

                               and

       SECRETARY OF STATE OF THE STATE OF GEORGIA
                        as State


                     Dated as of July 29, 2019

                         Contract No. [●]
         Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 3 of 113
Master Solution Purchase and Services Agreement



                        Master Solution Purchase and Services Agreement
         THIS MASTER SOLUTION PURCHASE AND SERVICES AGREEMENT (this “Agreement”) is
entered into this ____ day of _______, 2019 (the “Effective Date”), by and between the Secretary of State
of the State of Georgia, with its principal executive offices at 2 Martin Luther King Jr. Drive, West Tower,
Atlanta, Georgia 30334 (“State”), and Dominion Voting Systems, Inc., with an office at 1201 18th Street,
Suite 210, Denver, Colorado 80202 (“Contractor”). All capitalized terms used in this Agreement are
defined, or the location of such definitions indexed, in Section 18.

1.       BACKGROUND AND SCOPE.

1.1      Background. State desires to acquire, and enable other State Entities to acquire, from Contractor
certain Services, Software, Equipment and/or any Licensed Programs or any combination of the foregoing
(collectively, the “Solution”) capable of providing a new Statewide Voting System (a “SVS”) with a verifiable
paper record which is sufficient to support all primaries and general elections, as more fully described in
State’s request for proposal for the Solution (event number 47800-SOS0000037) released March 15, 2019
and all documents attached thereto or links contained therein (as amended, the “eRFP”). Based on
Contractor’s experience, State has selected Contractor to supply such Solution and, if selected by State,
to perform (through itself or one or more Contractor Solution Partners) Services to customize, install,
implement and/or maintain a Solution, as further described herein.

1.2      Guaranteed Functionality & Guaranteed Performance. Before the selection of Contractor, State
issued the eRFP whereby Contractor was required to make an initial, written response to such eRFP and
to engage in meetings and discussions with State regarding the suitability of the Solution and Services for
identified needs of the State Entities as set forth in the eRFP. As part of the eRFP process, State required
Contractor to perform certain professional services and demonstrations to validate and confirm that the
Solution and Services fulfill the needs of the State as described in the eRFP, including the delivery and
implementation of a SVS that can be used by all State Entities throughout the State of Georgia for the 2020
Presidential Preference Primary on March 24, 2020 (the “Presidential Preference Primary”). Such
requirements, together with Contractor’s eRFP Response, Contractor’s Request for Supplemental
Technical Response dated June 24, 2019, shall be considered the “Mandatory Requirements” for
purposes of this Agreement, which shall be incorporated in writing into this Agreement. Contractor expressly
represents that the Solution will meet all Mandatory Requirements, and, when implemented, will accurately
function in accordance with those requirements and this Agreement. State selected Contractor and the
Solution and enters into this Agreement based on the features, functions and attributes of the Solution
described in (a) the Documentation, (b) the Mandatory Requirements as being capable of enabling State
and all other State Entities to accurately and securely administer elections throughout the State of Georgia
in accordance with Applicable Laws of the State of Georgia (the “Guaranteed Functionality”), and (c)
Contractor’s guarantee that Contractor will have timely and completely implemented the Solution prior to
the date of the Presidential Preference Primary (March 24, 2020), including delivery of all Equipment and
training on the use of such Equipment in the registration of voters and administration of an election, such
that the SVS is in place and the Solution fully operational and available for use by all State Entities in such
Primary and in all subsequent primary and general elections throughout the Term (the “Guaranteed
Performance”).

1.3        Solution Partners. Contractor may provide certain of the Services and/or components of the
Solution (including certain Third Party Licensed Programs) through one or more Contractor Affiliates,
suppliers, resellers, or service providers (each, a “Contractor Solution Partner”), provided, each is
expressly identified by Contractor to State and State agrees to its inclusion on Exhibit D hereto. As between
Contractor and each Contractor Solution Partner on the one hand, and State on the other hand, Contractor
shall be the prime contractor to State hereunder and in such capacity shall have full responsibility and
liability for the performance of the Solution (including each of its Contractor Solution Partner components)
and all Services hereunder (including all Services provided by Contractor Solution Partners). Unless the
context otherwise requires, all references to “Contractor” throughout this Agreement shall refer to both
Contractor and each Contractor Solution Partner. If any Services or any portion or component of the
Solution is subject to a warranty claim or otherwise suffers a malfunction or defect and Contractor and a


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         Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 4 of 113
Master Solution Purchase and Services Agreement



Contractor Solution Partner dispute the cause of and/or fault for such malfunction or defect, then until such
time as Contractor and the Contractor Solution Partner resolve their dispute, Contractor shall, without delay
or cost to State continue to provide the Maintenance Services and complete all repairs, replacements or
other applicable remedy obligations hereunder as necessary to full remedy the warranty claim.

1.4       Purchasing by State and other State Entities. State may use the Solution and/or Services
purchased under this Agreement on its own behalf and for the benefit of all other State Entities, in
accordance with the terms and conditions hereof. Contractor acknowledges and agrees that this Agreement
is intended to be subject to an intergovernmental agreement between State and the other State Entities,
and, therefore, that State or any other State Entity may purchase the Solution and/or any of the Services
directly under this Agreement by issuing a valid purchase order and entering into a Solution Order or
Services Order, as applicable. Any State Entity directly purchasing a Solution and/or Services under this
Agreement (i) shall be solely responsible for payment of the Solution or Services purchased by such State
Entity, (ii) shall be entitled to all of the rights and benefits afforded to State under this Agreement, and (iii)
may enforce this Agreement in its own name with respect to such Solution and/or Services as if this
Agreement, in its entirety, had been executed by Contractor and the applicable State Entity, and (iv) subject
to Section 17.6.1, shall only be held responsible by Contractor for the performance of its obligations
(including payment obligations) with respect to the specific Solution and/or Services purchased by such
State Entity as set forth in the applicable Solution Order or Services Order.

1.5      Non-Exclusive Rights. This Agreement is not exclusive. State and each other State Entity reserve
the right to select other contractors to provide the same or other products, licenses and services.

1.6    No Minimums Guaranteed. Except as provided in an executed Solution Order, this Agreement
does not guarantee any minimum level of purchases.

2.       SOLUTION AND DELIVERABLES.

2.1     Solution Order and Delivery. During the Term, and subject to all of the terms and conditions
contained herein, Contractor agrees to deliver to State the Solutions ordered pursuant to a Solution Order,
as hereinafter described.

         2.1.1 Solution Order. For the ordering of a Solution from Contractor, any State Entity and
Contractor will, subject to mutual agreement by both parties, execute a written order (each an “Solution
Order”). Each Solution Order shall: (a) be substantially in the form of Exhibit B hereto; (b) be consecutively
numbered with respect to all prior Solution Orders; and (c) include, where applicable and available at that
time, the following information:

                (i)      the services described in this Agreement, including the Configuration Services,
services required to complete Installation Events, Maintenance Services, Training Services and other
services provided by Contractor under this Agreement (the “Services”), which are being purchased by the
applicable State Entity;

                (ii)    licenses and/or sublicenses to the application software (the “Application
Programs”), and to the custom programming application software (the “Special Programs”) required in
connection with the Services;

               (iii)  the software support services to be provided by Contractor for the Application
Programs and the Special Programs (collectively, the “Support Services”);

                 (iv)   the hardware and equipment Deliverables to be provided by Contractor hereunder,
including any computer systems, accessories, supplies, parts, related Documentation, and Revisions
thereto to be provided by Contractor required for the operation of the Solution (the “Equipment”) and the
licenses and/or sublicenses to the operating software for such Equipment granted by Contractor (the
“Operating Programs”);



State of Georgia/Dominion Confidential                                                                          2
         Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 5 of 113
Master Solution Purchase and Services Agreement



                   (v)       the maintenance services for the Equipment (collectively, the “Maintenance
Services”);

                   (vi)      the date by which the Solution must be fully delivered;

                   (vii)     the particular State Site to which such Solution must be delivered; and

                   (viii)    the price applicable to the items set forth on such Solution Order.

The terms “Application Programs,” “Special Programs,” and “Operating Programs” are collectively referred
to as the “Software.” In the event of a conflict between the terms of this Agreement and the terms of any
Solution Order, except with respect to any provision of this Agreement which explicitly states that it may be
modified or superseded by an analogous provision in a Solution Order, the terms of this Agreement shall
control. The terms and conditions of each Solution Order will apply solely with respect to the Solution
purchased under such Solution Order and shall not be deemed to modify this Agreement.

        2.1.2 Implied Products and Services. Subject to Section 2.3.2 if any Services, Application
Programs, customizations, Operating Programs, Support Services, Maintenance Services which are
reasonably required for, and incidental to or inherent in, the proper delivery and use of the Solution or the
performance and provision of the Services (regardless of whether they are specifically described in this
Agreement), they will be deemed to be implied by and included within the scope of the Solution and Services
to be provided by Contractor to the same extent and in the same manner as if specifically described in this
Agreement.

         2.1.3 Installation Plan. Attached as Attachment 4 to each Solution Order shall be an installation
plan, developed by Contractor and approved by State (the “Installation Plan”) which describes in detail
with respect to such Solution Order: (i) each element of the delivery, installation, and training of State
Personnel in the operation and use of, the Solution, each in a manner that meets the Mandatory
Requirements (each a “Installation Event”); (ii) the specific dates set by which each of the Installation
Events are to be completed (the “Installation Deadlines”); and (iii) the applicable Site Specifications, if
any. Installation Plans may be replaced and superseded from time to time upon agreement of the parties
in order to reflect mutually agreed changes in the Installation Events or Installation Deadlines by using the
change control procedures set forth in Section 5.2. For the avoidance of doubt, State Entities will only be
responsible for those fees related to Installation Events that are reflected in the applicable Solution Order.

         2.1.4 Delivery. Contractor shall deliver the Solution ordered, including all Equipment and
Documentation, to the State Site specified in the Solution Order, by the date(s) specified in the Installation
Plan and otherwise in strict compliance with the terms and conditions of this Agreement and Installation
Plan. Contractor shall not make any substitutions for the Solution of any other version, model, capacity or
manufacturer without the prior written consent of State. Contractor represents and warrants that the
Solution shall be new (not remanufactured or refurbished), free of defects, and in good operating condition
at all times prior to the expiration of the Warranty Period. Solutions which consist solely of Licensed
Programs may also be delivered electronically upon mutual agreement of the parties.

         2.1.5 Shipment, Title and Risk of Loss. For each piece of Equipment or other Solution hardware
component, Contractor shall pass title and ownership of such Solution component to State upon State’s
payment in full for such Solution component. Upon State’s payment in full for each Solution, Contractor will
deliver a bill of sale for each Solution component to State, as applicable. Contractor guarantees that State
shall acquire good and clear title to the Equipment and other Solution hardware components being
purchased hereunder, free and clear of all liens and encumbrances. Contractor shall arrange for shipment,
at Contractor’s expense, of Equipment by a mutually acceptable common carrier F.O.B. to the applicable
State Site, or other delivery location specified in the Solution Order, at a mutually agreeable time. Risk of
loss for such Equipment shall pass to State upon proper delivery at the designated destination. There shall
be no additional charge to State for shipping, delivery or insurance beyond the prices set forth in the Solution
Order. In the event of damage to any Equipment or hardware during transit or if Contractor or its designee
delivers Equipment or hardware that does not pass Acceptance Testing, then Contractor will replace such


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         Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 6 of 113
Master Solution Purchase and Services Agreement



Equipment or hardware at Contractor’s expense, including covering all shipping costs associated with
returning such items to Contractor.

         2.1.6 Inspection. In accordance with the Installation Plan and the requirements for the
Acceptance Testing Plan, all Equipment shall be inspected as follows: (i) following arrival of the initial
deliveries at the central warehouse designated by State and (ii) for the same deliveries, when forwarded to
the State Site (or any subsequent delivery made directly to the State Site(s)). Prior payments shall not be
considered as waiving any right of testing or inspection of the State Entities under this Agreement.
Determination by a State Entity that Equipment or component has passed Acceptance Testing is without
prejudice to any other rights or remedies that such State Entity may have with respect to any subsequently
uncovered non-compliance, defect, or non-conformity. Any State Entity may return any Equipment or
component of the Solution to Contractor that it determines not to have passed Initial Testing or Acceptance
Testing for replacement, and such returns shall be at Contractor’s expense including as relates to
transportation charges. Any return made by a State Entity for failure of the Equipment or any component of
the Solution to pass the Acceptance Testing shall not be affected by any determination by State that such
Equipment or component passed Initial Acceptance Testing. If Contractor fails to repair or arrange shipment
and pickup of such rejected Equipment by a mutually acceptable common carrier (F.O.B. the State Site
from which such rejected items will be dispatched) and redeliver appropriate replacement Equipment or
components sufficient to cure the defect prompting the rejection and otherwise fully functional in accordance
with the requirements of this Agreement, within thirty (30) days of the applicable State Entity’s notification
of such rejection, the State Entity shall be entitled to, at its option: (a) rescind the applicable Solution Order
as to the rejected Equipment; (b) accept the rejected Equipment or component at an equitable price
reduction agreed by the parties; or (c) demand specific performance.

        2.1.7 Cancellation of Solution Order for Convenience. A State Entity may cancel a Solution
Order or any part thereof at any time without charge or cancellation fee. If State cancels any Solution Order,
other than pursuant to Section 2.1.6, then the applicable State Entity will bear the cost of shipping any
Equipment already delivered pursuant to such Solution Order back to location designated by Contractor
(F.O.B. the State Site from which such rejected items will be dispatched). The remedy set forth in this
Section 2.1.7 shall be Contractor’s sole and exclusive remedy and State’s entire liability for claims related
to any such cancelled Solution Order. Where a Solution Order is terminated by a State Entity pursuant to
this Section 2.1.7, State or the other State Entity, as applicable, shall pay to Contractor for the Equipment
actually delivered and used by the applicable State Entity and the Services satisfactorily performed by
Contractor, in each instance, prior to the date of such termination. If a State Entity has prepaid Contractor
any amounts under a Solution Order terminated pursuant to this Section 2.1.7, Contractor will refund to the
applicable State Entity that portion of such prepaid expense which is attributable to month(s) of and after
the termination of the applicable Solution Order.

2.2     Documentation. Contractor shall deliver to State in such form as State shall request the number of
copies requested by State of Documentation relating to the Solution and any updates thereto at no
additional charge to State. State Entities may duplicate the Documentation provided that the State Entities
reproduce the copyright that appears on such Documentation being duplicated. In no event will any
provision of this Agreement, or any right or benefit of State or the other State Entities provided for under
this Agreement, be reduced, limited or otherwise adversely affected (including through any increase in cost,
charge or expense, including taxes) as a consequence of the terms of the Documentation.

2.3      Revisions; Upgraded Solution.

        2.3.1 If Contractor makes any revision, modification, enhancement, improvement or otherwise
updates the Software, any component thereof, or code used therein to include any patches, upgrades,
updates, new versions, substitutions, replacements, and other modifications, improvements and
enhancements, including through the introduction of new products that have comparable purpose and
functionality as the Software used by the State Entities (collectively the “Revisions”), such Revisions will
be made available to the State Entities, and, if approved by State, provided by Contractor, on a no-charge
basis (with a corresponding credit for the amortized cost of the component being replaced by the accepted
Revision) and will be deemed to be part of the Solution. Contractor shall keep State informed of any


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         Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 7 of 113
Master Solution Purchase and Services Agreement



potential Revisions being considered by Contractor, Revisions which may be necessary to keep the
Solution relevant, and any developments in the industry or election practices generally that could adversely
affect the Solution or render it obsolete including by: (i) meeting with State quarterly throughout the twenty-
four (24) months immediately following the Effective Date and then twice in each of the successive twelve
(12) month period remaining during the Term to discuss the same and (ii) providing State with a detailed
comparison of the Solution currently in use by the State Entities as of the date of the Proposed Revisions
as would exist after any proposed Revisions (the “Upgraded Solution”). The Upgraded Solution and the
Revisions contained therein shall be subject to State’s prior review and approval and State may conduct
such testing and evaluations of the same as it determines to be necessary. If State declines to use the
Revisions or the Upgraded Solution, Contractor will remain obligated to support the existing version of the
Solution during the Term. For the avoidance of doubt, except as otherwise specified in Section 2.3.2,
Contractor shall provide all Revisions occurring at any time during the Term at no additional cost to, and
without increases to any existing fees payable hereunder by, any State Entity.

         2.3.2 If a State Entity requests that Contractor make Revisions to the Software that are major in
nature and are required because of a change to Applicable Laws of the State of Georgia governing elections
as in effect as of the date of this Agreement (e.g. a change to a ranked-choice voting system) (“Major
Revisions”) such Major Revisions may be accompanied by additional or increased fees as mutually agreed
upon by the parties in accordance with the Change Request procedure described in Section 5.4.
Notwithstanding the foregoing, Contractor acknowledges and agrees that any Revisions or other changes
to the Solution that are required due to changes in federal law, regulation, or standard shall not be
accompanied by an increased fee.

         2.3.3 Throughout the Term and subject to any restrictions on implementing changes or adding
services under this Agreement, Contractor will seek to improve the quality, efficiency and effectiveness of
the Solution to keep pace with technological advances and support State’s evolving needs as related to
election administration. Without limiting the generality of the foregoing, Contractor will: (a) identify and
apply ‘best practice’ techniques and methodologies in performing and delivering the Solution and Services
consistent with then-current industry standards and Contractor’s normal course of business; (b) train
Contractor Personnel in new techniques and technologies used generally within the industry; and
(c) maintain the currency of the Contractor’s tools, infrastructure, software and other resources.
Notwithstanding anything contained herein to the contrary, Contractor shall not, without the prior written
consent of State, (i) make any Revision or otherwise add to or alter the Solution or any component part
thereof in any way that could remove Guaranteed Functionality or materially degrade Guaranteed
Performance (or any portion thereof) or (ii) fail to make any Revisions necessary to ensure the Solution
used by the State Entities remains current and at the forefront of voting technology throughout the Term,
provided that such Revisions have been certified under the applicable provisions of the election laws and
regulations of the State of Georgia, to the extent such certification is required.

2.4     Additional Requirements and Dependencies. Items or services which are included in or required
for a Solution but not provided directly by Contractor must be identified as such in the Schedule for the
corresponding Solution. Items or services which are required but are not available without further
development or engineering must be identified as such in the Schedule for the corresponding Solution. If
for any Solution Contractor sells or licenses to State Contractor’s own or a Contractor Solution Partner’s
software, hardware, network communications, or interfaces, including project tools that Contractor regards
as proprietary, Contractor will provide State, in addition to descriptions contained in a Schedule, a separate
purchase order, contract, or license agreement describing the terms of such transaction. State will not be
subject to extraneous royalties or other extended payment terms or usage restrictions of any kind arising
from the purchase or license of such items unless shown in such purchase order, contract, or license
agreement and unless such purchase order, contract, or license agreement is approved in writing by an
authorized representative of State.

2.5     Within industry standards, State reserves the right to select the features, tools, accessories and
companion applications to be used with the Solution to the extent reasonably necessary for the
administration of elections. Contractor agrees to work with the other contractors who offer such products



State of Georgia/Dominion Confidential                                                                       5
         Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 8 of 113
Master Solution Purchase and Services Agreement



and solutions. State reserves the right to approve system configuration, architecture, or functionality that
affects the choice or use of the third-party products.

3.       LICENSE AND AUTHORIZED USE.

3.1      Grant of License.

        3.1.1 Grant of License. Except as provided elsewhere in this Agreement or an applicable
Solution Order, Contractor hereby grants to State a non-exclusive, irrevocable (during the Term), and
worldwide license for State and other State Entities to use, install, execute, store, and display the object
version of all Contractor Licensed Programs in connection with State’s use, operation, or support of the
Solution and in accordance with all the terms and conditions of this Agreement. In addition, State, the other
State Entities, and/or State Contractors, subject to the restrictions and processes set forth herein, shall be
permitted, in connection with the use, operation, or support of the Solution, to: (a) use the Contractor
Licensed Programs at any State Site; (b) make and use copies of the Contractor Licensed Programs at
each State Site; (c) use the Contractor Licensed Programs for to fulfill the Mandatory Requirements
including by providing access at all applicable State Sites to the Contractor Licensed Programs, other than
by remote connection; and (d) use and/or copy of the Contractor Licensed Programs for the purpose of
creating and using training materials relating to the Contractor Licensed Programs for internal purposes,
which training materials may include flow diagrams, system operation schematics, or screen prints from
operation of the Contractor Licensed Programs.

         3.1.2 License to Source Code Version. The License also includes the right to receive from
Contractor and use the source code version of the Contractor Licensed Programs to the extent so provided
in Section 3.1.4 and Section 3.2.

        3.1.3 Deactivation at State’s Request. From time to time, a State Entity may elect to uninstall
one or more Contractor Licensed Programs for some period of time. If a State Entity elects to uninstall any
Contractor Licensed Program such State Entity shall not be responsible for payment of any further fee
applicable to such uninstalled Contractor Licensed Program(s). If a State Entity elects to reinstall any such
Contractor Licensed Program(s) (i) the Extended Warranty applicable to such Contractor Licensed
Program(s) will recommence as of the date such Contractor Licensed Program(s) is reinstalled and (ii) any
such reinstallation by a State Entity will be at no cost to any State Entity other than as provided above.

          3.1.4 Rights Upon Contractor Insolvency. All rights and licenses granted under or pursuant to
this Agreement by Contractor to State and any State Entities are, and shall otherwise be deemed to be, for
purposes of Section 365 (n) of the United States Bankruptcy Code (“Bankruptcy Code”), licenses to rights
to “intellectual property” as defined under the Bankruptcy Code. Contractor acknowledges that if it, as a
debtor in possession or a trustee in bankruptcy in a case under the Bankruptcy Code, rejects this
Agreement, then State or a State Entity may elect to retain its rights under this Agreement as provided in
Section 365(n) of the Bankruptcy Code. The parties further agree that, in the event of the commencement
of any bankruptcy proceeding by or against Contractor under the Bankruptcy Code, State and each State
Entity shall be entitled to retain all of such rights under this Agreement. Contractor agrees and
acknowledges that enforcement by State or any State Entity of any rights under Section 365(n) of the
Bankruptcy Code in connection with this Agreement shall not violate the automatic stay of Section 362 of
the Bankruptcy Code and waives any right to object on such basis. Upon rejection of this Agreement by
Contractor or the bankruptcy trustee in a bankruptcy case under the Bankruptcy Code and written request
of State or a State Entity to Contractor or the bankruptcy trustee pursuant to Section 365(n) of the
Bankruptcy Code, Contractor or such bankruptcy trustee shall: (a) provide State or such State Entity the
materials that are the subject of the rights and licenses described in this Section 3.1.4 and any Intellectual
Property Rights otherwise required to be provided to State or such State Entity under this Agreement, or
any agreement supplementary to this Agreement, held by Contractor or such bankruptcy trustee; and (b)
not interfere with the rights of State or such State Entity provided in this Agreement or any other agreement
supplementary to this Agreement, to the materials that are the subject of the rights and licenses described
in this Section 3.1.4, and any Intellectual Property Rights provided under such agreements, including any



State of Georgia/Dominion Confidential                                                                      6
         Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 9 of 113
Master Solution Purchase and Services Agreement



right to obtain the materials that are the subject of the rights and licenses described in this Section 3.1.4
and any such Intellectual Property Rights from another party.

3.2       Delivery and Use of Source Code. No later than thirty calendar days from State of Georgia
certification, Contractor shall, at its sole expense, (i) place in escrow with NCC Group, Inc., a Virginia
corporation (the “Escrow Agent”), pursuant to the NCC Group Sourceone Escrow Agreement (Agreement#
46286) by and between Escrow Agent and Contractor dated November 4, 2010 (the “Escrow Agreement”),
a copy of the Source Code incorporated within the Solution provided to the State Entities under this
Agreement and (ii) cause the State to be enrolled as a “Licensee” under the Escrow Agreement. Delivery
of such Contractor Licensed Programs under this Agreement will be deemed to include and require delivery
of a copy of the Source Code to the Escrow Agent under the Escrow Agreement, together with any updates
thereto. State shall be entitled to receive a copy of such Source Code and to use such Source Code to
support and maintain the State Entities’ authorized use of the Contractor Licensed Programs, upon the
occurrence of a “Release Event” set forth in the Escrow Agreement. If Contractor makes any update to
any escrowed Contractor Licensed Program, Contractor shall furnish the Escrow Agent with a corrected or
revised copy of the Source Code for such Contractor Licensed Program within the timeframe required by
Section 1.2 of the Escrow Agreement.

3.3     Third Party Source Code. Contractor shall identify to State in writing prior to the Effective Date and
from time to time thereafter as often as required, any source code for Third Party Licensed Programs that
Contractor is not authorized to deliver as part of the Source Code hereunder and for all such source code.

4.       Services.

4.1      Configuration Services.

         4.1.1 State Solution and Functional Requirements. Contractor acknowledges that State has
relied, and will rely on, Contractor’s experience and expertise in installing, implementing, and servicing the
Solution purchased under this Agreement. The Solution will, when installed and implemented, meet State’s
technology and business requirements including all Functional Requirements. For purposes of this
Agreement “Functional Requirements” means the technical requirements of State including, where
applicable: (a) an identification of all software applications to be run on such Solution (including Licensed
Programs provided by Contractor under this Agreement) (collectively, the “Designated Licensed
Programs”); (b) any performance requirements of the Solution, as applicable (the “Performance
Requirements”); (c) the anticipated number of users of the Solution and/or Designated Licensed
Programs; and (d) details relating to any State systems with which the Solution and Designated Licensed
Programs are to interface. Any Functional Requirements described in the Installation Plan, Solution Order,
or Services Order shall be incorporated herein.

         4.1.2 Contractor System Proposal. If State provides Contractor with Functional Requirements,
Contractor shall, at no additional cost to State, analyze such Functional Requirements to determine the
minimal amount and type of Solution that Contractor believes State needs to purchase in order to meet the
Functional Requirements. Within ten (10) business days of its receipt of the Functional Requirements,
Contractor shall deliver to State a written proposal (each a “Contractor System Proposal”) which shall
thereupon become part of the Guaranteed Functionality and be attached to the applicable Solution Order.
The Contractor System Proposal shall detail at a minimum (as applicable): (a) the Solution components
required to meet the applicable Functional Requirements; (b) the minimal operating system, network, and
third-party software necessary to run the Designated Licensed Programs in conformity with the Functional
Requirements; and (c) the estimated cost for such Solution determined in accordance with this Agreement.
Nothing contained in the Contractor System Proposal shall obligate State to purchase any Solution or
portion thereof.

         4.1.3 Attachments to Solution. Subject to the other terms of this Section, in the event State
provides Contractor with Functional Requirements for a certain Solution (and obtains confirmation of
approval thereof as required below), State shall be entitled to install any attachment, feature, or device to,
or install any Licensed Programs, on such Solution without affecting Contractor’s representations and


State of Georgia/Dominion Confidential                                                                      7
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 10 of 113
Master Solution Purchase and Services Agreement



warranties hereunder, if within a reasonable period of time not to exceed thirty (30) business days after
receipt from State of notice of its intent to do so (such notice to be addressed to the Contractor Relationship
Manager and delivered via return receipt mail), Contractor provides written notice to State either confirming
compatibility with the Solution of the such items or stating reasonable grounds upon which it concludes
such attachment, feature, device, modification, change, enhancement, upgrade, or addition will adversely
affect its obligations, including any warranty or representation hereunder. Contractor shall use reasonable
efforts to respond to any such request. Any request for such confirmation from State as provided under
this Section that is not responded to by Contractor shall be deemed an acceptance by Contractor of the
compatibility of such items with the Solution. If after receipt of the Contractor notice advising State of
Contractor’s conclusion that such attachments, features, or devices will adversely affect its obligations State
employs such attachment, feature, device, modification, change, enhancement, upgrade, or addition,
Contractor shall not be liable for those representations and warranties that it notified State it reasonably
concluded would be adversely affected as identified in the detailed notice.

4.2      Extended Warranty. Contractor shall provide from the Effective Date until December 31, 2021 and
thereafter for so long as requested by each State Entity, a “total care solution” for the Solution, which, in
addition to basic commitments contained in this Agreement, will include service guarantees sufficient to
keep the Solution in good operating order in accordance with the Mandatory Requirements at all times (the
“Extended Warranty”). The Extended Warranty will include all Maintenance Services, telephone and online
support, installation assistance, troubleshooting, “break-and-fix,” replacement or repair of Equipment and
components. Contractor will, at its own expense, upon receipt of written notice from a State Entity of an
Extended Warranty claim make all adjustments and modifications necessary to cure any defect or
nonconformity affecting the Solution such that it is fully functional in conformity with the specifications and
requirement set forth herein. Contractor shall immediately commence correction of all Extended Warranty
claims made pursuant to this Section 4.2. For the avoidance of doubt, the parties acknowledge and agree
that no fees, charge, or other costs associated with maintenance, repair, modification, adjustment,
replacement, or other remediation of the Solution will be owed by any State Entity in connection with the
Extended Warranty. The Extended Warranty shall be “all inclusive.” If the parties agree that State or any of
its personnel shall perform any services relating to an Extended Warranty claim on behalf of Contractor,
State shall receive a credit against the next Milestone Payment to the extent of the services so performed
by State. Notwithstanding the administration of any services by a State Entity on behalf of Contractor in
connection with the maintenance or support of the Solution, Contractor shall at all times be responsible the
integrity and quality of all Services and the Solution. Without limiting the foregoing, the following conditions
apply to the Extended Warranty:

         4.2.1 State Entity shall bear the shipping costs to return the malfunctioning item of Hardware to
         Contractor, and Contractor shall bear the costs for ground shipping the repaired or replaced item
         of hardware to State Entity. Shipping costs are based on ground service rates. If faster shipping
         service is required, the shipping cost shall be at the State Entity’s expense.

         4.2.2 Repairs will be conducted and parts replaced at the Contractor repair depot, followed by
         an inspection.

         4.2.3 The following services are among those not covered by this Warranty, but will be made
         available to the State Entities at Contractor’s time and material rates specified on the Fee Schedule:

         (a)     Replacement of the following consumable items required for operation of the Equipment:
batteries, paper rolls, ribbons, seals, smart cards, and removable memory devices and disks;

         (b)     Replacement of Equipment that has been irreparably damaged by abuse by acts of the
State or its employees;

         (c)       Replacement of Equipment that is lost due to theft;

         (d)     Repair or replacement of hardware damaged by of accident, disaster, theft, vandalism,
neglect, or abuse;


State of Georgia/Dominion Confidential                                                                        8
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 11 of 113
Master Solution Purchase and Services Agreement



        (e)     Repair or replacement of hardware Equipment that has modified by any Person other than
those expressly authorized in writing by Contractor; and

         (f)       Repair or replacement of Equipment from which the serial numbers have been removed.

4.3       Training Services. Contractor shall provide training services (“Training Services”), for the fees set
forth in the Solution Order, on such dates and locations mutually agreed upon, and shall make available
any additional training requested by State which will be for the fees set forth in an additional Services Order
Attachment (defined below). In addition and at no cost to State, upon request by State, Contractor shall (a)
prior to the date of the Presidential Preference Primary provide (March 24, 2020) up to ten (10) business
days (consecutive but for intervening weekend) of training to up to four (4) State designated personnel
covering basic level 1 support issues relating to the maintenance of such initial Solution, and (b) up to three
(3) business days (consecutive) of training for to up to four (4) State designated personnel on similar issues
during each subsequent period. All such training shall occur at the Contractor designated Contractor
location within Georgia, and State shall be responsible for all travel, living and other out-of-pocket expenses
incurred by such State designated personnel to attend such training. State shall have the right, at its
expense, to copy and distribute any and all training materials within State and its other State Entities, and
to distribute such materials to train its personnel in the use of the Solution without additional charge by
Contractor, provided all proprietary notices of Contractor are duplicated and no modifications to such
materials are made without Contractor’s prior written consent. Contractor represents that the Training
Services described in the Training Plan attached to the Solution Order as Attachment 6 are designed to
enable State personnel to productively use and operate the Solution. All Training Services shall be
conducted by qualified instructors.

4.4      Other Services. In the event State wishes Contractor to provide software development or software
customization, and/or consulting services, such Services shall be provided pursuant to written Services
Orders detailing the Services to be performed. Each such Services Order shall have attached to and
incorporated into it all delivery, Milestone Schedules, Specifications, Performance Levels (or other Service
Level Agreements), disaster recovery plans or other mutually agreed project requirements or documents
related to the Services to be provided (each a “Services Order Attachment”). All Services Orders and
Services Order Attachments shall be mutually agreed by the parties and executed by their authorized
representatives but shall take substantially the form contained in Exhibit C to this Agreement. All Services
Orders require a validly issued State purchase order. Notwithstanding anything contained in this Agreement
to the contrary, all Services ordered by a State Entity, and provided by Contractor, pursuant to a Services
Order shall be included with the annual License Fee set forth on the Fee Schedule payable by the State
Entities, except where such Services are required because of a Major Revision, in which case additional
fees may be agreed upon by State and the Contractor in accordance with Section 2.3.2.

5.       CHANGE CONTROL.

5.1     No Deviation. Contractor shall not deviate from the terms and conditions of a Solution Order or
Services Order by substitution, deletion, or additions to the Solution, Services or other Deliverables without
prior written approval or consent to waiver signed by a duly authorized representative of State or the
applicable State Entity. Either party may request or recommend changes by following the change control
procedures set forth in this Section 5.

5.2     Change Order. Either party may request or recommend changes to the Solution, Services or the
scope or nature of Deliverables being developed, by having its Project Manager provide the other party
with a written request or recommendation for changes in writing, signed by such requesting party (each a
“Change Request”). The party receiving the Change Request shall provide a written response to the
Change Request, signed by such receiving party, on the same form (a “Change Response”) in the manner
specified below. Each Change Request and associated Change Response (if any) expressly accepted by
the non-requesting party as evidenced by its signature on the applicable Change Control Form shall be
deemed a “Change Order,” unless the non-requesting party has proposed changes to the original Change
Request from the requesting party that require the non-requesting party’s acceptance by execution of the
revised Change Request, which, upon execution by the initially requesting party without change, shall be


State of Georgia/Dominion Confidential                                                                       9
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 12 of 113
Master Solution Purchase and Services Agreement



deemed a “Change Order.” Change Requests, Change Responses and all resulting Change Orders shall
be in the form attached to this Agreement as Exhibit E (the “Change Control Form”). Any Change Request
that is not responded to by the receiving party shall be deemed rejected. Any Change Request not
responded to by the non-requesting party as provided below shall be deemed rejected.

5.3      Contractor Requested Change. If the Change Request is submitted by Contractor to State, the
Change Request shall, to the extent known at the time of the request, indicate schedule changes and any
other items Contractor believes the Change Request is likely to impact (each an “Impact Analysis”). If a
complete and final Impact Analysis cannot be specified, or if aspects of the Impact Analysis cannot be
determined at the time of the request, Contractor shall so indicate on the applicable Change Control Form,
including a detailed explanation of the basis of such inability of Contractor to so determine. State shall
indicate its acceptance or rejection of the Change Request and/or provide a counter-proposal to the Impact
Analysis stated thereon via a Change Response. In no event shall any Contractor-submitted Change
Request include any additional charges or purport to increase any of the fees set forth on the Fee Schedule
payable by a State Entity hereunder. A Contractor submitted Change Request shall not become a Change
Order unless such Change Request (and its related Impact Analysis) are expressly accepted by State as
evidenced by its signature on the applicable Change Control Form.

5.4      State Requested Change. If the Change Request is submitted by State to Contractor, then
Contractor shall provide an initial response to the Change Request within three (3) business days of the
receipt of the Change Request or such other time specified by State that is reasonable and appropriate to
the scope of such requested change. Contractor shall provide in its initial Change Response a detailed
Impact Analysis, or a date by which such detailed Impact Analysis will be provided in a later Change
Response. If a complete and final Impact Analysis cannot be specified, or if aspects of the Impact Analysis
cannot be determined, at the time of the Change Response, Contractor shall so indicate in its Change
Response, including a detailed explanation of the basis of such inability of Contractor to so determine. In
no event shall any State-submitted Change Response become a Change Order unless such Change
Response (and its related Impact Analysis) are expressly accepted by Contractor as evidenced by its
signature on the applicable Change Control Form.

5.5      Limits on Discretion. Notwithstanding any contrary term in this Section, Contractor may not decline
to accept any Change Request that: (a) State reasonably believes would reduce the cost of performance,
provided that an equitable adjustment in compensation is made for the reasonable out-of-pocket costs of
any performance or preparation already undertaken for the original, pre-change Solution, Services, or other
Deliverables; or (b) increases Contractor’s internal cost or magnitude of required performance, provided
that the requested changes are reasonable in scope and the parties agree upon a commensurate increase
in compensation to the extent otherwise permitted by this Agreement.

5.6     Status of Change Orders. Each Change Order shall become a part of the Solution Order or
Services Order to which it relates as if initially entered into as part of that Services Order, and, together with
such Solution Order or Services Order, shall be governed by this Agreement. The parties may mutually
agree to supersede, modify, or amend these change control procedures in writing under a Solution Order
or Services Order, provided they make express reference to this Section or portion thereof being
superseded, modified or amended. If there are conflicts between (or ambiguities within) any Solution Order
or Services Order and a subsequent Change Order proposing the delivery of specific Solution, Services, or
other Deliverables, the Change Order shall control. If there are conflicts between Change Orders, the most
recent Change Order shall control.

6.       PERSONNEL.

6.1     Relationship Manager. Contractor shall appoint a qualified member of its staff to act as a dedicated
manager of Contractor’s relationship with State (the "Contractor Relationship Manager"), whose duties
shall be to act as primary liaison between Contractor and State for all matters relating to Contractor’s
performance, and the performance of all Contractor Solution Partners, under this Agreement, who shall
have sufficient authority to grant or communicate the granting of all necessary approvals and who shall: (a)
have overall managerial responsibility for the responsibilities of Contractor and all Contractor Solution


State of Georgia/Dominion Confidential                                                                         10
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 13 of 113
Master Solution Purchase and Services Agreement



Partners under this Agreement; (b) have direct access to the key decision makers of Contractor and all
Contractor Solution Partners; and (c) be able to call upon the experience, expertise and resources of
Contractor and each Contractor Solution Partner as needed to properly, efficiently and timely perform their
duties under this Agreement. The Contractor Relationship Manager shall be a resource in addition to any
Project Manager or project management established under any Solution Order or Services Order. State
may, at its option, designate one or more individuals who shall use reasonable efforts to facilitate Contractor
in carrying out an efficient delivery of Services (“State Relationship Managers”). Both parties shall notify
the other party of a change in the identity of their respective Relationship Managers.

6.2     Contractor Personnel. The individuals who perform Services, whether employees or independent
contractors of Contractor (or of a Contractor Solution Partner) are hereinafter referred to as “Contractor
Personnel” and at all times meet the requirements set forth below. If Services are to be performed outside
of the United States all Contractor Personnel shall meet these requirements to the maximum extent
applicable, and shall further meet, to the maximum extent applicable, equivalent requirements under local
law. The Contractor Personnel assignment requirements are as follows:

         (a)      Unless specifically agreed otherwise by State in each instance, Contractor shall only assign
as Contractor Personnel employees of Contractor and those limited non-employees of Contractor who
qualify as “independent contractors” or “temp employees” by meeting the following respective criteria: (i)
they are consultants who provide services to Contractor or its entities in the ordinary course of business
under independent contractor relationships of a type commonly referred to in the United States as “1099”
relationships, or (ii) they are individuals who provide services to Contractor or its entities on a leased
employee or so-called staffed- or temp-employee basis pursuant to contracts between Contractor and the
third-party staff augmentation companies or staffing companies, and (iii) they are, in all cases, subject, in
their individual capacities, to written duties of confidentiality and obligations to protect State’s Intellectual
Property Rights that are at least as protective of State as those contained in this Agreement;

         (b)      Prior to assigning any individual to perform the Services in the United States (which may
have been completed at the time of hire), Contractor shall perform a background check, such check shall
include the (i) United States Department of Motor Vehicles; (ii) credit check; (iii) national criminal check; (iv)
government excluded parties list; (v) the United States Department of Health excluded parties list; (vi) (vi)
a determination that the individual’s employment complies with relevant immigration law; and (vii)
Contractor shall obtain finger prints for all Contractor Personnel reasonably expected to have access to
Confidential Information of any State Entity in connection with such individuals performance of Services
hereunder. All information obtained by Contractor pursuant to this Section shall remain in Contractor’s
possession and Contractor shall not be obligated to disclose such information to State; and

        (c)     Contractor shall not assign any person to perform Services who (i) refuses to submit to
such checks; (ii) has in the last seven (7) years been convicted of a financial-related crime or a felony
(excluding motor vehicle-related offenses); (iii) does not meet the requirements under immigration law to
be employed. Contractor shall not be responsible for information not disclosed pursuant to the foregoing
background check requirements.

6.3      State Review and Acceptance. If any Contractor Personnel performing Services is found to be
unacceptable to State for cause, including demonstration that he or she is not qualified to perform the
Services assigned, State shall notify Contractor of such fact and Contractor shall immediately remove said
Contractor Personnel and, if requested by State, provide a qualified replacement. If any Contractor
Personnel is found to be unacceptable to State for any other reason, State shall notify Contractor of such
fact in writing, and Contractor shall promptly take reasonable and appropriate action.

6.4     Project Managers. Contractor shall designate a project manager (“Project Manager”) who shall
be principally responsible for owning and ensuring timely delivery of the Solution or provision of the
Services, as applicable.

6.5      Continuity. If Contractor reassigns any Contractor Personnel, Contractor shall promptly provide a
qualified replacement acceptable to State, and State shall not be charged for any training or transition time


State of Georgia/Dominion Confidential                                                                         11
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 14 of 113
Master Solution Purchase and Services Agreement



for such replacement. Without limiting the generality of the foregoing, because the progress of a project
specified in a Solution Order or Services Order may be dependent on such continuity, certain individual
Contractor Personnel may be identified in a Solution Order or Services Order as key personnel (“Key
Personnel”). Except as directed by State under Section 6.3 or for the reasons provided in this Section 6.5,
Contractor shall not remove or reassign any Key Personnel at any time for any reason during the term of
such individual’s obligations of performance of Services under the applicable Solution Order or Services
Order without State’s prior written consent, such consent not to be unreasonably withheld. Contractor shall
have the right to re-assign any Key Personnel in case of: (a) death, (b) disability, (c) bona fide termination
of employment, (d) changes in Applicable Law, (e) changes in immigration status not caused by the
negligence of Contractor or the applicable individual and which could not have otherwise been reasonably
foreseen, or (f) upon the occurrence of events having a significant personal impact on the affected Key
Personnel (such as death of next of kin). Any re-assignment shall be so permitted only to the limited extent
and for such limited duration as required to reasonably accommodate the circumstances of the adversely
affected Contractor Personnel.

6.6      Resource Prioritization. If there is any conflict in the resource demands between State and the
other State Entities (or among the other State Entities), Contractor shall escalate such conflict to the
Contractor Relationship Manager and State Relationship Manager immediately upon becoming aware of
its existence, and the respective Relationship Managers shall work with the applicable Project Managers
to determine appropriate prioritization and allocation of Contractor Personnel.

6.7      Subcontractors; Ineligible Status. The unique abilities, knowledge, and skills of Contractor and
Contractor Personnel constitute a material inducement for State entering into this Agreement. Contractor
agrees that it shall not employ any agent or subcontractor in connection with the performance of any
Services without the prior written consent of State, which consent may not be unreasonably withheld. If
State does consent, Contractor shall provide State with written evidence (acceptable to State) of said agent's
or subcontractor's compliance with the confidentiality and intellectual property provisions of this Agreement
prior to the disclosure of any State Confidential Information to, or the performance by, any such agent or
subcontractor in connection with or pursuant to this Agreement. Contractor certifies that the Contractor and/or
any of its subcontractors have not been debarred, suspended, or declared ineligible by any agency of the
State of Georgia or as defined in the Federal Acquisition Regulation (FAR) 48 C.F.R. Ch.1 Subpart 9.4.
Contractor will immediately notify State if Contractor is debarred by State or placed on the Consolidated
List of Debarred, Suspended, and Ineligible Contractors by a federal entity. Contractor’s use of any
subcontractors does not relieve Contractor of its representations, warranties or obligations under this
Agreement. Without limiting the foregoing, Contractor will: (i) be responsible and liable for the acts and
omissions of each of its subcontractors (including Contractor Personnel and Contractor Solution Partners)
to the same extent as if such acts or omissions were by Contractor or its employees; and (ii) be responsible
for all fees and expenses payable to, by or on behalf of each subcontractor in connection with this
Agreement, including, if applicable, withholding of income taxes, and the payment and withholding of social
security and other payroll taxes, unemployment insurance, workers' compensation insurance payments
and disability benefits.

6.8      Site Visits. Upon the giving of at least five (5) business days’ notice to Contractor, State Entity
personnel shall have the right to visit the offices of Contractor and/or the Contractor Solution Partners in
order to observe the performance of any Services at the sole cost of the applicable State Entity. The State
Entities shall cooperate with Contractor to ensure that such site visits do not unreasonably interfere with
Contractor’s normal business operations.

6.9      Timely and Quality Performance. The Contractor Personnel shall perform the Services with
promptness and diligence, and in all events by the times specified therefor in the applicable Solution Order
or Services Order, if any. At all times during the Term Contractor shall retain sufficient number of
Contractor Personnel, with the required skills, to meet the ongoing needs of State and ensure that
Contractor achieves the timely implementation of the Solution, including the Guaranteed Functionality and
Guaranteed Performance. Contractor shall be responsible for the management of all Contractor Personnel
in the performance of Services, the integrity and quality of all Services and Deliverables, and the required
periodic reporting of the status of all Services and Deliverables to State. In response to any feedback or


State of Georgia/Dominion Confidential                                                                      12
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 15 of 113
Master Solution Purchase and Services Agreement



performance assessment provided by State to Contractor Personnel, Contractor shall provide State written
acknowledgement within three (3) business days of receipt of the assessment and a comprehensive
response including a formal mitigation action plan within ten (10) business days of receipt of the assessment
addressing each of the identified areas requiring Contractor improvement.

7.       COMPLIANCE.

7.1      State Policies and Directives. Contractor shall ensure that all Contractor Personnel, while at a
State Site, will abide by all reasonable policies and directives issued by State, including those relating to its
Code of Business Conduct, all on-site rules of behavior, work schedules, security procedures, and other
standards and procedures as may be established by State from time to time, provided such policies or
directives are published (or otherwise made know) to Contractor prior to such visit and are limited to
administrative and security-based issues. Accordingly, Contractor hereby agrees that prior to sending any
Contractor Personnel to work at any State facility, Contractor will provide such Contractor Personnel with a
copy of all written State policies and procedures provided by State to Contractor and will have Contractor
Personnel review and acknowledge same. In addition, Contractor will cause all Contractor Personnel to
comply, when at a State Site, with such standard safety policies applicable to such site and such additional
policies as State may, from time to time, communicate to Contractor or Contractor Personnel.

7.2      Cyber Security Audits and Reporting.

        7.2.1 Contractor has an established information security program containing appropriate
administrative, technical and physical measures to prevent data (including Regulated Information (as
defined in Section 11.5 below) that Contractor may have access to or be processed by the Solution) against
accidental, unauthorized, or unlawful loss, destruction, alteration, disclosure or access consistent with
applicable laws. Contractor, on at least an annual basis, shall, at Contractor’s expense, participate in a risk
assessment relating to Contractor’s controls that ensure data security and reduce cybersecurity threats
from being realized conducted by an independent third-party agreed upon by State. During the Term
Contractor will promptly provide to State a summary of each such assessment that is performed by or on
behalf of Contractor, which summary may be redacted to exclude information unrelated to the Solution or
Services provided under this Agreement. More specifically, Contractor or its auditor will provide to State at
least one (1) hard copy and one (1) electronic copy of the summary from each such assessment at no
charge. Contractor, at its own expense, will undertake such actions, and implement such changes, as
reasonably necessary to remedy any material deficiencies, concerns or recommendations identified
through any audits, examinations, or tests described in this Section 7.2.1 and ensure Contractor’s continued
compliance with Contractor’s obligations as relate data security under this Agreement.

         7.2.2     Contractor further agrees that it shall:

                (a)     Provide the State Entity with the name and contact information for the Contractor’s
primary information security contact.

                 (b)      Notify the State Entity’s primary security contact of an actual or security breach or
the suspicion of the occurrence of a security breach (hereinafter a “Breach Incident”) as soon as practical
but no later than forty-eight hours after Contractor becomes aware of a Breach Incident by contacting the
primary business and security contact at the State Entity by both telephone and email as agreed upon.

                 (c)     Upon the State Entity’s written request and no less than 10 business days following
such written request, Contractor shall permit State Entity’s information security office to conduct or oversee
an audit of the Contractors facilities and/or practices to confirm compliance with this Agreement as well as
any applicable laws. Contractor is not required to permit the State Entity to conduct or oversee more than
one audit per calendar year unless the process, technology, or services change prior to the next audit or
there has been a Breach Incident. All costs associated with such audits shall be the responsibility of the
State Entity.




State of Georgia/Dominion Confidential                                                                        13
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 16 of 113
Master Solution Purchase and Services Agreement



                  (d)      At any time during the term of this Agreement at the State Entity’s written request,
or upon termination of the expiration of this Agreement for any reason, Contractor shall instruct all
authorized persons to promptly and securely return or destroy any and all State Entity data, whether in
written, electronic, or other form of media.

7.3     Applicable Law – Contractor. Contractor shall obey and abide by all Applicable Laws, regulations,
ordinances and other rules of the United States of America, and any other jurisdiction where Services are,
or may likely be, performed in connection with this Agreement (including respective states, territories or
subdivisions thereof or any other duly constituted public authority in any such jurisdiction). Without limiting
the generality of the foregoing:

         7.3.1 Contractor will ensure that no labor will be used in the performance of this Agreement that
violates the child labor laws of any country in which State or any State Entity is located or any country in
which Contractor is located or performs Services hereunder. If State believes that Contractor is using such
labor, then State may immediately terminate this Agreement in which event State shall have no liability
whatsoever to pay compensation to Contractor, including for Services already performed.

        7.3.2 Contractor represents and warrants that: (i) Contractor, Contractor Affiliates, and any and
all of their respective parents, subsidiaries, officers, directors, employees (including all Contractor
Personnel), and all of their agents and business partners (collectively, “Contractor Parties”) are in
compliance with, in good standing under, and have not violated, any United States laws or the laws of any
other country or countries relating to the transfer of technology, including the Export Administration
Regulations, the International Traffic in Arms Regulations and the regulations administered by the Office of
Foreign Assets Control of the United States Department of the Treasury or other similar laws or any foreign
country (collectively, the "Transfer Control Laws"); (ii) Contractor Parties are not, and never have been,
named as a "debarred" party, "denied person or entity”, "embargoed entity" or otherwise sanctioned under,
or prohibited from engaging in activities subject to, the Transfer Control Laws; and (iii) Contractor will
immediately notify State in the event that any of the Contractor Parties are named as a "debarred" party,
"denied person or entity," or "embargoed entity," or otherwise sanctioned under, or prohibited from
engaging in activities subject to, the Transfer Control Laws; and (iv) Contractor Parties will comply with all
applicable Transfer Control Laws.

        7.3.3 Contractor acknowledges and understands that improper use of material non-public
information may be a violation of the law, including the laws concerning insider trading, and may subject it
and its employees to prosecution, civil liability, fines and criminal penalties, and, where applicable, may
also be grounds for termination of this Agreement.

         7.3.4   The Contractor Parties shall comply with all applicable federal, state, and local laws, rules,
ordinances, regulations and orders now or hereafter in effect when performing under this Agreement,
including without limitation, all laws applicable to the prevention of discrimination in employment and the
use of targeted small businesses as subcontractors or contractors.

         7.3.5 Certain equipment, software, and technical data which may be provided hereunder may be
subject to export and re-export controls under the U.S. Export Administration Regulations and/or similar
regulations of the United States or any other country. Contractor shall be responsible for complying with
all export and re-export laws and regulations, including: (i) local license or permit requirements, (ii) export,
import, and customs laws and regulations, which may apply to certain equipment, software, and technical
data provided hereunder; and (iii) all applicable foreign corrupt practices acts.

         7.3.6 The Contractor Parties shall comply with all federal, state, and local laws regarding
business permits and licenses that may be required to carry out the work performed under this Agreement.
The Contractor Parties shall also comply with all policies and standards of the State Entities in effect during
the performance of this Agreement, including but not limited to the State Entity’s policies and standards
relating to personnel conduct, security, safety, confidentiality, and ethics. Further, the provisions of
O.C.G.A. Section 45-10-20 et seq. have not and must not be violated under the terms of this Agreement.



State of Georgia/Dominion Confidential                                                                       14
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 17 of 113
Master Solution Purchase and Services Agreement



         7.3.7 Contractor shall obtain and maintain, and shall cause its subcontractors to obtain and
maintain, all approvals, permissions, permits, licenses, and other documentation required to comply with
all Applicable Laws, rules, or regulations. Contractor certifies that Contractor is not currently engaged in,
and agrees for the duration of this Agreement not to engage in, a boycott of Israel, as defined in O.C.G.A.
§ 50-5-85. Contractor agrees that any failure by Contractor or Contractor's employees to comply with any
of the obligations of this section may be treated by the State Entity as a material breach of this Agreement
by the Contractor.

         7.3.8     Contractor hereby certifies as follows:

       (a)      Contractor will not engage in the unlawful manufacture, sale, distribution, dispensation,
possession, or use of a controlled substance or marijuana during the performance of this Agreement.

        (b)     If Contractor has more than one employee, including Contractor, Contractor shall provide
for such employee(s) a drug-free workplace, in accordance with the Georgia Drug-free Workplace Act as
provided in O.C.G.A. Section 50-24-1 et seq. throughout the duration of this Agreement.

        (c)     Contractor will secure from any subcontractor hired to work on any job assigned under this
Agreement the following written certification: "As part of the subcontracting agreement with (Contractor's
Name), (Subcontractor's Name) certifies to the contractor that a drug-free workplace will be provided for
the subcontractor's employees during the performance of this Agreement pursuant to paragraph 7 of
subsection (b) of Code Section 50-24-3."

         7.3.9 Contractor may be suspended, terminated, or debarred if it is determined that any of
Contractor’s certifications in Section 7.3.8 is false or Contractor has violated any such certification by failure
to carry out the requirements of O.C.G.A. Section 50-24-3(b).

7.4      Permits and Licenses. Contractor acknowledges and agrees that it is solely responsible for
procuring and maintaining all necessary permits and licenses required in connection with Contractor’s
performance, and the performance of all Contractor Solution Partners, under this Agreement, including
obtaining all necessary shipping and/or delivery permits and processing and procuring all necessary visas
and passport documents for all Contractor Personnel in advance of their assignment in connection with
Services. Contractor will obtain, at Contractor’s sole cost and expense, all such permits, licenses and visas
in a timely manner to avoid any unnecessary delay.

8.       PERFORMANCE STANDARDS, MONITORING AND MEASUREMENT.

8.1     Performance Levels. Contractor shall provide the Solution and perform the Services with
promptness and diligence, and in all events by the times specified therefor in the applicable project
documentation, Solutions Order, or Services Order as applicable. Contractor shall be responsible for the
management of all Contractor Personnel in the performance of Services, the integrity and quality of all
Services and all applications and Deliverables, and the required periodic reporting of the status of all
Services and such applications and Deliverables to State. In fulfilling its obligations under this Agreement,
Contractor shall perform, and shall cause each Contractor Solution Partner to perform, all Services and all
Deliverables to perform, in accordance with the response, resolution, and other support standards and
timelines and such other systems availability and processing requirements as are set forth in the applicable
Services Order (the "Performance Levels"). If State management, including the State Relationship
Manager or Project Manager, provides feedback or performance assessments that identify areas requiring
Contractor improvements, Contractor shall provide State written acknowledgement within three (3)
business days of receipt of the assessment and a comprehensive response, including a formal mitigation
action plan, within ten (10) business days of receipt of the assessment addressing each of the identified
areas requiring Contractor improvement.

8.2      Non-Conformance.




State of Georgia/Dominion Confidential                                                                         15
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 18 of 113
Master Solution Purchase and Services Agreement



          8.2.1 Generally. If Contractor or any Contractor Solution Partner fails to meet any Performance
Level or fails to perform its other obligations hereunder, Contractor shall immediately: (a) investigate and
report to State on the causes of the failure; (b) prepare an action plan for State's approval to correct the
failure; (c) advise State, as and to the extent requested by State, of the status of remedial efforts being
undertaken with respect to such failure; (d) correct the failure and begin meeting the Performance Levels;
and (e) take appropriate preventive measures so that the failure does not recur. In addition, failures to
meet a Performance Level shall entitle State to receive liquidated damages and/or credits (as applicable)
from Contractor, as provided in the applicable Services Order.

         8.2.2     Reserved.

8.3       Measurement Tools. Contractor shall utilize, and shall cause the Contractor Solution Partners to
utilize, the necessary measurement and monitoring tools and procedures required to measure and report
its performance against all Performance Levels. Such measurement and monitoring shall permit reporting
at a level of detail sufficient to verify compliance with the Performance Levels. Contractor shall provide
State with information and access to such tools and procedures, upon request, for purposes of verification.
State also shall monitor and measure certain Performance Levels, and any discrepancy between Contractor
and State measurements of the Performance Levels shall be resolved by reference to State's measurement
and monitoring tools and procedures.

8.4      Proactive Monitoring. Contractor acknowledges and agrees that the performance of Services in
accordance with this Agreement is critical to State’s business and that State requires metrics to monitor
such performance. Accordingly, at no cost to State, Contractor shall, and, if requested by State shall cause
each Contractor Solution Partner to: (a) provide to State, on a quarterly basis, data (or metrics) regarding
its progress in improving the quality and productivity of Contractor Personnel providing services pursuant
to or in connection with this Agreement, including data on the number of Contractor Personnel, average
experience, and turnover (on a project basis); (b) provide to State, on a quarterly basis, data on each project
covering such matters as productivity, quality and timeliness, new development productivity measures
(function points per person/day, error rates per function point, etc.) and maintenance project measures
(requests serviced weekly etc.); and (c) provide to State a log reflecting State open issues that is to be
updated on a monthly basis. In addition to the periodic delivery described above, Contractor agrees to
provide State with the foregoing information within fifteen (15) days of a request made by State for the
same.

8.5      Coding Standards. If Contractor or a Contractor Solution Partner will be performing development,
programming or other coding services under a Services Order and the Deliverables thereunder will be
owned exclusively by State (pursuant to Section 12 below), Contractor or the applicable Contractor Solution
Partner shall, with respect to such Services Order, be responsible for such specific coding and naming
standards and conventions as may be provided by State in connection with certain of its and/or its third-
party licensors’ requirements, as well as such quality performance and productivity provisions and
documentation requirements, if any, set forth in the applicable Services Order. Contractor shall, in addition,
be responsible for imposing the applicable quality assurance requirements on Contractor Personnel. State
shall have the right to conduct quality audits and to perform or witness inspections or tests of the
Deliverables furnished hereunder at Contractor’s facility, at sole cost of State, at any time during
development and prior to delivery. Notwithstanding anything contained in this Agreement to the contrary,
State for itself, and on behalf of the other State Entities, acknowledges and agrees that the Solution shall
not constitute “works made for hire”, and shall remain the exclusive property of Contractor.

8.6      Quality Assurance. State may, at its option, employ consultants, including quality assurance
consultants, for periodic review of any work or project, including evaluation of Change Orders and
monitoring of compliance with Service Level Agreements and Performance Levels. References to State in
this Agreement shall include such consultant to the extent State so indicates for that purpose. If so
requested by State, State shall have the right to receive and review quality assurance reports produced by
Contractor. Contractor shall accommodate reasonable State requests to expand or modify Contractor's
quality assurance procedures for Projects in progress.



State of Georgia/Dominion Confidential                                                                      16
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 19 of 113
Master Solution Purchase and Services Agreement



8.7     Material Defects. Contractor shall give State prompt notice if Contractor becomes aware of a
material defect in any Deliverables or the performance of any Services or any issue that may affect
Contractor’s ability to implement the Solution, including all Guaranteed Functionality and Guaranteed
Performance, in accordance with the timeline required by this Agreement.

9.       DELIVERY AND ACCEPTANCE.

Each delivery and implementation of the Solution and Services or any additional applications at a State Site
shall be subject to acceptance by State in accordance with acceptance testing procedures, as provided in
the Solutions Order. An “Acceptance Testing Plan” for the Solution and Services shall be prepared by
Contractor and submitted to State prior to execution of this Agreement, which agreement, as approved by
State shall be incorporated into this Agreement. The Acceptance Testing Plan shall be based on full
implementation of the Solution and Services and shall include testing procedures sufficient to demonstrate
that (a) all functionality has been provided and performs in the applicable State Entity’s environment, in all
material respects, in accordance with the Guaranteed Functionality; (b) the applications and deliverables
meet the warranty requirements specified in this Agreement and the applicable Solution Order; (c) the
applications and Deliverables will perform at acceptable levels required to support State’s implementation
of the SVS and the operation of general and primary elections using such SVS; and (d) the applications
and Deliverables will successfully complete an “election voting and processing” simulation. Testing
procedures will include testing before, at, and after “go-live” as appropriate before the Solution “goes-live”,
but the testing will continue after “go-live” as appropriate to verify that the applications and services meet
applicable requirements in a full production mode. State representatives will have the right to be present
during the Acceptance Test and review all test results. When the applications and Deliverables meet the
requirements of the Acceptance Test, State will provide a written sign-off that Acceptance has occurred. If
the applications and Deliverables fail to meet all material requirements of the Acceptance Test, Contractor
will, at its sole expense, correct the deficiencies and the Acceptance Test will then be repeated. Acceptance
will not relieve Contractor of responsibility for its warranties, support and maintenance obligations, or
achieving the Performance Levels.

10.      CHARGES, PAYMENT, AND TAXES.

10.1     Payments. As further provided in Contractor’s fee proposal delivered by Contractor, accepted by
State prior to execution of this Agreement, and attached hereto as Exhibit G (the “Fee Schedule”), and
subject to the other terms and conditions of this Agreement, in consideration of Contractor’s agreement to
provide the Solution to State, deliver necessary documentation, train State Personnel, and render related
services in accordance with this Agreement, Contractor shall be entitled to be paid as follows (each a
“Milestone Payment” unless otherwise noted):

         10.1.1 $44,967,752.40 on the Effective Date, inclusive of initial implementation/training and initial
                Equipment costs.

         10.1.2 $1,500,000.00 for training and implementation upon Certification of the November 2019
                Election.

         10.1.3 $4,386,020.40 for remaining costs for training and implementation upon Certification of the
                March 2020 Presidential Preference Primary Election.

         10.1.4 $1,500,000.00 for final training and implementation and hold back upon Certification of the
                November 2020 Election.

         10.1.5 $834,673.35 upon Final Acceptance of election management system hardware and
                software to the State.

         10.1.6 $816,768.00 upon Final Acceptance of ImageCast Precinct scanners (without ballot box)
                and ImageCast Central scanners hardware and software for absentee/mail ballot voting.



State of Georgia/Dominion Confidential                                                                      17
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 20 of 113
Master Solution Purchase and Services Agreement



         10.1.7 The following items will be invoiced on a monthly basis upon unit Final Acceptance by the
                State:

                   (a)       Electronic Pollbook hardware and software at a $708.93/unit for a total cost of
                             $5,671,440.00.

                   (b)       ImageCast Precinct scanners hardware and software at $2,330.36/unit for a total
                             cost of $8,156,260.00.

                   (c)       ImageCast X BMD hardware and software at the remaining unit cost* of $753.53
                             for a total cost of $22,102,676.50.

                             * Remaining Cost reflects an overall reduction resulting from the initial milestone
                             payment equaling $44,967,752.40 for initial implementation and ImageCast X
                             BMD costs.

         10.1.8 Equipment Charges. The price for the Equipment ordered by a State Entity, as
contemplated by the Fee Schedule, shall be set out in each applicable Solution Order (the “Equipment
Charges”). Contractor shall deliver an invoice for the relevant Equipment Charges to the applicable State
Entity in accordance with the following: (a) fifty percent (50%) of the Equipment Charges following State’s
completion of initial Acceptance Testing and (b) the remaining fifty percent (50%) of the Equipment charged
upon the applicable State Entity’s confirmation that testing of the same has been satisfactorily completed
at the State Site at which such Solution is to be implemented and administered as designated by the
applicable State Entity. Notwithstanding anything contained herein to the contrary the parties acknowledge
and agree (i) that purchases of new models of Equipment released by Contractor shall be made available
to the State Entities at the same price as the Equipment purchased as part of the Solution Order dated as
of even date herewith, provided, if the State Entities shall not be obligated to upgrade to such new models
and if any State Entities do not elect to purchase such new models, Contractor shall continue to support
the version of the Equipment then in use by the State Entities, including ensuring that such Equipment is
supported by the Software.

        10.1.9 T&M Rates. Except as otherwise set forth in the Fee Schedule, this Agreement does not
contemplate, and Contractor shall not be entitled to, payment for any of its work, overhead, or expenses on
a time and materials basis.

10.2      Events Affecting Critical Milestones - Liquidated Damages. By entering into this Agreement,
Contractor acknowledges and agrees that in the event that State determines in good faith that Contractor
has not meet a Critical Milestone by the applicable Milestone Deadline, the State will suffer actual damages
that will be impractical or extremely difficult to determine and the State shall be entitled to recover agreed
upon liquidated damages in an amount equal to $1,000 for each calendar day after the applicable Milestone
Deadline until the Critical Milestone in question has been satisfactorily completed by Contractor. Contractor
further acknowledges and agrees that the amounts to which State may become entitled under this Section
10.1 are not penalties but a fair and reasonable estimate of the anticipated harm that may be caused to the
State Entities by delays that result in Contractor failing to meet the Milestone Deadlines for Critical
Milestones provided that such liquidated damages be deemed to be constitute State’s sole remedy,
exclusive or otherwise, for any damages caused by such a failure and shall be in addition to any other
monetary and non-monetary remedies available to State under this Agreement, at law or in equity.
Notwithstanding anything contained in this Agreement to the contrary, in the event that the State becomes
entitled to any amount under this Section 10.1, State may, in its sole discretion, set off the sum owed it
against any sum owed to Contractor under this Agreement or any other contract between the State and
Contractor.

10.3     Invoices. Contractor shall submit invoices to the applicable State Entity (a) thirty (30) days prior to
the anticipated completion of the applicable Installation Event to which a Milestone Payment relates; and
(b) with respect to Equipment Charges, in accordance with Section 10.1.8. The applicable State Entity
shall pay all undisputed correct invoices, which are timely submitted to it, within thirty (30) days of receipt.


State of Georgia/Dominion Confidential                                                                       18
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 21 of 113
Master Solution Purchase and Services Agreement



10.4      Disputed Charges. In the event State reasonably believes that any invoice submitted by Contractor
contains any discrepancies or errors, State shall notify Contractor of such discrepancy(ies) or error(s). The
parties agree to cooperate in good faith to resolve any dispute in a timely manner. Upon receipt of State’s
notification of dispute, Contractor will investigate such dispute and will either (a) correct such invoice if a
correction is so required and provide a corrected invoice or other such notice in writing, or (b) if no correction
is required, send State written notice that Contractor has investigated such dispute and that Contractor
considers the amounts due and payable and no longer in dispute. State shall not be required to make
payment on any disputed portion of an invoice until such time as the dispute has been finally resolved by
the parties. For the avoidance of doubt, a dispute regarding an invoice and State withholding payment of
disputed charges as permitted under this Agreement will not permit Contractor to suspend or cease
performance of the Services and Contractor shall continue to provide such Services.

10.5    Currency; Settlement Method. State shall settle payments with Contractor by wire transfer or such
other payment method as mutually agreed by the parties.

10.6      State Status as Most Favored Customer. During the Term, Contractor shall offer to State and the
other State Entities the Solution and any other Services which Contractor offers on a general basis to its
other customers, at prices at least as favorable as Contractor offers or provides to any Person that orders
similar products and quantities as ordered by State pursuant to Solution Order No. 1. In comparing the
prices offered by Contractor to other customers with the prices offered to State under this Agreement the
fees paid by State hereunder for the applicable Solution shall be reduced by an appropriate amount to
compensate for any installation, training, migration and other services provided by Contractor hereunder at
no charge and to account for any credits provided by Contractor to State hereunder. The Contractor shall
give prompt written notice to the State of each such instance in which more favorable fees as described
above are extended to another State. On each anniversary of the Effective Date and at such other time as
the State may request (based on the State’s reasonable belief that the Contractor has an obligation under
this Section), the Contractor shall deliver to the State a certificate duly executed by an appropriate executive
of the Contractor, certifying that, as of the date of such certificate, and at all times since the date of the last
certification pursuant to this Section (or since the Effective Date if there has been no prior certification),
stating that the Contractor is and has been in compliance with this Section. If the Parties are unable to
agree as to the Contractor’s compliance with the requirements of this Section or, as to the appropriate
means to effectuate this Section, then such issue shall be determined pursuant to Section 17.5.

10.7     No Other Charges; Expenses. Contractor acknowledges and agrees that the charges and fees
described in this Section 10 shall be “all-inclusive” and represent the total cost for the Solution including all
costs associated with all goods, software, and services to be provided Contractor pursuant to this
Agreement, including (i) the SVS components described on each Solution Order, (ii) all Equipment
described in the applicable Solution Order, (iii) the Training Services described in such Solution Order, and
(iv) the Extended Warranty and all maintenance, support, and remedial action thereunder required to
ensure the Solution and all components thereof are available to the ordering State Entity and function in
accordance with the requirements of this Agreement. In no event shall State be liable for any amounts not
described in this Section 10 or any other charges, fees, expenses, or costs incurred by Contractor, which
Contractor failed to consider in its eRFP Response. Accordingly, no such expenses of any Contractor Party
will be separately reimbursable by any State Entity.

10.8     Taxes.

        10.8.1 State is exempt from Federal Excise Taxes, and no payment will be made for any taxes
levied on Contractor’s employee’s wages. State is exempt from state and local sales and use taxes on the
Services. Tax exemption certificates will be furnished upon request. Contractor or an authorized
subcontractor has provided State with a sworn verification regarding the filing of unemployment taxes or
persons assigned by Contractor to perform Services required in this Agreement, which verification is
incorporated herein by reference.

       10.8.2 By executing this Agreement the Contractor certifies it is either (a) registered with State
Department of Revenue and collects and remits State sales and use taxes as required by Georgia law,


State of Georgia/Dominion Confidential                                                                          19
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 22 of 113
Master Solution Purchase and Services Agreement



including Chapter 8 of Title 48 of the O.C.G.A. or (b) not a “retailer” as defined in O.C.G.A. Section 48-8-2.
The Contractor also acknowledges that State may declare this Agreement void if the above certification is
false. The Contractor also understands that fraudulent certification may result in State or its representative
filing for damages for breach of contract.

10.9     Books and Records.

        10.9.1 GAAP Standards; Record Retention. Contractor shall maintain books and records in
accordance with Generally Accepted Accounting Principles to substantiate Contractor’s prices and other
charges billed to State under this Agreement and each Solution Order and Services Order. Contractor will
maintain such books and records for a period of at least five (5) years following the date of final payment
or completion of any required audit, whichever is later. Records to be maintained include both financial
records and service records.

        10.9.2 Information Regarding Billing Questions. Contractor shall answer billing questions and
provide State with such documentation as State may request pertaining to billing. Once per year and at
the sole cost of State, Contractor shall provide State and State’s representatives with reasonable accept
access to such books and records for purposes of auditing the fees under this Agreement and/or any
Schedule or Services Order.

10.10 Audit. The Contractor shall permit the Auditor of State of Georgia or any authorized representative
of State, and where federal funds are involved, the Comptroller General of the United States, or any other
authorized representative of the United States government, to audit Contractor to achieve one or more of
the following additional objectives: (a) verify the security and integrity of State’s and each other State
Entity’s data and examine the systems that process, store, support, and transmit that data or (b) examine
Contractor’s performance of, and conformance to the terms of, this Agreement, including, to the extent
applicable to the applications and services provided by Contractor and to the charges therefor, performing
audits of (i) Contractor’s practices and procedures, including its conformance with State policies with which
it is obligated to comply under this Agreement and otherwise as reasonably necessary to enable State to
confirm that Contractor is meeting applicable regulatory and other legal requirements for which it is
obligated to comply under this Agreement; (ii) supporting information and calculations regarding compliance
with Performance Levels, security standards for which Contractor is responsible hereunder or other
required standards or levels of performance; and (iii) Contractor’s disaster recovery and back-up
procedures. State agrees to the following conditions in connection with such audits: (i) State will not
unreasonably interfere with Contractor’s normal business operations, (ii) Contractor is not entitled to review
or see and other Confidential Information of other Contractor States except in an anonymized or redacted
format, (iii) all information disclosed during such site visit shall be considered Contractor’s Confidential
Information (unless the information Contractor possesses is already Confidential Information of State or
State Data), and (iv) State will comply with Contractor’s reasonable security policies and procedures
delivered in writing to State in advance of the applicable audit. If as a result of any such audit State
determines that Contractor has overcharged State, State will notify Contractor of the amount of such
overcharge and provide Contractor with a report setting forth the determination of such overcharge. Upon
such notice, Contractor shall promptly pay to State the amount of such overcharge, together with interest
thereon at the Interest Rate calculated from the date of such overcharge until the date Contractor
reimburses State. In addition, if such audit reveals an overcharge to State in any fee, cost, or charge billed
by Contractor, Contractor shall reimburse State for the actual costs of such audit. In the case of a
performance-related audit, Contractor and State shall meet to review each audit report promptly after the
issuance thereof and to mutually agree upon the appropriate manner, if any, in which to respond to the
changes suggested by the audit report. State and Contractor agree to develop operating procedures for
the sharing of audit and regulatory findings and reports related to Contractor’s operating practices and
procedures produced by auditors or regulators of either party. Evidence of criminal conduct uncovered by
State during an audit will be turned over to the proper authorities.

10.11 Delay of Payment Due to Contractor’s Failure. If the State Entity in good faith determines that the
Contractor has failed to perform or deliver any component of the Solution for which the State Entity is
charged as required by the Agreement, the Contractor shall not be entitled to the compensation under this


State of Georgia/Dominion Confidential                                                                     20
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 23 of 113
Master Solution Purchase and Services Agreement



Agreement corresponding to such components until such components are delivered and/or conform to the
requirements of this Agreement. To the extent that the Contractor’s failure to perform or deliver in a timely
manner causes the State Entity to incur costs, the State Entity may deduct the amount of such incurred
costs from any amounts payable to Contractor. State’s right to deduct such incurred costs shall not in any
way affect State’s right to terminate this Agreement or any Solution Order or Services Order.

10.12 Set-Off Against Sums Owed by the Contractor. In the event that the Contractor owes the State
Entity and/or the State any sum under the terms of this Agreement, pursuant to any judgment, or pursuant
to any law, the State Entity and/or the State may set off the sum owed to the State Entity and/or the State
against any sum owed by the State Entity and/or the State to the Contractor in the State Entity’s sole
discretion.

11.      CONFIDENTIALITY, PRIVACY, AND DATA SECURITY.

11.1    Disclosure of Confidential Information. Contractor and State acknowledge that, in the course of
performance under this Agreement, one party (the “Disclosing Party”) may intentionally or inadvertently
disclose, deliver, or permit access by the other party (the “Receiving Party”) to information, data, or
materials which are, to the Disclosing Party, secret, proprietary, and/or confidential, including as may be so
designated by statute, regulation, or common law, including, among others, by the form of the Uniform
Trade Secrets Act adopted under Applicable Law (if any) and various applicable privacy laws. All of the
foregoing information, data, and materials are referred to collectively in this Agreement as the “Confidential
Information” as that term is further defined and described in Section 11.2.

11.2     Confidential Information. Without in any way limiting the generality of the definition of Confidential
Information contained in Section 11.1, the term Confidential Information shall also expressly include all
data, information, materials, and subject matter, works of authorship, methods, processes, techniques,
systems, and know-how containing, recording, expressing, or embodying the Disclosing Party’s (a)
products, both existing and under development during the Term, and all related documentation algorithms,
source code, object code, workflows, models, formulae, structures, schematics, designs, drawings,
specifications, and flow charts containing, comprised by or embodied in such products and (b) current or
prospective businesses, business plans, states, finances, contracts, contractual arrangements, employees,
contractors, partners, investors and suppliers. All of the foregoing shall be Confidential Information
hereunder irrespective of its field of use and whether it is (i) owned by the Disclosing Party, leased or
licensed from third parties or held for the benefit of or in connection with its clients, states, business partners,
or investors; (ii) intangible or tangible, but if tangible, regardless of form, medium or physical format
including paper documents or graphic or machine readable media; and (iii) actually disclosed to a party,
but if actually disclosed, whether in whole or in part or orally or in writing. Notwithstanding anything
contained in this Agreement to the contrary, the parties acknowledges and agree that where Contractor is
the Disclosing Party, “Confidential Information” shall include only such information that Contractor has
marked as “confidential”, “proprietary”, “trade secret”, or otherwise redacted in accordance with eRFP
Section 2.1.12.2.1 et seq. the terms of which are incorporated herein by reference, provided, however State
reserves the right to determine if such information has been properly designated as such and whether it
may or may not be disclosed by State.

11.3     Non-Disclosure and Non-Use. Except as otherwise permitted by eRFP, the Receiving Party shall
hold all Confidential Information actually received in strictest confidence and shall not disclose or provide
the Confidential Information to any individual or entity without the express written consent of the Disclosing
Party in each instance, except to the Authorized Recipients. In all events the Receiving Party shall handle,
store, and maintain all Confidential Information actually received with a degree of care that is reasonable
for the circumstances of disclosure and the nature of each component of Confidential Information. The
Receiving Party shall not make any use of the Confidential Information whatsoever except such limited
uses as are required under the Agreement. To the limited extent reasonably necessary for such permitted
purposes, the foregoing right of use shall include the right to make a reasonable number of copies of the
Confidential Information each of which shall be subject to Section 11.8. The use rights hereunder do not
permit, and the Receiving Party is expressly prohibited from (a) performing any benchmarking or other
comparative or competitive analysis of any Confidential Information for any purpose other than as required


State of Georgia/Dominion Confidential                                                                           21
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 24 of 113
Master Solution Purchase and Services Agreement



under this Agreement and (b) using, distributing, delivering, or disclosing the Confidential Information or
any portion to any Person in violation of U.S. export regulations.

11.4     Confidentiality Exclusions. The Receiving Party shall have no obligation under Section 11.3 with
respect to any Confidential Information which the Receiving Party can demonstrate by reasonable written
evidence contemporaneous with the event of the exclusion sought to be used hereunder: (a) was already
known to it at the time of its receipt hereunder; (b) is or becomes generally available to the public other than
by means of breach of this Agreement; (c) is independently obtained from a third party (other than any
Authorized Recipient) whose disclosure to the Receiving Party does not violate a duty of confidentiality; or
(d) is independently developed by or on behalf of the Receiving Party without use of, reference to, or
reliance on any Confidential Information. Furthermore State, as Receiving Party shall have no obligation
under Section 11.3 with respect to any information that State determines is required to be disclosed by
Applicable Law including the provisions of the Georgia Procurement Manual, State Purchasing Act, or
Georgia Open Records Act as provided in O.C.G.A. Section 50-18-70 et seq. If the Receiving Party is
required by a court or other body of competent jurisdiction to disclose the Confidential Information, the
Receiving Party may disclose only so much Confidential Information as is legally required, provided that
the Receiving Party has given notice of such compelled disclosure to the Disclosing Party and has given
the Disclosing Party a reasonable opportunity to object to such disclosure and has provided reasonable
assistance, at the cost of the Disclosing Party, in obtaining and enforcing a protective order or other
appropriate means of safeguarding any Confidential Information so required to be disclosed.

11.5     Privacy Regulations and Guidelines. This Agreement, the Solutions Orders, Services Orders, and
the parties hereunder, may be governed by one or more privacy laws, regulations or guidelines including
O.C.G.A. 21-2-379.24(g) and such others as may be designated by State from time to time (collectively,
the “Privacy Regulations”). If so governed, then to the extent not captured already by the definition of
Confidential Information hereunder, or required already by the Receiving Party’s obligations under Section
11.3: (a) the term “Confidential Information” shall further include all Nonpublic Personal Information,
Personal Information, material nonpublic information and Personal Data as each of those terms is defined
in or by application of each respective Privacy Regulation (collectively, the “Regulated Information”); and
(b) the Receiving Party shall comply with all requirements of the Privacy Regulations reasonably known to
be applicable to the Regulated Information portions of the Confidential Information actually received by the
Receiving Party including all reporting, audit, access, third-party disclosure and onward transfer obligations
and restrictions therefor, if any are so applicable. If a Privacy Regulation applicable to the Receiving Party
under this Agreement is amended, and/or if any other state or federal law, regulation or treaty is effected
such that a more restrictive standard of confidentiality or obligation of privacy or security is imposed with
respect to an applicable component of the Regulated Information portions of the Confidential Information,
then such more restrictive standard shall prevail over the provisions of this Agreement with respect to those
portions. By signing below the Receiving Party acknowledges that the Privacy Regulations may prohibit or
render ineffective some or all of the exclusions otherwise available under Section 11.3. Notwithstanding
anything to the contrary contained in this Agreement, Contractor agrees (i) it shall maintain, and shall
require all Authorized Recipients to maintain, effective information security measures to protect Regulated
Information from unauthorized disclosure or use, and (ii) it shall provide with information regarding such
security measures upon the reasonable request of State and promptly provide State with information
regarding any failure of such security measures or any security breach related to Regulated Information.

11.6     No Transfer of Rights. Nothing in this Agreement is, nor shall be deemed to be, any transfer,
conveyance, assignment or waiver (by express license, implied license or otherwise) by the Disclosing
Party of any Intellectual Property Rights it has or claims to have in the Confidential Information.

11.7     Data and Network Security.

        11.7.1 Contractor is responsible for providing network security and security for such of its facilities
where its servers or other network equipment are located. Contractor shall also comply with its own then-
current security policies and procedures, and its security policies and procedures shall comply with laws
and regulations applicable to Contractor.



State of Georgia/Dominion Confidential                                                                       22
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 25 of 113
Master Solution Purchase and Services Agreement



        11.7.2 If, during the course of this Agreement, Contractor is creating, hosting, maintaining,
processing or transmitting any State Confidential Information on or through any Contractor computer
networks, data centers, labs, supporting environments, Web servers or other information technology
resources (collectively “Contractor Computer Systems”), or is otherwise using any Contractor Computer
Systems in connection with this Agreement, then with respect to all such Contractor Computer Systems,
Contractor will, in accordance with industry best practices or higher standards that are in all cases no less
than reasonable:

         (a)     Limit physical and electronic access to Contractor’s employees and essential third-party
contractors, on a need-to-access basis, who have signed a written agreement that is at least as protective
of the confidentiality and security of State Confidential Information as those provided in this Agreement;

         (b)      Implement and maintain technical access controls that, at a minimum, require unique
identification and authentication of all users, restrict access to all data, software, or other file-system objects
exclusively to those users who need such access to perform their job responsibilities, and limit
administrator-level control to only authorized IT personnel;

        (c)       Implement and maintain transmission controls that, at a minimum, allow only the data
protocols required for the function and management of each solution to be used or transmitted and insure
the confidentiality, availability, and integrity of all transmissions;

       (d)      Implement and maintain firewall technology and intrusion detection software configured to
minimize or eliminate hacking and other threats;

       (e)      Implement and maintain protection against viruses, worms, Trojan horses, spyware, and
other malicious code;

         (f)       Perform routine reviews of logs files and system records for suspicious activity;

        (g)     Perform regular reviews of relevant security notifications and alerts (e.g., notifications of
bugs, attacks, and patches), and apply such patches and fixes as appropriate;

         (h)       Implement and maintain disaster recovery, backup, and other contingency plans; and

       (i)      Conduct regular security audits, reviews, and tests and systematically retain log files,
system records, test plans, and other security documentation.

         11.7.3 Contractor shall notify State immediately upon discovery or notification of any actual,
potential or threatened Security Breach. Contractor agrees to take action immediately, at its own expense,
to identify and eradicate (or to equip State to identify and eradicate) any further Security Breach and carry
out any recovery necessary to remedy any impact of such Security Breach. Contractor’s actions will include
at a minimum:

         (a)       Confirming the attack;

         (b)       Denying access from the source of the attack;

         (c)       Investigating and evaluating the extent of the damage, if any;

         (d)       Backing-up the affected systems and those suspected to be affected;

        (e)        Strengthening defenses everywhere, not just the suspected path that the attacker used, if
possible;




State of Georgia/Dominion Confidential                                                                          23
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 26 of 113
Master Solution Purchase and Services Agreement



       (f)      Contacting Contractor’s internet service provider and, subject to State’s prior written
approval, any law enforcement agency to work with Contractor’s security team; and

        (g)       Producing an incident report within twenty-four (24) hours detailing Contractor’s findings
and distributing the report to State.

11.8    Disaster Recovery – Requirements and Audit Procedure. Contractor shall provide a disaster
recovery plan and data backup procedures (the “Disaster Recovery Plan”) attached hereto as Exhibit J.

11.9     Loss of Information; Equitable Relief. The remedy at law for any breach or threatened breach of
this Section 11 shall be inadequate, and in addition to any other remedy available at law, in equity, or under
this Agreement, the non-breaching party shall be entitled to seek to obtain injunctive relief without proof of
irreparable injury and without posting bond. If there is any unauthorized disclosure or loss of, or inability to
account for, any Confidential Information of the Disclosing Party, the Receiving Party shall promptly: (a)
notify the Disclosing Party upon becoming aware thereof; (b) take such actions as may be necessary or
reasonably requested by the Disclosing Party to minimize the disclosure, losses or violation; and (c)
cooperate in all reasonable respects with the Disclosing Party to minimize the violation and any damage
resulting therefrom.

11.10 Compliance by Contractor Solution Partners. Without limiting Contractor’s obligations above,
Contractor shall cause each Contractor Solution Partner to comply with the provisions of this Section 11 to
the same extent that Contractor is required to comply with such provisions.

12.      OWNERSHIP OF CONTRACTOR PRODUCTS; STATE DATA; THIRD-PARTY PRODUCTS.

12.1     Ownership of Contractor Products. State acknowledges that the Software, the Contractor data
bases which are part of the Services, and all copyrights, patents, trade secrets, and other intellectual and
proprietary rights therein and thereto (collectively the “Contractor Products”) are and shall remain the
exclusive and confidential property of Contractor or the third parties for whom Contractor is acting as agent
or from whom Contractor has obtained the right to use the Contractor Products. For this purpose, the
Contractor Products do not include the State Data, including any extract, database, output, reports or
derivative works that include or are based on the State Data, or any business or transaction information
produced by or for State using the Services or Software (the “Output”).

12.2     State’s Rights in Output. State may use the Output in conjunction with any services, software or
equipment that State or State may choose. State or any contractor chosen by State may copy, use, and
modify such data as Contractor provides State and the Output for purposes of meeting its internal business
requirements. State may make an appropriate number of copies of the Contractor Products provided to
State at its premises for back-up purposes only.

12.3     Confidentiality of State Data; File Security. Contractor acknowledges and agrees that any file or
other information provided by any State Entity to Contractor, including any extract, database, output, reports
or derivative works that include or are based on the State data, or any business or transaction information
produced by or for a State Entity using the Services or Software (collectively the “State Data”) shall be and
remain the exclusive and confidential property of State. Except to the limited extent set forth in Section 12.4
below, Contractor shall treat as confidential and will not disclose or otherwise make available any State
Data to any person other than employees of Contractor with a need-to-know. Contractor will instruct its
employees who have access to the State Data to keep the same confidential by using the same care and
discretion that Contractor uses with respect to its own confidential property and trade secrets. Contractor
will provide reasonable security provisions to ensure that access to the State Data is available only to State.
Contractor will hold and process the State Data of State and State’s other vendors in systems that are
physically and logically separated from other data of other States.

12.4   Contractor Use of State Data. Notwithstanding the foregoing, but subject to State’s consent on a
case-by-case basis, State will consider Contractor’s request that Contractor be given the right to use such



State of Georgia/Dominion Confidential                                                                       24
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 27 of 113
Master Solution Purchase and Services Agreement



State Data as it ordinarily receives, and to distribute such State Data to third parties, in an anonymized and
cleansed statistical and/or compilation forms in connection with other Contractor services. If so approved
by State in writing on a case-by-case basis, State acknowledges that such statistics and/or compilations
(which are not identifiable to State or State’s location and do not include information otherwise subject to
privacy or confidentiality requirements) may be used or resold by Contractor outside the scope of this
Agreement.

12.5     Turnover of State Data. If so requested by State at any time before or after termination of this
Agreement, Contractor shall provide copies of the State Data in Contractor’s possession to State in such
form as State may reasonably request together with such tables and instructions as State may require to
extract or convert the information. Unless otherwise approved by State or necessary to carry out the
transition/termination provisions of this Agreement, Contractor may not retain copies of the State Data
following termination of this Agreement.

12.6      Unlimited Use of State Data and Output by State. State and its designees are free to extract,
aggregate, use, store, modify, compile, retransmit, and distribute the State Data, including all Output, in
any manner and for any purpose that State may desire, without being subject to any restriction on doing so
that may be associated with the Contractor applications or any other Contractor Products. State may install
and use its own or third-party providers’ equipment and software to do so, and State and State may create
and install its own or third-party providers’ APIs to access and collect any of the State Data or applicable
files at State’s premises in such manner as State or State chooses.

12.7      Deliverables. The deliverables that Contractor actually provides to the State Entities under this
Agreement may take the form of any Solution, the Services themselves or individual items of State-Specific
Enhancements, Third Party Materials or Derivative Works & Improvements, or one or more of them. More
likely, however, such deliverables, shall be composed of some combination of such Solution, State-Specific
Enhancements, Contractor Products, Third Party Materials or Derivative Works & Improvements, or one or
more of them created by linking, embedding, bundling or incorporating them with or into one-another. Such
combination shall be referred to as “Deliverables.” Each party shall retain at all times its respective
ownership rights of the Intellectual Property Rights in and to such party’s respective Proprietary Materials
components of the Deliverables under the terms of this Section 12 and neither party shall own the
Intellectual Property Rights in and to the Deliverables as a whole. Notwithstanding anything contained in
this Agreement to the contrary, State for itself, and on behalf of the other State Entities, acknowledges and
agrees that the Solution shall not constitute “works made for hire”, and shall remain the exclusive property
of Contractor.

12.8    Third Party Materials. Neither Contractor nor any Contractor Personnel shall use any Third Party
Materials in the performance of the Services nor introduce, embed, bundle, link, or incorporate Third Party
Materials into or with any State Data or Output unless: (a) expressly requested by State or (b) disclosed to
State by Contractor in writing in the applicable Solution Order or Services Order in connection with which
Contractor desires to use them. If use of Third Party Materials is so permitted, Contractor shall supply them
by either providing State: (i) with the applicable shrink-wrap license agreement governing the use of such
Third Party Materials or (ii) with the applicable license agreement submitted by the owner or provider of
such Third Party Materials generally to its states; or (iii) with all necessary use and/or license rights via
pass-through or assignment to State, as well as all warranties and maintenance and support rights (if any)
as provided by either the manufacturer of the applicable provider of such Third Party Materials or by
Contractor on such manufacturers’ behalf pursuant to a reseller or similar agreement therefor.

12.9     Open Source Software. The Solution may contain Third Party Materials subject to or governed by
an open source license. Use by State, as part of the Solution, in accordance with this Agreement and
normal operating instructions, of such open source license (in object code) procured by Contractor under a
license commonly referred to as “open source,” “free software,” “copyleft,” or “community source code
license,” including, without limitation, the GNU General Public License or Lesser General Public License
(collectively, “OSS”) is and will be in compliance with the terms of such OSS licenses. The use by State of
the System in accordance with this Agreement does not require that the OSS included by Contractor in the
System will be combined or merged with any proprietary software provided or separately operated by State.


State of Georgia/Dominion Confidential                                                                     25
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 28 of 113
Master Solution Purchase and Services Agreement



12.10 Residuals. Subject to Section 11 (Confidentiality, Privacy and Data Security), Contractor, State or
the applicable State Entities shall have the right to use for any purpose Residuals arising from this
Agreement. For the avoidance of doubt, the foregoing shall not be deemed to grant to the receiving party
a license to use the other party’s copyright, patents, trademarks, source code, or other Intellectual Property.

13.      BONDS & INSURANCE.

13.1   Bonds. Within ten (10) days of the Effective Date, Contractor shall obtain all bonds required by the
eRFP and described on Exhibit H attached hereto and deliver a true, correct, and complete copy of the
same to State.

13.2    Required Coverage. Contractor, at its sole expense, shall obtain and keep in force at all times
during the Term insurance coverage for the benefit of Contractor and State, issued by insurance carriers
licensed to do business in the State of Georgia with a minimum A.M. Best rating of A- as set forth in Exhibit
H as that Exhibit may be updated and modified from time to time by State (provided Contractor is given a
reasonable amount of time to review and meet such updated and modified insurance requirements).

13.3     Primary Policies. All insurance maintained by Contractor in compliance with this Agreement, shall
be primary to any other insurance owned, secured, or placed on behalf of State, which insurance shall not
be called upon by Contractor’s insurer to contribute in any way. Contractor shall secure endorsements to
this effect from all insurers of such policies.

13.4      Certificates. Within ten (10) days of the Effective Date, Contractor shall furnish State with
certificates of insurance and necessary endorsements affecting coverage required by this Section 13. To
the maximum extent permitted for each coverage type, the certificates and endorsements shall identify the
contract number of this Agreement (as shown on the cover page), the State of Georgia, State, and the other
State Entities as additional insureds and shall be signed by a person authorized by that insurer to bind
coverage on its behalf. State reserves the right to require complete, certified copies of all required insurance
policies, at any time.

13.5    No Cancellation. All policies herein shall expressly provide that such policies shall not be cancelled,
allowed to lapse, terminated or materially altered (resulting in failure to comply with requirements set forth
herein) without at least thirty (30) days prior written notice to State.

13.6      Waiver. To the extent permitted by its respective policies of insurance, Contractor hereby waives
any right of recovery against State for any loss or damage that is covered by any insurance policy
maintained or required to be maintained with respect to this Agreement. The parties do not intend to shift
all risk of loss to insurance. The Contractor’s obligation to maintain insurance coverage in specified amounts
will not act as a limitation on any other liability or obligation which the Contractor may otherwise have under
this Agreement. Similarly, the inclusion of the State of Georgia and the State Entities as additional insured
is not intended to be a limitation of the Contractor’s liability under this Agreement and will in no event be
deemed to, or serve to, limit the Contractor’s liability to the State or any State Entity to required insurance
coverage, nor to limit State’s rights to exercise any and all remedies available to the State Entities under
this Agreement, at law or in equity.

14.      REPRESENTATIONS AND WARRANTIES.

14.1     Warranties. Contractor hereby expressly represents, warrants, and covenants to State that:

         14.1.1 Organization. It is a corporation duly organized, validly existing, and in good standing under
the laws of the State of Delaware, and it is duly qualified to conduct business, and is in good standing, in
the State of Georgia and every other jurisdiction in which the nature of its assets or its business would
require it to so qualify.




State of Georgia/Dominion Confidential                                                                       26
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 29 of 113
Master Solution Purchase and Services Agreement



         14.1.2 Authority. (a) It has full power and authority to enter into this Agreement, to grant the rights
granted hereunder and to perform its obligations under this Agreement; (b) execution and performance of
this Agreement shall not violate any law or breach any other agreement known to Contractor; and (c)
Contractor will not assume any obligation or restriction that does or would in any way interfere or conflict
with, or would prevent, limit, or impair in any way the performance by Contractor of any of the terms of this
Agreement or of the Services.

        14.1.3 Liens and Encumbrances. Contractor has good and valid title to the Solution and all
Equipment or hardware components provided to the State Entities pursuant to the terms of this Agreement
free and clear of any and all liens and encumbrances. All such items will be delivered, and title will transfer,
to the applicable State Entity pursuant to Section 2.1.5 free and clear of all liens and encumbrances and
State will be entitled to use the Solution and all other Deliverables in accordance with the terms of this
Agreement without disturbance.

         14.1.4 eRFP Bring Down. Each of the representations, warranties, guarantees, certifications, and
similar assurances contained in Contractor’s eRFP Response were true and correct in all respects as of
the date of submission of Contractor’s eRFP Response and shall be true and correct in all respects on and
as of the Effective Date with the same force and effect as if made at and as of the Effective Date.

         14.1.5 Non-Infringement. As of the Effective Date and throughout the Term:

         (a)      None of the Solution, Services, or other Deliverables, nor any portion or component
thereof, nor State’s use or possession of any of the foregoing as permitted under this Agreement, shall
infringe or violate any right, title, or interest (including any Intellectual Property Right) of any third party.

          (b)      Contractor and/or all Contractor Personnel shall be the sole authors of the Solution and
any Revisions thereto and Contractor has and shall have full and sufficient right, title and interest (including
all Intellectual Property Rights) in and to the Solution.

         (c)     No claim of infringement has been threatened or asserted, or is pending against Contractor
(or insofar as Contractor is aware, against any entity from which Contractor has obtained such rights) (the
warranties set forth in clauses “(a)”, “(b)”, and “(c)” collectively the “Non-Infringement Warranty”).

        14.1.6 Disabling Procedures. The Solution, State-Specific Enhancements and other Deliverables
and each module or component and function thereof, and to the maximum extent applicable, the Services
performed hereunder, do not contain any “back door,” “time bomb,” “Trojan horse,” “drop dead device,” or
other similar software routines or components designed to permit access or use of any State Entities’
computer systems by Contractor or a third party or to disable or delete any Solution or any data, computer
hardware, or software operated or maintained by any State Entity;

        14.1.7 Viruses. The Licensed Programs, State-Specific Enhancements and other Deliverables
and each module or component and function thereof, and to the maximum extent applicable, the Services
performed hereunder, do not contain any Virus and prior to delivery to the State Entities, Contractor shall
have used up-to-date, industry-accepted, corporate-enterprise, quality virus detection products to scan for
and ensure the absence of Viruses. Contractor shall take all commercially reasonable steps to ensure that
no Viruses are coded or introduced into any other State Entities’ systems or into the systems used to provide
the Services or operate the Solution;

        14.1.8 EAC Certification. All relevant components of the Solution, any Upgraded Solution, and all
Software, Equipment, and other components forming a part thereof for which certification by the U.S.
Election Assistance Commission (“EAC”) is available have been certified by the EAC as of delivery of the
Solution to the State. Without limiting the foregoing, if at any time during the Term, the Solution or any
component (including Software and Equipment) forming a part thereof for which EAC certification is
available ceases to be certified by the EAC, Contractor shall immediately notify State and, if Contractor
has, or has made available a non-infringing, EAC certified, version of the offending component to its



State of Georgia/Dominion Confidential                                                                        27
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 30 of 113
Master Solution Purchase and Services Agreement



customers generally, then Contractor will make that version of the Solution available to the State under the
same or better economic terms as it offers to its other customers. If no EAC certified version of the offending
component is available, the parties will cooperate in good faith to attempt to resolve the issue.

         14.1.9 Documentation. The Documentation meets industry standards, accurately reflects the
operations features and functioning of the Solution, Services and Deliverables and shall in all events be
written in the English language as well as such other languages as are required under the applicable
Solution Order or Services Order.

        14.1.10 Services. Contractor has all of the resources (financial or otherwise), personnel,
experience, and know-how necessary for the successful and timely implementation of the Solution and
performance of its obligations under this Agreement. All Services performed by Contractor (or its permitted
subcontractors, if any) shall be so performed in accordance with all Applicable Laws and in a professional
and workmanlike manner by adequate staff having the skills training and background requisite to perform
them in accordance with the highest prevailing standards and best practices in the industry.

         14.1.11 Operations Conducted Lawfully. Contractor has conducted, and at all times during Term
will conduct, its business in compliance with all Applicable Laws including with the provisions of O.C.G.A.
Title 21, as amended and the State of Georgia Election Board and Secretary of State Rules contained in
Sections 183 and Sections 590 of the Georgia Administrative Code respectively. Contractor has not been
charged with, nor is Contractor in receipt of any notice or warning of, or to the knowledge of Contractor,
under investigation with respect to, any failure or alleged failure to comply with any provision of any
Applicable Law with respect to its business, the Solution, or the Services to be provided pursuant to this
Agreement. Contractor has all licenses, permits, approvals, authorizations, registrations, certificates,
variances or similar rights issued by any governmental authority required with respect to the operation of
its business and the delivery of the Solution and the Services. All such permits are in full force and effect
and Contractor is in compliance with the same.

       14.1.12 Solution and other Deliverables. During the Term the Solution and all Deliverables and
each module or component and function thereof, and to the maximum extent applicable, all Services
performed hereunder, shall:

       (a)     be free from defects in material and workmanship and under normal use shall remain in
good working order;

         (b)    function in all material respects in accordance with the specifications and criteria stated in
the applicable Solution Order or Services Order, including the Functional Requirements, and in accordance
with all other warranties set forth herein and in the applicable Solution Order or Services Order (the
“Specifications Warranty”); and

         (c)       perform the Guaranteed Functionality in accordance with the Guaranteed Performance,

         14.1.13 Compliance with Regulations. The Guaranteed Functionality and Guaranteed Performance
of the Solution, either by itself or in conjunction with such Third Party Materials as may be identified by
Contractor, contain features and functionality that permit State, or the applicable State Entity, to comply
either through use of the Solution as delivered or via no more than de minimis parameterization and/or
configuration, with those industry and/or governmental regulations (and the data formats, records, reporting
or communications standards required to be utilized to comply with such regulations) affecting State at each
State Site as of the Effective Date (“Regulation Compliant”).

         14.1.14 Third Party Materials. If the warranties to Third Party Materials passed-through and
assigned to State under Sections 12.7 and 14.2 are not substantially similar to the warranties received by
State from Contractor hereunder with respect to the Solution and other Deliverables, or if Contractor is not
permitted to pass-through and assign such warranties, then Contractor shall obtain comparable warranties
from the owner, licensor, or other providers of the applicable Third Party Materials or Contractor shall take



State of Georgia/Dominion Confidential                                                                      28
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 31 of 113
Master Solution Purchase and Services Agreement



appropriate action to ensure that such Third Party Materials are otherwise compliant with the warranties in
this Section 14.1 including that they are free of Viruses, preventative routines, and disabling procedures.

        14.1.15 Independent Contractors. Contractor represents and warrants that it has complied with,
and covenants that during the Term, it shall continue to comply with all laws, rules, and regulations required
by appropriate government authorities of independent contractors, including the appropriate withholding,
reporting, and payment of all required taxes.

         14.1.16 Conflicts of Interest. Contractor has not violated, and shall not violate during the Term, the
provisions of O.C.G.A. Section 45-10-20 et seq. Without limiting the foregoing, neither Contractor nor any
of its Affiliates or any of their respective Representatives has made any bribe, rebate, payoff, influence
payment, kickback or other payment unlawful under any Applicable Law.

14.2     Construction of Warranties; Disclaimer. Contractor shall assign and pass through to the State
Entities all applicable Software publishers' warranties, covenants and indemnification provisions. The
representations, warranties, and covenant of Section 14.1 apply at all times during the Term. EXCEPT FOR
THE WARRANTIES SPECIFICALLY PROVIDED IN THIS AGREEMENT (INCLUDING ALL EXHIBITS,
SCHEDULES, APPENDICES, EXECUTED SOLUTION ORDERS AND SERVICES ORDERS, AND ANY
ATTACHMENTS THERETO) AND AS OTHERWISE SET FORTH ABOVE, CONTRACTOR DISCLAIMS
ALL OTHER REPRESENTATIONS AND WARRANTIES, EXPRESS OR IMPLIED, INCLUDING ANY
WARRANTY OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE AND ANY
WARRANTY BASED ON A COURSE OF DEALING, COURSE OF PERFORMANCE OR USAGE OF
TRADE.

14.3     Remedies.

         14.3.1 Remedies. In the event that any of the Software is found by the Contractor, State, any
other State Entity or governmental agency, or any court having jurisdiction to to breach the warranties set
forth in this Agreement, or not to be otherwise in compliance with any standard or requirement so as to
require or make advisable that such Software be reworked or recalled, the Contractor will promptly
communicate all relevant facts to the State Entity and undertake all corrective actions authorized by the
State, including those required to meet all obligations imposed by laws, regulations, or orders, provided that
nothing contained in this section shall preclude State from taking such action as may be required of it under
any such law or regulation. If the Contractor is the Software publisher, the Contractor shall perform all
necessary repairs or modifications at its sole expense, provided the State determines the performance of
such repairs and modifications is in the State's best interest. Payment for the Software shall not constitute
acceptance. Acceptance by a State Entity shall not relieve the Contractor of its warranty or any other
obligation under this Agreement.

         14.3.2 In the event State or any other State Entity asserts any claim, demand, dispute relating to
the subject of this Agreement Contractor shall continue to perform its obligations hereunder, and any such
dispute, whether as to a claim for breach of any representation, warranty, or covenant contained in this
Agreement, shall not affect Contractor’s obligation to fulfill its remedy obligations to the State Entities
hereunder. If any such dispute is finally resolved in State’s favor, State shall be reimbursed for the cost of
all reasonable remediation services performed by Contractor, subject to State substantiating the same.

         14.3.3 Disabling Procedures, Preventative Routines and Viruses. In addition to all other remedies
at law and under this Agreement, Contractor agrees to notify State immediately upon discovery of any
actual, potential or threatened breach of the warranties in Sections 14.1.6 or 14.1.7, and, if State discovers
or reasonably suspects any Viruses to be present in any component of any Solution, State-Specific
Enhancements or other Deliverables, Contractor agrees to take action immediately, at its own expense, to
identify and eradicate (or to equip State to identify and eradicate) such Viruses and carry out any recovery
necessary to remedy any impact of such Viruses.

      14.3.4 Interference with Services. Contractor is under no obligation or restriction, nor will it
assume any such obligation or restriction that does or would in any way interfere or conflict with, or would


State of Georgia/Dominion Confidential                                                                      29
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 32 of 113
Master Solution Purchase and Services Agreement



prevent, limit, or impair in any way the performance by Contractor of any of the terms of this Agreement or
of the Services.

15.      INDEMNIFICATION.

15.1      Contractor Indemnification. Contractor agrees to defend, indemnify, and hold harmless State, the
other State Entities, and all parties making authorized use of the Deliverables, and each of their respective
directors, officers, employees, and representatives (the “Indemnified Parties”) from and against any and
all liabilities, claims, damages, suits, judgments, losses, costs, and expenses (including reasonable
attorneys' fees) to the extent incurred in connection with or arising out of: (a) any inaccuracy or breach of a
representation or warranty of Contractor set forth in this Agreement or any agreement, instrument, or
certificate, or document delivered in connection herewith (including Contractor’s eRFP Response); (b) any
breach or failure to comply with any covenant or agreement made by Contractor in this Agreement or any
agreement or instrument delivered in connection herewith; (c) any negligent, intentional or wrongful act or
omission of the Contractor or any Contractor Personnel; (d) any breach of contract; (e) any third-party
claims of infringement or other violations of Intellectual Property Rights; (f) any failure of the Solution or the
Services to comply with applicable specifications, warranties, and certifications under this Agreement or
Contractor’s eRFP Response; (g) any failure by Contractor or Contractor Personnel to comply with
Applicable Law; or (h) any failure by the Contractor to make all reports, payments and withholdings required
by federal and state law with respect to social security, employee income and other taxes, fees or costs
required by the Contractor to conduct business in the State of Georgia or the United States. Contractor
acknowledges and agrees that no delay in notifying Contractor shall relieve Contractor of its obligations
under this Section 15.1. Contractor may not agree to any settlement that could have an adverse impact on
any State Entity, as applicable, without State’s prior written consent. Notwithstanding the foregoing State,
and not Contractor, will be responsible and therefore solely liable for its own acts and omissions constituting
gross negligence, willful misconduct or fraud.

15.2      Assumption of Defense. State shall be entitled to participate in the defense of any such action,
with its counsel and at its own expense. If Contractor does not promptly commence fulfillment of its defense
obligations for any indemnified claim or litigation resulting therefrom, State may defend against such claim
or litigation in such manner as it may deem appropriate, including settling such claim or litigation, after
giving notice of the same to Contractor, on such terms as State may deem appropriate but after prior written
consent from Contractor signed by the designated person signing this Agreement, and no action taken by
State in accordance with such defense and settlement shall relieve Contractor of its indemnification
obligations herein with respect to any loss, liability, or damages resulting therefrom.

15.3      Infringement Related Remedies. In addition to and without in any way limiting or excluding
Contractor’s indemnification obligations, if any party makes any claim or allegation of infringement against
State or State Entity based on State’s or a State Entity’s use of a Deliverable in accordance with the terms
of this Agreement and State or any State Entity is actually enjoined from using any Deliverables (or, if
Contractor earlier believes that such claim may arise), Contractor shall, at its own cost and expense, and
at its option: (a) procure for State a license to continue using the allegedly or potentially infringing materials
of nature and scope identical to that contained in this Agreement and without loss, diminution or degradation
in the manner of performance or functionality or (b) modify the allegedly or potentially infringing materials
so as to make them non-infringing without loss, diminution or degradation in the manner of performance or
functionality. If Contractor cannot complete “(a)” or “(b)” above after good faith efforts undertaken for a
reasonable period of time, then Contractor shall, at its own cost and expense: (c) procure for State and the
State Entities a license to a third-party product (including, if required, engaging a third-party to develop such
product on commercially reasonable terms) that will serve as a replacement for the allegedly or potentially
infringing materials without loss, diminution or degradation in the manner of performance or functionality.
If Contractor cannot complete “(a),” “(b)” or “(c)” above after good faith efforts undertaken for a reasonable
period of time, on commercially reasonable terms, Contractor promptly shall refund to State all amounts
paid by State under the Services Order (including any expenses and fees for Third Party Materials) pursuant
to which the applicable materials were created.




State of Georgia/Dominion Confidential                                                                         30
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 33 of 113
Master Solution Purchase and Services Agreement



15.4     Duty to Reimburse State Tort Claims Fund. To the extent any damage or loss as covered by this
indemnification is covered by the State of Georgia Tort Claims Fund ("the Fund"), the Contractor (and its
insurers) agrees to fully reimburse the Fund. To the full extent permitted by the Constitution and the laws
of State and the terms of the Fund, the Contractor and its insurers waive any right of subrogation against
State, the Indemnified Parties, and the Fund and insurers participating thereunder, to the full extent of this
indemnification.

15.5     Limitation of Liability.

      15.5.1 EACH PARTY’S TOTAL AGGREGATE LIABILITY FOR ANY LOSS, DAMAGE, COSTS
OR EXPENSES UNDER OR IN CONNECTION WITH THIS AGREEMENT, HOWSOEVER ARISING,
INCLUDING WITHOUT LIMITATION, LOSS, DAMAGE, COSTS OR EXPENSES CAUSED BY BREACH
OF CONTRACT, NEGLIGENCE, STRICT LIABILITY, BREACH OF STATUTORY OR ANY OTHER DUTY
SHALL IN NO CIRCUMSTANCES EXCEED THE TOTAL DOLLAR AMOUNT OF THE AGREEMENT,
INCLUDING ALL SOLUTION ORDERS AND SERVICES ORDERS IN EFFECT AS OF THE DATE OF
THE APPLICABLE CLAIM.

      15.5.2 NEITHER PARTY SHALL BE LIABLE FOR ANY LOSS OF PROFITS, LOSS OF
BUSINESS, LOSS OF USE OR ANY OTHER INDIRECT, INCIDENTAL, PUNITIVE, SPECIAL OR
CONSEQUENTIAL LOSS OR DAMAGE WHATSOEVER, HOWSOEVER ARISING, INCURRED BY THE
OTHER PARTY OR ANY THIRD PARTY, WHETHER IN AN ACTION IN CONTRACT, NEGLIGENCE OR
OTHER TORT, EVEN IF THE PARTIES OR THEIR REPRESENTATIVES HAVE BEEN ADVISED OF THE
POSSIBILITY OF SUCH DAMAGES.

         15.5.3 Notwithstanding anything contained in this Agreement to the contrary the limitations and
exclusions in Sections 15.5.1 and 15.5.2 shall not apply to (1) Contractor’s obligation to pay any liquidated
damages pursuant to Section 10.1, (2) Contractor’s failure to honor any pricing commitments made in this
Agreement, (3) claims arising out of the willful misconduct or gross negligence of a Party or any of their
respective employees, agents, contractors or subcontractors, (4) claims and losses that are the subject of
indemnification under this Agreement, including pursuant to Section 15, (5) damages and costs associated
with the Contractor’s breach of its data security or data privacy obligations hereunder; (6) damages
attributable to a Party’s breach of its obligations with respect to Confidential Information of the other Party;
or (7) damages attributable to the abandonment of this Agreement by the Contractor, including Termination
Assistance, where “abandonment” has the meaning provided in Section 16.8 below.

16.      TERM AND TERMINATION.

16.1      Term. This initial term of this Agreement shall commence upon the Effective Date and shall remain
in effect for a period of ten (10) years (the “Initial Term”). State shall have the option to extend this
Agreement for a period of up to ten (10) successive periods of one (1) year each (each a “Renewal Period”)
under the same terms and conditions of this Agreement as in effect during the Initial Term, which options
may be exercised by the issuance of a “Notice of Award Amendment” by State no later than thirty (30) days
prior to the end of the Initial Term or then-current Renewal Period. As used throughout this Agreement, all
references to the “Term” shall be construed to include the Initial Term, all Renewal Periods, and any
Transition Assistance Period.

16.2     Immediate Termination. Pursuant to O.C.G.A. Section 50-5-64, this Agreement will terminate
immediately and absolutely if State determines that adequate funds are de-appropriated such that State
cannot fulfill its obligations under the Agreement, which determination is at the State’s sole discretion and
shall be conclusive.

16.3    Termination for Cause. Subject to Section 16.3.133.13, the State may terminate any Solution
Order, Services Order or this Agreement, in each instance in whole or in part, if State reasonably determines
that any one or more of the following events has occurred:




State of Georgia/Dominion Confidential                                                                       31
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 34 of 113
Master Solution Purchase and Services Agreement



       16.3.1 The actions, or failure to act, of the Contractor, its agents, employees, or subcontractors
have caused, or reasonably could cause, life, health, or safety to be jeopardized;

        16.3.2 Contractor fails to comply with confidentiality laws or provisions, including the Privacy
Regulations;

      16.3.3 Contractor furnished any statement, representation, or certification in connection with this
Agreement or the bidding process which is materially false, deceptive, incorrect, or incomplete;

        16.3.4 Contractor fails to deliver or has delivered nonconforming goods or services or fails to
perform, to State’s satisfaction, any material requirement of this Agreement, individually, in each case in
whole or in part or is in violation of a material provision of this Agreement, including, but without limitation,
the express warranties made by the Contractor;

          16.3.5 Satisfactory performance of this Agreement is substantially endangered or that a default is
likely to occur, including in connection with Contractor’s inability or unwillingness to meet the milestones or
timelines described in any Solution Order or Services Order;

      16.3.6 Contractor fails to make substantial and timely progress toward performance of this
Agreement;

         16.3.7 Contractor becomes subject to any bankruptcy or insolvency proceeding under federal or
state law to the extent allowed by applicable federal or state law including bankruptcy laws; the Contractor
terminates or suspends its business; or State reasonably believes that the Contractor has become insolvent
or unable to pay its obligations as they accrue consistent with applicable federal or state law;

        16.3.8 Contractor has failed to comply with applicable federal, state and local laws, rules,
ordinances, regulations, and orders when performing within the scope of this Agreement;

           16.3.9 Contractor has engaged in conduct that has or may expose the State or any State Entity
to liability, as determined in State’s sole discretion;

       16.3.10 Contractor endangers the value, integrity, or security of any State Site or the data or
personnel of any State Entity;

          16.3.11 Contractor breaches any of its material duties or obligations under this Contractor,
including but not limited to obtaining and maintaining, throughout the Term, federal and State voting system
certification; or

         16.3.12 Contractor has infringed any patent, trademark, copyright, trade dress or any other
intellectual property right of State, a State Entity, or any other Person.

         16.3.13 Notice of Default. Contractor shall be afforded thirty (30) calendar days to cure any breach
that could give rise to a termination for cause by State pursuant to Section 16.3, with such thirty (30) day
period commencing as of the date Contractor receives written notice of such breach from the State. If the
breach or noncompliance is not remedied within such thirty (30) day period, State may (i) immediately
terminate this Agreement without additional written notice; and/or, (ii) procure substitute Software, Licensed
Programs or Services from another source and charge the difference between this Agreement and the
substitute contract to the defaulting Contractor; and/or (iii) enforce the terms and conditions of this
Agreement and seek any legal or equitable remedies. For the avoidance of doubt the parties acknowledge
and agree that the items listed in Section 16.3 shall each constitute a material breach, provided, however
any reference to specific breaches being material breaches within this Agreement will not be construed to
mean that other breaches are not material. If termination occurs prior to the date of Final Acceptance or the
Presidential Preference Primary, whichever is later, and such termination is for cause pursuant to Section




State of Georgia/Dominion Confidential                                                                        32
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 35 of 113
Master Solution Purchase and Services Agreement



16.3, then State may elect to terminate this Agreement and Contractor shall immediately refund all
applicable Milestone Payments paid by State.

16.4    Convenience. State may at any time for any reason or no reason, terminate this Agreement or any
Solution Order or Services Order individually, in each case in whole or in part, for its sole convenience for
any reason whatsoever.

16.5     Effect. Termination of a Solution Order, a Services Order or this Agreement shall not limit either
party from pursuing any other remedies available to it, including injunctive relief. Subject to Section 16.6
and Section 16.7 upon termination or expiration of this Agreement and request of the State Entity, the
Contractor shall:

         16.5.1 Cease work under this Agreement or the applicable Solution Order or Services Order and
take all necessary or appropriate steps to limit disbursements and minimize costs, and furnish a report
within thirty (30) days of the date of notice of termination, describing the status of all work under the this
Agreement, including, without limitation, results accomplished, conclusions resulting therefrom, and any
other matters State may require;

       16.5.2 Immediately cease using and return to the State Entity any personal property or materials,
whether tangible or intangible, provided by the State Entity to the Contractor;

       16.5.3 Comply with State’s instructions for the timely transfer of any active files and work product
produced by the Contractor under this Agreement;

        16.5.4 Cooperate in good faith with the State Entity, its employees, agents, and contractors during
the transition period between the notification of termination and the substitution of any replacement
contractor; and

        16.5.5 Immediately return to the State Entity any payments made by the State Entity for goods
and services that were not delivered or rendered by the Contractor.

         16.5.6 Payment Limitation in Event of Termination. In the event of termination of this Agreement,
a Solution Order, or any Service Order, for any reason by State, State shall pay only those amounts, if any,
due and owing to the Contractor for goods and services actually delivered and satisfactorily performed up
to and including the date of such termination. Payment will be made only upon submission of invoices and
proper proof of the Contractor’s claim. This provision in no way limits the remedies available to the State
Entity under the Agreement in the event of termination. State shall not be liable for any costs incurred by
the Contractor in its performance of this Agreement, including, but not limited to, startup costs, overhead,
or other costs associated with the performance of this Agreement or the bidding process.

        16.5.7 In such case, State shall pay for all Services Orders and Solution Orders and Deliverables
to the extent delivered and satisfactorily performed by Contractor until the date of such termination. If this
Agreement is terminated, Contractor will complete all Services in process under all then-outstanding
Solution Orders and Services Orders and adhere to all terms and conditions outlined in this Agreement,
including all credits and discounts set forth on the applicable Solution Order or Service Order.

16.6     Transition and Termination Assistance. If State decides to discontinue use of any applications or
services, Contractor will, at State’s option, provided that State agrees to pay Contractor’s reasonable fees
and expenses, assist to cause the orderly transition and migration with regard to State’s requirements so
that State or third-party contractors contractor(s) selected by State are properly equipped to meet those
requirements (the "Termination Assistance"). As part of the Termination Assistance, (a) Contractor and
State will work together to develop a transition plan (the "Transition Plan") setting forth the respective
tasks to be accomplished by each party in connection with the orderly transition and a schedule pursuant
to which the tasks are to be completed and (b) Contractor will provide State with tables and instructions for
extraction of data and reports and conducting testing procedures incident to such migration.



State of Georgia/Dominion Confidential                                                                     33
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 36 of 113
Master Solution Purchase and Services Agreement



16.7     Continuance of Services. Notwithstanding anything contained in this Agreement to the contrary,
upon any termination or expiration of this Agreement or any Schedule relating to the provision of
applications or services by Contractor, Contractor shall, if requested by State, continue to provide the
applications or services and accept additional Solutions Orders and/or Services Orders for up to two (2)
years or such longer period as the parties may mutually agree (the “Transition Assistance Period”) in the
manner described herein and in the applicable Schedule and provide such additional assistance as mutually
agreed upon between the parties and as reasonably necessary for State to effect an orderly transition of
operational responsibilities for the terminated applications or services. Such termination assistance may
include: (a) providing reasonable assistance to State in establishing or transferring all processes; (b)
assisting State with the execution of parallel processing and testing; (c) doing all things and providing all
information reasonably necessary for an orderly transition with reasonable continuity of operations; and (d)
carrying out such other activities as the parties may agree is necessary.

16.8     No Abandonment. Contractor represents, warrants and covenants that, during the Term, it shall
not “Abandon” this Agreement (or any Schedule) or application or service obtained by State thereunder.
For purposes hereof, “Abandon” or “Abandonment” means the threatened or actual intentional refusal by
Contractor to provide or support any of the solutions or perform any of the services in breach of its
obligations under this Agreement (or any Schedule). If Contractor breaches or threatens to breach this
Section, Contractor agrees that State will be irreparably harmed, and, without any additional findings of
irreparable injury or harm or other considerations of public policy, State shall be entitled to apply to a court
or tribunal of competent jurisdiction for and, provided State follows the appropriate procedural requirements
(e.g., notice), Contractor shall not oppose the granting of an injunction compelling specific performance by
Contractor of its obligations under the Agreement without the necessity of posting any bond or other
security. Contractor further agrees not to oppose any such application for injunctive relief by State except
to require that State establish that Contractor has committed an Abandonment.

17.      MISCELLANEOUS.

17.1   Notice. All notices to be given to the parties hereunder shall be in writing and shall be deemed to
have been given and be effective when delivered personally or if sent by certified mail, return receipt
requested, postage prepaid addressed to the parties at the addresses set forth below.

                   If to State:                                     with copies to:

                   Georgia Secretary of State
                   2 Martin Luther King Jr. Drive,
                   West Tower, Atlanta, Georgia 30334
                   Attention: Chief Operating Officer               Attention: General Counsel


                   If to Contractor:

                   Dominion Voting Systems, Inc.
                   1201 18th Street, Suite 210
                   Denver, CO 80220

                   Attention: General Counsel

17.2    No Exclusivity. Unless expressly provide in a Solutions or Services Order, State has the right, at
any time and without any notice or duty to account to Contractor, to have services performed by State’s
own employees or those of other State Entities or, subject to the terms and conditions of this Agreement,
to purchase any equipment or services from any other individual or entity, subject at all times to its
compliance with this Agreement. Nothing contained in this Agreement shall constitute a minimum purchase
commitment by State, and Contractor has not relied on any representation, verbal or written, to the contrary.




State of Georgia/Dominion Confidential                                                                       34
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 37 of 113
Master Solution Purchase and Services Agreement



17.3     Language. The headings as to the contents of particular sections of this Agreement are inserted
for convenience of reference only and shall in no way define, limit, expand, or otherwise affect the
construction or interpretation of any provision of this Agreement. The language of all parts of this Agreement
shall in all cases be construed as a whole according to its fair meaning and not strictly for or against either
of the parties. Those terms, acronyms, and phrases used but not otherwise defined in this Agreement,
which are utilized in the information technology outsourcing industry or in State’s contracting processes will
be interpreted in accordance with their generally understood meaning in such industry or context.

17.4     Governing Law. This Agreement shall be interpreted and construed under the laws of the State of
Georgia, USA, without regard to its conflicts of law principles. The United Nations Convention on Contracts
for the International Sale of Goods shall not apply to this Agreement or any services or products provided
hereunder. Any judicial action or proceeding between the parties relating to this Agreement must be brought
in the courts of Fulton County, Georgia or the United States District Court for the Northern District of
Georgia. Each party consents to the jurisdiction of such courts, agrees to accept service of process by mail
to the addresses outlined in Section 17.1 (Notice) above, and hereby waives all jurisdictional and venue
defenses otherwise available to it.

17.5      Parties' Duty to Provide Notice of Intent to Litigate and Right to Demand Mediation. In addition to
any dispute resolution procedures otherwise required under this Agreement or any informal negotiations
which may occur between State and the Contractor, no civil action with respect to any dispute, claim or
controversy arising out of or relating to this Agreement may be commenced without first giving fourteen
(14) calendar days written notice to State of the claim and the intent to initiate a civil action. At any time
prior to the commencement of a civil action, either the State or the Contractor may elect to submit the matter
for mediation. Either State or the Contractor may exercise the right to submit the matter for mediation by
providing the other party with a written demand for mediation setting forth the subject of the dispute. The
parties will cooperate with one another in selecting a mediator and in scheduling the mediation proceedings.
Venue for the mediation will be in Atlanta, Georgia; provided, however, that any or all mediation proceedings
may be conducted by teleconference with the consent of the mediator. The parties covenant that they will
participate in the mediation in good faith, and that they will share equally in its costs; provided, however,
that the cost to State shall not exceed five thousand dollars ($5,000.00). All offers, promises, conduct, and
statements, whether oral or written, made in the course of the mediation by any of the parties, their agents,
employees, experts, and attorneys, and by the mediator or employees of any mediation service, are
inadmissible for any purpose (including but not limited to impeachment) in any litigation or other proceeding
involving the parties, provided that evidence that is otherwise admissible or discoverable shall not be
rendered inadmissible or non-discoverable as a result of its use in the mediation. Inadmissibility
notwithstanding, all written documents shall nevertheless be subject to the Georgia Open Records Act
O.C.G.A. Section 50-18-70 et seq. No party may commence a civil action with respect to the matters
submitted to mediation until after the completion of the initial mediation session, forty-five (45) calendar
days after the date of filing the written request for mediation with the mediator or mediation service, or sixty
(60) calendar days after the delivery of the written demand for mediation, whichever occurs first. Mediation
may continue after the commencement of a civil action, if the parties so desire.

17.6     Assignment.

         17.6.1 This Agreement shall not be assignable by either party without the prior written consent of
the other party. Notwithstanding anything contained herein to the contrary, State may assign to any other
State Entity, in whole or in part, State’s right, title, interest and obligations under this Agreement or any
Solutions Order or Services Order which relate to items purchased by State on behalf of such State Entity,
without Contractor’s consent. State’s assignment pursuant to this Section 18.6.1of any payment obligations
to another State Entity shall be limited to the extent of that State Entity’s interest or use of the subject matter
hereof and shall constitute a full and complete novation of State’s liabilities and obligations with respect
thereto and Contractor shall recognize the State Entity to which such obligations were assigned as State’s
successor-in-interest with respect to such obligations and will exclusively look to such State Entity for the
discharge of all such liabilities and obligations, provided, however State will continue to be Contractor’s sole
point of contact with respect to this Agreement in accordance with Section 17.234.



State of Georgia/Dominion Confidential                                                                          35
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 38 of 113
Master Solution Purchase and Services Agreement



        17.6.2 This Agreement shall be binding upon and shall inure to the benefit of and be enforceable
by the parties hereto and their respective permitted successors and assigns, provided that no assignment,
except as described in Section 17.6.1, shall relieve any party of such party’s obligations hereunder without
the consent of the other party hereto.

17.7    Covenant Against Pledging. Contractor agrees that, without the prior written consent of State, it will
not assign, transfer, pledge, hypothecate or otherwise encumber its rights to receive payments from any
State Entity under this Agreement for any reason whatsoever. To the extent State permits Contractor to
assign, transfer, pledge, hypothecate or otherwise encumber its rights to receive payments from State
under this Agreement, Contractor will continue to be State’s sole point of contact with respect to this
Agreement, including with respect to payment. The Person to which such rights are assigned, transferred,
pledged, hypothecated or otherwise encumbered will not be considered a third party beneficiary under this
Agreement and will not have any rights or causes of action against any State Entity.

17.8    No Liens. Contractor will not file, or by its action or inaction permit, any liens to be filed on or against
property or realty of State or any other State Entity. In the event that any such liens arise as a result of the
Contractor’s action or inaction, Contractor will obtain a bond to fully satisfy such liens or otherwise remove
such liens at its sole cost and expense within ten (10) Business Days. If Contractor fails to do so, State
may, in its sole discretion, pay the amount of such lien, or deduct such amounts from payments due to
Contractor.

17.9     Non-Delegation. Nothing herein will be deemed or construed as delegating the discretionary
powers or authority of State or any of the other State Entities to Contractor. Further, nothing herein will be
deemed or construed as delegating the discretionary powers or authority of the other State Entities to State
or the discretionary powers or authority of State to the other State Entities.

17.10 No Waiver. The failure of either party at any time or times to enforce or require performance of any
provision contained in this Agreement shall in no way operate as a waiver or affect the right of such party
at a later time to enforce such provision.

17.11 Entire Agreement. This Agreement (together with its Exhibits, all executed Solution Orders and
Services Orders, and all attachments thereto) constitutes the entire agreement between the parties hereto
with respect to the subject matter hereof. This Agreement supersedes all prior written agreements and
contemporaneous oral agreements with respect to the subject matter hereof; provided, if the parties have
entered into a Confidentiality and Non-Disclosure Agreement, the terms of such agreement shall survive
and govern the parties’ obligations as set forth in such agreement between the execution date thereof and
the Effective Date. Although State may utilize its own purchase order or confirmation form for its own
convenience, the provisions of this Agreement shall control as to all issues relating to the subject matter
hereof. Typewritten or handwritten additions, initialed by both parties, shall supersede any pre-printed
provisions of this Agreement. Subject to the foregoing, each Solution Orders and Services Orders hereto,
whether executed concurrently herewith or subsequent hereto, shall be deemed to be incorporated herein
and shall be governed by the terms of this Agreement.

17.12 Amendment. This Agreement may be amended in writing from time to time by mutual consent of
the parties. If the contract award exceeds the delegated purchasing authority of State, then State must
obtain approval of the amendment from the Department of Administrative Services (DOAS). All
amendments to this Agreement must be in writing and fully executed by duly authorized representatives of
State and the Contractor.

17.13 Severability. Each provision herein shall be treated as a separate and independent clause, and
the unenforceability of any one clause shall in no way impair the enforceability of any of the other clauses
of the Agreement. Moreover, if any provision contained in this Agreement shall for any reason be held to
be excessively broad as to scope, activity, subject, or otherwise unenforceable, such provision shall be
construed by the appropriate judicial body by limiting or reducing it or them so as to be enforceable to the
maximum extent compatible with the Applicable Law.



State of Georgia/Dominion Confidential                                                                           36
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 39 of 113
Master Solution Purchase and Services Agreement



17.14 Time is of the Essence. Time is of the essence with respect to Contractor’s performance of the
terms of this Agreement. Contractor shall ensure that all personnel providing Software, Licenses and
Services to State are responsive to State’s requirements and requests in all respects.

17.15 Independent Contractor. Contractor and all Contractor Personnel are independent contractors and
neither Contractor nor any Contractor Personnel shall be deemed an employee of State. Contractor is and
shall remain the employer of all Contractor Personnel and shall be solely responsible for the employment,
training, and payment of salaries, wages, bonuses, benefits (including health insurance, retirement and
other similar benefits, if any) and other compensation, of all Contractor Personnel. Contractor shall be
responsible for the payment of all federal, state, and local withholding taxes and workers compensation,
and, at the reasonable request of State, Contractor shall provide to State evidence that all of such payments
have been made. Nothing in this Agreement shall be construed to create a partnership, joint venture, or
agency relationship between the parties. Neither Contractor nor any Contractor Personnel shall have the
right to bind State to any contract, agreement, or obligation.

17.16 Joint/Several Liability. If the Contractor is a joint entity, consisting of more than one Person, all
such Persons shall be jointly and severally liable for carrying out the activities and obligations of this
Agreement, and for any default of activities and obligations. Contractor acknowledges and agrees that that
the liability of each State Entity shall be several and not joint.

17.17 No Third-Party Beneficiaries. Nothing expressed or implied in this Agreement is intended or shall
be construed to confer upon or give any person other than Contractor and State any rights or remedies
under or by reason of this Agreement.

17.18 Survival. All provisions of this Agreement that, by their terms, are intended to survive shall expressly
survive any termination or expiration of this Agreement, including Section 3, Section 11, Section 12, Section
14 and Section 15.

17.19 Publicity. The laws of the State of Georgia, including the Georgia Open Records Act, as provided
in O.C.G.A. Section 50-18-70 et seq., require procurement records and other records to be made public
unless otherwise provided by law. Notwithstanding the foregoing, the Contractor Parties each agree that
no acknowledgment or other information concerning the Agreement or the Services and/or Deliverables
provided hereunder will be made public by the Contractor Parties without the prior written agreement of
State. Further, the Contractor Parties shall not use State’s, any other State Entities’ name, photographs,
logo, trademark, or other identifying characteristics without the applicable State Entity’s prior written
approval.

17.20 Solicitation. The Contractor warrants that no person or selling agency (except bona fide employees
or selling agents maintained for the purpose of securing business) has been employed or retained to solicit
and secure this Agreement upon an agreement or understanding for commission, percentage, brokerage
or contingency.

17.21 Interpretation; Intent of References to Bid Documents. Whenever any provision of this Agreement
uses the term “including” (or “includes”), such term shall be deemed to mean “including without limitation”
and “including but not limited to” (or “includes without limitations” and “includes but is not limited to”)
regardless of whether the words “without limitation” or “but not limited to” actually follow the term “including”
(or “includes”). The words “herein,” “hereby,” “hereunder,” “hereof,” and other equivalent words shall refer
to this Agreement in its entirety and not solely to the particular portion of this Agreement in which any such
word is used. All definitions set forth herein shall be deemed applicable whether the words defined are used
herein in the singular or the plural. Wherever used herein, any pronoun or pronouns shall be deemed to
include both the singular and plural and to cover all genders. The references to the parties' obligations,
which are contained in this Agreement, are intended to supplement or clarify the obligations as stated in
the eRFP and Contractor’s eRFP Response. The failure of the parties to make reference to the terms of
the eRFP or Contractor’s eRFP Response in this Agreement shall not be construed as creating a conflict
and will not relieve the Contractor of the contractual obligations imposed by the terms of the eRFP and the



State of Georgia/Dominion Confidential                                                                        37
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 40 of 113
Master Solution Purchase and Services Agreement



Contractor’s eRFP Response. The contractual obligations of any State Entity cannot be implied from
Contractor’s eRFP Response.

17.22 Force Majeure. Neither party shall be liable for, or be in breach of this Agreement because of, any
delay or failure to perform its obligations under this Agreement or thereunder resulting from any acts of
God, war, insurrection, terrorism or the public enemy (collectively, “FM Events”). A party that experiences
a FM Event shall give the other party prompt written notice of the FM Event. The affected party shall use
reasonable efforts to work around or to overcome the FM Event and to resume full performance under this
Agreement as soon as practicable. Occurrence of FM Events will not excuse the backup and disaster
recovery obligations of Contractor. Contractor will follow normal procedures for classification, resolution,
resolution and escalation of incidents, even if the incident is caused by an FM Event. If an FM Event causes
a material failure or delay in the performance of any applications or services for more than five (5)
consecutive days, State may, at its option, and in addition to any other rights State may have, procure such
applications or services from an alternate source until Contractor is again able to provide them, and
Contractor shall be liable for all payments made and costs incurred by State required to obtain such
applications and services from such alternate source during such period. If an FM Event causes a material
failure or delay in the performance of any application or services for more than thirty (30) consecutive days,
State may, at its option, and in addition to any other rights they may have, immediately terminate each
affected Schedule and Services Order without liability to Contractor. State shall not be required to pay the
fees that may have otherwise been payable for any period of time in which any substantial part of the
Solution and Services are not provided as a result of an FM Event.

17.23 Counterparts. This Agreement may be executed in any number of separate counterparts, each of
which shall collectively and separately constitute one Agreement. Counterparts may be delivered via
facsimile, electronic mail (including pdf or any electronic signature complying with the U.S. federal ESIGN
Act of 2000, e.g., www.docusign.com) or other transmission method and any counterpart so delivered shall
be deemed to have been duly and validly delivered and be valid and effective for all purposes.

17.24 State Entity Representative. Notwithstanding anything contained in this Agreement to the contrary,
each of the State Entities other than State hereby appoint State to serve as their representative and State
accepts such appointment, to act for and on behalf of such State Entities with respect to this Agreement.
Each of the State Entities acknowledges and agrees that any decision, act, consent, or instruction taken or
given by State pursuant to this Agreement shall be and constitute a decision, act, consent or instruction of
all State Entities and shall be final, binding, and conclusive upon the State Entities, and Contractor and its
Affiliates may rely upon any such decision, act, consent or instruction of State on behalf of the other State
Entities. The State Entities hereby agree to release State from and waive any and all claims and liabilities
based on any claim that an action authorized hereunder to be taken by the State on behalf of the other
State Entities is not binding on, or enforceable against, any such State Entity.

17.25 Order of Precedence. In the case of any inconsistency or conflict among the specific provisions
of this Agreement (as amended), the Exhibits attached hereto, the eRFP (including any subsequent
addenda), Contractor’s eRFP Response, and the Documentation, the order of precedence shall be,
notwithstanding any terms that may be contained in the eRFP, Contractor’s eRFP Response, or the
Documentation (including any statement that purports to change the order of precedence described herein,
incorporate additional or inconsistent terms, or amend documents having precedence), as follows:

         17.25.1 First, by giving precedence to the specific provisions of this Agreement.

         17.25.2 Second, by giving precedence to the specific provisions of the Exhibits attached hereto.

         17.25.3 Third, by giving precedence to the specific provisions of the eRFP.

        17.25.4 Fourth, by giving precedence to the specific provisions of the Contractor’s eRFP Response,
except that objections or amendments by a Contractor contained in Contractor’s eRFP Response that have
not been expressly accepted by State in writing shall not be included in this Agreement and shall be given
no weight or consideration.


State of Georgia/Dominion Confidential                                                                      38
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 41 of 113
Master Solution Purchase and Services Agreement



18.      DEFINITIONS AND INDEX OF PREVIOUSLY DEFINED TERMS.

This Section 18 provides definitions for capitalized terms used but not previously defined in this Agreement
and indexes capitalized terms used and previously defined in the Section in which they first appear as
indicated by bold type. The definitions in this Section apply to such capitalized terms in both their singular
and plural forms. This Section 18 does not apply to those terms capitalized only to comply with grammatical
conventions.

18.1     “Abandon” and “Abandonment” have the meanings set forth in Section 16.8.

18.2     “Acceptance Test” is defined in Section 9.

18.3     “Acceptance Test Plan” is defined in Section 9.

18.4     “Agreement” is defined in the Initial Paragraph of this Agreement.

18.5     “Applicable Law” means all applicable provisions of any constitution, statute, common law,
ordinance, code, rule, regulation, decision, order, decree, judgment, release, license, permit, stipulation or
other official pronouncement enacted or issued by any Governmental Authority or arbitrator or arbitration
panel.

18.6     “Application Programs” is defined in Section 2.1.1(ii).

18.7     “Authorized Recipients” means those employees, consultants or agents of the Receiving Party
to whom disclosure is required to carry out this Agreement and any Order hereunder and who have
executed a confidentiality agreement or are otherwise bound to duties of non-disclosure and restrictions on
use of the Confidential Information at least as restrictive as those set forth in this Agreement (including, but
not limited to an undertaking to implement and maintain appropriate administrative, technical and physical
safeguards to protect the confidentiality, integrity and availability of Regulated Information) but shall
expressly exclude such individuals or entities as may, at the election of the parties, be identified on a list
bearing the signatures of the parties and attached to and incorporated into this Agreement.

18.8     “Bankruptcy Code” is defined in Section 3.1.4.

18.9     “Breach Incident” is defined in Section 7.2.2(b).

18.10    “Change Control Form” is defined in Section 5.2.

18.11    “Change Order” is defined in Section 5.2.

18.12    “Change Request” is defined in Section 5.2.

18.13    “Change Response” is defined in Section 5.2.

18.14    “Confidential Information” is defined in Section 11.1.

18.15    “Configuration Services” means the services described in Section 4.1.

18.16    “Contractor” is defined in the initial paragraph of this Agreement.

18.17 “Contractor Affiliates” means those entities that are: (a) directly or indirectly, through one or more
intermediaries, controlled by Contractor, whether such control is effective by ownership of equity interests,
contract or otherwise; and (b) expressly identified by Contractor to State and State agrees to their inclusion
on Exhibit D.




State of Georgia/Dominion Confidential                                                                       39
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 42 of 113
Master Solution Purchase and Services Agreement



18.18    “Contractor Computer Systems” is defined in Section 11.7.1.

18.19 “Contractor’s eRFP Response” means Contractor’s submission in response to the eRFP
including all materials submitted in connection therewith and, for the avoidance of doubt, all responses to
the Mandatory Response Worksheet, questionnaires, and other attachments or links released with the
eRFP, a copy of which is attached hereto as Exhibit A.

18.20 “Contractor Licensed Programs” means those Licensed Programs identified on the applicable
Solution Order as being licensed by Contractor.

18.21    “Contractor Parties” is defined in Section 7.3.2.

18.22    “Contractor Personnel” is defined in Section 6.2.

18.23    “Contractor Products” is defined in Section 12.1.

18.24    “Contractor Relationship Manager” is defined in Section 6.1.

18.25    “Contractor Solution Partner” is defined in Section 1.3.

18.26    “Contractor System Proposal” is defined in Section 4.1.2.

18.27    “County” means the 159 counties of the State of Georgia.

18.28 “Crisis” means an extraordinary event affecting Contractor that requires emergency response
measures to be taken, including any event that may result in the Solution or Services and any additional
applications provided by Contractor to State becoming unavailable for a significant amount of time

18.29 “Critical Milestone” means those critical delivery and implementation milestones specifically
identified in Table A of Appendix A to Attachment 4 of Solution Order No. 1 (Milestones).

18.30    “Deliverables” is defined in Section 12.7.

18.31    “Delivery & Acceptance Notice” means a written notice substantially in the form of Exhibit I.

18.32 “Derivative Works & Improvements” has, collectively, the meaning ascribed to the term
“derivative work” in Title 17 U.S.C., and “improvement” in Title 35 U.S.C., but in all events shall apply to
additions, changes, or other statutorily specified new material appearing for the first time in the applicable
item or work hereunder.

18.33    “Designated Licensed Programs” is defined in Section 4.1.1.

18.34 “Disabling Procedures” means any program routine, device, code or instructions (including any
code or instructions provided by third parties) or other undisclosed feature, including a time bomb, virus,
software lock, drop-dead device, malicious logic, worm, Trojan horse, bug, error, defect or trap door, that
is capable of accessing, modifying, deleting, damaging, disabling, deactivating, interfering with, or
otherwise harming the Services and Deliverables, any hardware, data or other electronically stored
information, or computer programs or systems.

18.35    “Disaster Recovery Plan” is defined in Section 11.8.

18.36    “Disclosing Party” is defined in Section 11.1.

18.37    “Discounts” shall mean the discounts set forth in the Fee Schedule.




State of Georgia/Dominion Confidential                                                                     40
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 43 of 113
Master Solution Purchase and Services Agreement



18.38 “Documentation” means all written materials related to any Services or Deliverables (including
any component of any Solution) that are supplied by Contractor to State hereunder, including any and all
installer’s, operator’s and user’s manuals, training materials, guides, functional and/or technical
specifications, commentary, listings and other materials, (including all materials describing interoperability
with other hardware or software), in any or all media, for use in conjunction with the applicable Services or
Deliverables (including any component of any Solution), in all cases in sufficient form and content to allow
for first and frontline personnel comprehension thereof. If such Deliverables are discrete computer software
applications, Documentation shall include such reasonable descriptions as would allow a third party of
reasonable skill and experience in information technology to operate, maintain, customize and
parameterize such Deliverables and their related Source Code.

18.39    “Effective Date” is defined in the initial paragraph of this Agreement.

18.40    “Equipment” is defined in Section 2.1.1(iv).

18.41     “Equipment Charge” is defined in Section 10.1.8.

18.42    “Extended Warranty” is defined in Section 4.2.

18.43    “eRFP” is defined in Section 1.1.

18.44    “Fee Schedule” is defined in Section 10.1.

18.45 “Final Acceptance” means the receipt by Contractor of written notification from State that all
Services and Deliverables under a given Services Order have been reviewed and tested by State as a
whole and found to: (a) substantially conform to the Specifications and descriptions set forth in such
Services Order and any exhibits thereto, as such Specifications and descriptions may be specifically
amended by subsequent mutual written agreements between the parties; and (b) conform to Contractor's
representations and warranties in this Agreement.

18.46    “FM Events” is defined in Section 17.22.

18.47    “Functional Requirements” is defined in Section 4.1.1.

18.48    “Fund” is defined in Section 15.3.

18.49 “Generally Accepted Accounting Principles” means United States generally accepted
accounting principles.

18.50 “Governmental Authority” means any federal, state, local or foreign legislative, executive, judicial,
quasi-judicial or other public authority, agency, department, bureau, division, unit, court or other public body.

18.51    “Guaranteed Functionality” is defined in Section 1.2.

18.52    “Guaranteed Performance” is defined in Section 1.2.

18.53    “Impact Analysis” is defined in Section 5.3.

18.54     “Indemnified Parties” is defined in Section 15.1.

18.55 “Initial Acceptance” means the receipt by Contractor of written notification from State that any
particular Services or Deliverables under a given Services Order have been reviewed and/or tested by
State and found to: (i) substantially conform to the Specifications and descriptions set forth in such Services
Order and any exhibits thereto, as such Specifications and descriptions may be specifically amended by




State of Georgia/Dominion Confidential                                                                        41
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 44 of 113
Master Solution Purchase and Services Agreement



subsequent mutual written agreements between the parties and (ii) conform to Contractor's representations
and warranties in this Agreement.

18.56    “Initial Term” is defined in Section 16.1.

18.57    “Installation Deadline” is defined in Section 2.1.3.

18.58    “Installation Event” is defined in Section 2.1.3.

18.59    “Installation Plan” is defined in Section 2.1.3.

18.60 “Intellectual Property Rights” means all right, title and interest, including all copyright rights,
patent rights (including rights under all patent applications, patents, letters patent, supplementary patent
certificates, inventor’s certificates, continued prosecution applications, requests for continued examination,
and other similar filings or stages thereof) and trademark rights as well as all proprietary rights (including
Trade Secrets) and moral rights (including the rights of authorship and attribution and subsequent
modification) throughout the world whether under the laws of the United States, any of its several states or
any foreign jurisdiction and whether or not evidenced by certificates, applications or registrations therefor
and whether granted permanently, on initial issuance or granted upon reissue, re-examination, division,
extension, provisionally, in continuation or in continuation-in-part and at all times further including all
goodwill associated with all such rights.

18.61 “Interest Rate” means the lesser of eighteen percent (18%) or the maximum rate permitted by
Applicable Law.

18.62 “Interruption” means any material, or continuing, or repeated suspension or interruption in the
supply of the Solution or Services by or on behalf of Contractor to State, or any other material, or continuing,
or repeated failure of Contractor to meet its obligations under this Agreement in regard to the Solution or
Services, whether resulting from breach, termination, partial or complete cessation of business, disruption
of business, bankruptcy or other insolvency proceedings, or otherwise, or termination of this Agreement.

18.63    “Key Personnel” is defined in Section 6.5.

18.64 “Licensed Programs” means all operating system software and other software programs
(including all Contractor Licensed Programs and Third Party Licensed Programs) provided by Contractor
hereunder.

18.65    “Major Revisions” is defined in Section 2.3.

18.66    “Maintenance Services” is defined in Sections 2.1.1(v).

18.67    “Mandatory Requirements” is defined in Section 1.2.

18.68    “Milestone Payment” is defined in Section Error! Reference source not found..

18.69 “Milestone Deadline” means each of the dates listed in the “Milestone Deadline” column of the
tables set forth on Appendix A to Attachment 4 of Solution Order No. 1 (Milestones).

18.70    “Non-Infringement Warranty” is defined in Section 14.1.5(c).

18.71    “Operating Program” is defined in Section 2.1.1(iv).

18.72    “OSS” is defined in Section 12.9.

18.73    “Output” is defined in Section 12.1.



State of Georgia/Dominion Confidential                                                                       42
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 45 of 113
Master Solution Purchase and Services Agreement



18.74    “Performance Levels” is defined in Section 8.1.

18.75    “Performance Requirements” is defined in Section 4.1.1.

18.76 “Person” means any individual, corporation, limited liability company, partnership, limited
partnership, business trust, or other entity of any nature.

18.77 “Pilot Election” means the pilot election to be administered on November 5, 2019 in up to 6
Counties (exact Counties to be determined by mutual agreement), including the coding of election database
(and additional training needed in connection therewith), training of personnel including poll-workers of the
Counties hosting the Pilot Election, logic and accuracy testing at each of the participating State Sites,
election day support at the participating State Sites, and post-Pilot Election auditing and validation of
results.

18.78    “Privacy Regulations” is defined in Section 11.5.

18.79    “Project Manager” is defined in Section 6.4.

18.80 “Proprietary Materials” means: (a) all runtime and non-runtime machine-readable, executable
object code, human readable source code, in any language whatsoever (including HTML, CGI, XML, Java,
Visual Basic and C) and on any operating or database platform, system or environment whatsoever
(including Windows, Unix, Linux, DB2, J2EE, Oracle, SQL or any mainframe) as well as all computer
system designs, user interfaces, commented source code, explanations, flow charts, schematics,
algorithms, subroutine descriptions, class and object descriptions, memory and overlay maps, statements
of principles of operations, architecture standards, data flow descriptions, class, base-class and sub-class
descriptions, data structures, control logic and other computer formatting, programming or scripting code;
(b) all inventions and discoveries, whether or not patentable, reduced to practice or recorded in a medium;
(c) all published and unpublished works of authorship including audio-visual works, "look and feel," artwork,
illustrations, images, photographs and printed or graphic matter; (d) all tangible materials, including all
prototypes, models, designs, files, templates libraries (.dll or otherwise), tools, graphics, screen displays
and/or their other user interface components or “look and feel” (as that phrase is understood and applied
under Title 17 U.S.C.), creative content, algorithms, formulae data, information, reports and technologies;
(e) business and technical requirements and system designs and architectures in any form or medium.

18.81     “Receiving Party” is defined in Section 11.1.

18.82    “Regulated Information” is defined in Section 11.5.

18.83    “Regulation Compliant” is defined in Section 14.1.13.

18.84    “Renewal Period” is defined in Section 16.1.

18.85 “Residuals” means any information in intangible form that is not protectable under copyright or
patent law, or protected as a trade secret or other intellectual property right including any ideas, concepts,
know-how or techniques contained therein.

18.86    “Revision” is defined in Section 2.3.

18.87 "Security Breach" means (i) unauthorized physical or technical access to any Contractor
Computer System; (ii) any circumstance that may constitute or result in, any unlawful or unauthorized
acquisition, access, loss, theft, use or disclosure of any Confidential Information, Regulated Information,
or State Data in the possession of any of the Contractor Parties; (iii) any breach or attempted breach of the
security of any Confidential Information, Regulated Information, or State Data, or of any of the controls of
any of the Contractor Parties intended to protect the same; or (iv) any other circumstances or events that




State of Georgia/Dominion Confidential                                                                     43
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 46 of 113
Master Solution Purchase and Services Agreement



could compromise the privacy or security of any of the Confidential Information, Regulated Information, or
State Data in the possession of any of the Contractor Parties.

18.88 “Service Level Agreements” means the service levels to be maintained by Contractor throughout
the Term as more fully described in a Services Order or Services Order Attachment.

18.89    “Services” is defined in Section 2.1.1.

18.90 “Services Order” means a written instrument signed by an authorized signatory of a State Entity
and an authorized representative of Contractor substantially in the form of Exhibit C. Such Services Order
will include any requirements, considerations, or objectives which differ from the general provisions of this
Agreement and not otherwise address in a Solution Order; for example, the intent of the parties with respect
to any rights to particular developments (intellectual property), specific Milestone Events and/or Milestone
Dates and/or quality and warranty considerations, special fees, and all such other particular objectives,
considerations, or requirements in conjunction with the delivery of Services by Contractor. Except as
otherwise specifically provided in such Services Order, each Services Order shall be governed by the terms
of this Agreement.

18.91    “Services Order Attachment” is defined in Section 4.4.

18.92 “Site Specifications” means the reasonable environmental specifications as relate to utilities,
temperature, and humidity conditions, which Contractor suggests are maintained at the State Sites for
efficient operation and use of the Solution at those State Sites.

18.93    “Software” is defined in Section 2.1.1.

18.94    “Solution” is defined in Section 1.1.

18.95    “Solution Order” is defined in Section 2.1.1.

18.96 “Source Code” means a copy of the complete source code corresponding to the object code of a
given Deliverable, as applicable, plus any pertinent commentary or explanation (including any and all
explanations, flow charts, schematics, algorithms, subroutine descriptions, class and object descriptions,
memory and overlay maps, statements of principles of operations, architecture standards, data flow
descriptions, class, base-class and sub-class descriptions, data structures, and control logic) that may be
necessary to render such source code understandable and useable by a reasonably trained computer-
programming expert who is generally familiar with information technology systems in the financial and
banking sectors. The source code shall include all Documentation, statements of principles of operation,
and schematics, all as necessary or useful for the effective understanding and use of such source code.
Insofar as the development environment employed for the development, maintenance, and implementation
of any source code includes any device, programming, or Documentation not commercially available to
State on reasonable terms through readily known sources other than Contractor, the source code shall
include all such devices, programming, or Documentation. The foregoing reference to "development
environment" is intended to apply to any programs, including compilers, "workbenches," tools, and higher-
level (or "proprietary") languages, used by Contractor for the development, maintenance, and
implementation of the applicable source code.

18.97    “Special Programs” is defined in Section 2.1.1(ii).

18.98 “Specifications” means the technical and business requirements of State described in a given
Solution Order or Services Order, including all technical detail and design specifications, functionality
matrices, requirements definition, request for proposals, proposals, gap analysis, requirements for project
management, relevant project considerations, objectives, Milestone Events and/or Milestone Dates, and
Performance Levels set forth therein.




State of Georgia/Dominion Confidential                                                                    44
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 47 of 113
Master Solution Purchase and Services Agreement



18.99    “Specifications Warranty” is defined in Section 14.1.12(b).

18.100 “State” is defined in the initial paragraph of this Agreement.

18.101 “State Contractor” means any individual, corporation, limited liability company, partnership,
limited partnership, business trust or other business organization duly recognized under the laws of its
applicable jurisdiction that provides services to State or any other State Entity.

18.102 “State Data” is defined in Section 12.3.

18.103 “State Entity” means the State and the Counties.

18.104 “State Relationship Managers” is defined in Section 6.1.

18.105 “State Site” means the 159 locations of the State Entities at which the Solution is to be
implemented and such other locations as may be designated by State from time to time.

18.106 “Support Services” is defined in Section 2.1.1(iii).

18.107 “SVS” is defined in Section 1.1.

18.108 [Reserved].

18.109 “Term” is defined in Section 16.1.

18.110 “Termination Assistance” is defined in Section 16.6.

18.111 “Termination Assistance Period” is defined in Section 16.7.

18.112 “Third Party Licensed Programs” means those Licensed Programs identified on the applicable
Solution Order as being licensed by a Contractor Solution Partner.

18.113 “Third Party Materials” means all Proprietary Materials the Intellectual Property Rights for which
are owned, by an individual or entity other than State Entities) and Contractor (including Contractor
Affiliates).

18.114 “Trade Secrets” means any business, scientific or technical data, information, design, process,
procedure, formula, or improvement that is commercially valuable to either party and is not generally known
in the industry. Each party acknowledges that the Trade Secrets of the other party have been developed
by that party at great expense and with the considerable effort of skilled professionals. Each party also
acknowledges that the Services and Deliverables under this Agreement may of necessity incorporate Trade
Secrets.

18.115 “Training Services” is defined in Section 4.2.

18.116 “Transfer Control Laws” is defined in Section 7.3.2.

18.117 “Transition Plan” is defined in Section 16.6.

18.118 “Upgraded Solution” is defined in Section 2.3.

                   [This space intentionally left blank; signatures appear on following pages.]




State of Georgia/Dominion Confidential                                                                  45
          Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 48 of 113
Master Solution Purchase and Services Agreement



      IN WITNESS WHEREOF, the parties have caused this Master Solution Purchase and Services
Agreement to be executed by their duly authorized representatives as of the date first written above.

 STATE OF GEORGIA
 OFFICE OF THE SECRETARY OF STATE                    Dominion Voting Systems, Inc.


 By:                                                 By:

 Name:                                               Name: John Poulos

 Title:                                              Title:   President & CEO

 Date:                                               Date:    7/29/2019


 By:

 Name:

 Title:

 Date:




State of Georgia/Dominion Confidential                                                             46
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 49 of 113
Master Solution Purchase and Services Agreement



                                                   EXHIBIT A
                               To Master Solution Purchase and Services Agreement

                                         CONTRACTOR’S ERFP RESPONSE




State of Georgia/Dominion Confidential                                              47
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 50 of 113
Master Solution Purchase and Services Agreement




                                                  EXHIBIT B
                              To Master Solution Purchase and Services Agreement


                                                  SOLUTION ORDER

THIS SOLUTION ORDER is dated this _______ day of ____________, 20__ (“Solution Order Effective
Date”) and is subject to the terms of the Master Solution Purchase and Services Agreement (the
“Agreement”) dated as of _____________, 20109 by and between __________________________
(“State”) and _________________ (“Contractor”). Unless otherwise defined herein, all capitalized terms
used herein have the same meanings as is set forth in the Agreement, which is hereby incorporated by
reference. The undersigned State Entity hereby orders delivery for the following pieces of Solution from
Contractor. Contractor agrees to deliver the items ordered herein in accordance with the Agreement and in
compliance with all Applicable Laws including with the provisions of O.C.G.A. Title 21, as amended and the
State of Georgia Election Board and Secretary of State Rules contained in Sections 183 and Sections 590
of the Georgia Administrative Code respectively.

EQUIPMENT, SOFTWARE, DELIVERY DATES AND PURCHASE PRICE(S)

1.       Democracy Suite (EMS) Software description

         Democracy Suite is an Election Management System (EMS) that supports all ImageCast voting
         channels: early votes, vote by mail votes, Election Day votes from touchscreen ballot marking
         devices (ICX) and Scanner, and Uniformed and Overseas Citizens Absentee Voting Act
         (UOCAVA) votes, from a single comprehensive database.

         The structure of the election files, as well as the content of the iButton security keys, is bit-level
         sensitive with regards to accuracy and precision. This means that a single bit change can influence
         system behavior. The structure of these interfacing entities is dependent on the election domain
         business logic implemented within the system. Therefore, within the EMS EED application, election
         files and iButton security keys can only be created when the election project is in the “ballot
         generated” state.

         From an accuracy point of view, CRC checks are implemented. From a security point of view,
         election files utilize SHA256 (keyed hash HMAC) or digital certificates and AES encryption for data
         integrity and confidentiality. The figure below presents an overview of the EMS interfaces, focusing
         on the Democracy Suite internal and external entities.




State of Georgia/Dominion Confidential                                                                      48
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 51 of 113
Master Solution Purchase and Services Agreement




The Democracy Suite system includes the following Third Party Software:

EMS Standard Server Prerequisites
  • Microsoft Visual J#
  • Microsoft Visual C++ 2013 Redistributable Package
  • Microsoft Visual C++ 2013 Redistributable Package (64bit)
  • Microsoft Visual C++ 2015 Redistributable Package (32bit)
  • Microsoft Visual C++ 2015 Redistributable Package (64bit)
  • Java Runtime Environment
  • Microsoft SQL Server 2016 Standard -(Microsoft SQL Server Management Tools)
  • Cepstral Voices
  • Arial Narrow Fonts

EMS Client Workstation Prerequisites
  • Microsoft Visual J#
  • Microsoft Visual C++ 2013 Redistributable Package
  • Microsoft Visual C++ 2015 Redistributable Package 64bit
  • Java Runtime Environment
  • Maxim iButton Driver
  • Adobe Reader
  • Microsoft Access Database Engine
  • Open XML SDK 2.0 for Microsoft Office
  • Arial Narrow Fonts



State of Georgia/Dominion Confidential                                            49
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 52 of 113
Master Solution Purchase and Services Agreement




Adjudication Workstation Prerequisites
    • Dell Latitude T3420 Laptop
    • Microsoft Visual J#
    • Microsoft Visual C++ 2013 Redistributable Package
    • Microsoft Visual C++ 2015 Redistributable Package 64bit
    • Java Runtime Environment
    • Adobe Reader




State of Georgia/Dominion Confidential                                       50
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 53 of 113
Master Solution Purchase and Services Agreement




         The Democracy Suite EMS consists of the following Dominion Software modules:

         1.1       Election Event Designer (EED). EED application is used for the definition and management
                   of election event. EED contains all ballot content utilized to define election projects. Each
                   election project is represented as an instance of the election domain database with
                   associated set of election project file. The definition of the election project can be initiated
                   by importing the election data through the Election Data Translator (EDT) module from
                   external systems that contain the necessary relational data to build a ballot or by defining
                   election project entities without importing external data. It is important to note that an
                   election project initiated through EDT can be further modified within the EED Client
                   Application. The EED module can generate two types of paper ballots:
                       Proofing ballots – ballots produced to allow election project stakeholders to proof ballot
                        content and styling. These ballots cannot be processed by the ImageCast as they don’t
                        have proper ballot barcodes. These ballots are overprinted with the text “Proofing
                        Ballots – date/time”.
                       Official ballots – represent production ready, press ready ballots in PDF format with
                        barcodes and without any overprinting.




State of Georgia/Dominion Confidential                                                                          51
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 54 of 113
Master Solution Purchase and Services Agreement



         1.2       Results Tally and Reporting (RTR). RTR application is used for the tally, reporting and
                   publishing of election results. For the RTR module, inputs represent encrypted and signed
                   election result files, log files and scanned ballot images with Dominion’s patented
                   AuditMark, produced by the ImageCast Precinct and Central tabulators (PNG and TIFF
                   images). Outputs represent a variety of election result reports, as well as auditing
                   information (XML, HTML, CSV, MS Excel and PDF formats).

                   The program uploads the result files into the results tally module, and consolidated results
                   are verified, tabulated, and published. Once the vote data is uploaded into the result tally
                   module, the flow of results to the public and media can be controlled.

                   RTR allows election officials to review the results before releasing them, and the system
                   provides a number of reporting methods, including but not limited to summary and precinct-
                   level (Statement of Votes Cast) result reports. In addition to the static, pre-defined reports
                   found in most reporting systems, RTR summary and precinct-level reports use the
                   Microsoft SQL Server reporting services engine to offer maximum flexibility to user. These
                   reports feature a variety of configurable options and filters, including detailed breakdowns
                   of provisional ballots cast, ballots cast during early voting, on Election Day, and by mail.

         1.3       Adjudication. The adjudication module is used to review and adjudicate ImageCast ballot
                   images. The application uses tabulator results files and scanned images to allow election
                   administrators to electronically adjudicate ballots requiring review based on exception
                   criteria. Exceptions include overvotes, undervotes, blank contests, blank ballots, write-in
                   selections, and marginal marks. After a ballot is adjudicated, the ballot image is
                   appended with a record of that decision including the user’s name, action taken by the
                   user, and date and time of the action. This adjudication AuditMark is appended to the
                   ballot image under the original AuditMark, which was manifested during tabulation.

         1.4       Audio Studio (AS). Audio studio uses Cepstral, a third-party text-to-audio synthesizer, to
                   automatically generate audio ballots for the ImageCast X Ballot Marking Device. The
                   State also has the option to import human-recorded audio, with or without the use of
                   Audio Studio. Pronunciation may be modified using the Cepstral's Swifttalker application.
                   The system outputs audio ballots (PNG images, SPX audio files and XML definition files),
                   definition reports (XML, Excel or HTML files), and election definition files required to
                   program the ImageCast X.

         1.5       Automated Test Deck (ATD). ATD is an application used to create test decks for running
                   Pre-Logic and Accuracy Test with marking pattern requirements. The application can be
                   used to access the election database and produce a set of print-ready PDFs and results
                   tables for testing.


2.       EMS Hardware description, including third-party software components.1


             Description
             EMS STANDARD SERVER
             DELL POWEREDGE R640 RACK SERVER - 16GB RAM, 6 X 1.2TB HDD,
             WINDOWS SERVER 2012 R2, MICROSOFT SQL SERVER 2016 STANDARD
             SQL SERVER 2016 LICENSE W/5 CALs
             VOICE SYNTHESIS SOFTWARE LICENSE, ALLISON - ENG - CEPSTRAL 6.2

1All equipment is subject to change dependent upon product availability. An equivalent model, certified by the State
of Georgia, may replace products that are end of life.



State of Georgia/Dominion Confidential                                                                             52
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 55 of 113
Master Solution Purchase and Services Agreement




             Description
             VOICE SYNTHESIS SOFTWARE LICENSE, ALEJANDRA SPA - CEPSTRAL 6.2
             VOICE SYNTHESIS SOFTWARE LICENSE - SAVE TO FILE FOR WINDOWS
             VOICE SYNTHESIS SOFTWARE LICENSE - AUDIO DISTRIBUTION LICENSE
             VOICE SYNTHESIS SOFTWARE LICENSE - CONCURRENT PORT FOR
             WINDOWS
             ANTI-VIRUS - AVAST! ENDPOINT PROTECTION SUITE, 5-PACK LICENSE
             POWERCONNECT X1026 24 PORT ETHERNET SWITCH
             SERVER UPS: UPS 1500VA - 2U
             SERVER RACK: 12U
             24” SWIVEL CAPABLE MONTIOR
             VGA CABLE – MALE TO MALE, 6 FT
             PATCH CABLE, CAT6, 25 FT., BLUE
             EMS EXPRESS SERVER
             DELL PRECISION T3420/3430 WORKSTATION - 16GB RAM, 2X 500GB HDD, RAID 1,
             WIN 10 PRO, KB & MOUSE
             8 PORT SWITCH X1008
             24” SWIVEL CAPABLE MONITOR
             IBUTTON PROGRAMMER KIT
             COMPACT FLASH CARD READER - KINGSTON
             VOICE SYNTHESIS SOFTWARE LICENSE, ALLISON - ENG - CEPSTRAL 6.2
             VOICE SYNTHESIS SOFTWARE LICENSE, ALEJANDRA SPA - CEPSTRAL 6.2
             VOICE SYNTHESIS SOFTWARE LICENSE - SAVE TO FILE FOR WINDOWS
             VOICE SYNTHESIS SOFTWARE LICENSE - AUDIO DISTRIBUTION LICENSE
             VOICE SYNTHESIS SOFTWARE LICENSE - CONCURRENT PORT FOR
             WINDOWS
             EED/RTR/ADJ - CLIENT
             DELL PRECISION T3420/3430 (INTEL I5-6500, 8GB RAM, 500GB HDD, W10X64PRO)
             W/24" MONITOR, KB & MOUSE
             SINGLE IBUTTON PROGRAMMER WITH USB ADAPTER, IBRW-100A
             USB TO 1-WIRE/IBUTTON ADAPTER
             PATCH CABLE, CAT6, 25 FT. , BLUE

             SMART CARD READER / WRITER

             COMPACT FLASH CARD READER - KINGSTON

             SQL 2016 USER USER CALs




State of Georgia/Dominion Confidential                                                  53
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 56 of 113
Master Solution Purchase and Services Agreement




3.       ImageCast X -Prime Touchscreen Ballot Marking Device (ICX-BMD)

         3.1       Application: ImageCast X-Prime BMD is a touchscreen in-person voting device and
                   ballot marking device. Voting sessions are initiated on the tablet by either a smart card or
                   the entry of a numeric code based on activation. The ballot is loaded directly onto the
                   standalone device. All voting activity is performed at the tablet, including accessible
                   voting. Accessible voting interfaces connect to the tablet via an Audio Tactile Interface or
                   ATI. For all modes of voting, after the voter reviews the ballot selections, a paper ballot is
                   created for the voter from a printer in the voting booth. The printed ballot contains a
                   written summary of the voter’s choices, as well as a 2D barcode which is read by
                   Dominion’s ImageCast Precinct or Central tabulator. No votes are stored on the
                   ImageCast X-BMD unit. All votes can be tabulated and stored both the ImageCast
                   Central and Precinct Tabulators.

         3.2       Components: ImageCast X-Prime BMD is composed of a 21.5” Avalue touchscreen,
                   Android OS 5.1, DC 19V input, HP LaserJet Pro M402dne laser printer.

         3.3       Additional included items: Three (3) ICX smartcards (to be used for activation, pollworker
                   or technician), battery, 6’ cable and 8GB flash drive.

4.       ImageCast Precinct Tabulator (ICP)

         ImageCast Precinct Scanner and Tabulator is an optical scan ballot tabulator used to scan marked
         paper ballots, interpret voter marks on the paper ballot, communicate these interpretations back to
         the voter and upon voter acceptance, deposits the ballot in the ballot box. The ImageCast consists
         of the following:

          4.1.     Two (2) optical imaging scanners for creating a duplex scanned image of each side of the
                   ballot. Ballots can be fed in all four (4) orientations.
          4.2.     Linux Operating System.
          4.3.     Two memory cards ports for storage capabilities. Two (2) 8GB memory cards are provided
                   and located behind two securable doors (Administrator Door and Pollworker Door).
          4.4.     An integrated interactive electronic display in the form of an ultra-high contrast graphical
                   color 5.7” LCD screen, and a built-in touch screen for administration purposes.
          4.5.     An internal 3” thermal printer and one (1) 3” paper roll for generating reports.
          4.6.     Two (2) administrative security key (iButton) used with an integrated receptacle (physically
                   attached to the top of the unit and electrically connected to the motherboard) used for a
                   variety of verification and security tasks such control, data confidentiality and integrity
                   functions.
          4.7.     A motorized paper feed mechanism for detecting and moving the ballot within the
                   scanner. Ballots used with the ImageCast must be 8.5” wide by a variable length (11", 14",
                   17" and 22"). The paper feed mechanism is physically capable of moving the ballot forward
                   into the machine, across image sensors, enabling complete image capture of both sides of
                   the ballot.
          4.8.     Power supply module uses 120 Vac, 60 Hz, one phase power. It has a power consumption
                   of 0.07 Amps at 120 Volts AC.
          4.9.     An internal battery which is rated to provide two-and-a-half (2.5) hours of normal use in the
                   absence of AC power. In addition to internal 2.5 hours battery an internal 6 hours battery
                   option is also available. There is also a connection for an external 12VDC SLA battery.



State of Georgia/Dominion Confidential                                                                        54
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 57 of 113
Master Solution Purchase and Services Agreement



          4.10.    Patented functionality known as the AuditMark. For each ballot scanned and accepted into
                   the unit, a corresponding ballot image is created and stored for audit purposes. The image
                   consists of two parts described below.
                       The top portion of the image contains a scanned image of the ballot.
                       The bottom portion consists of a machine-generated text showing each mark that the
                        unit interpreted for that particular ballot. This is referred to as the AuditMark.

5.       ImageCast Central Scanner (ICC)

         The ImageCast Central Scanner consists of a commercial off-the-shelf digital scanners configured
         to work with the ImageCast Central Software for high speed ballot tabulation. Each ImageCast
         Central Scanner includes the following components:

         5.1.      Canon DR-G1130 high speed document scanner
         5.2.      ImageCast Central Software including third party Twain software
         5.3.      DELL 7450 Computer 24" Touchscreen DELL Optiplex AIO 3050 Touchscreen
         5.4.      iButton Security Key
         5.5.      iButton Programmer and iButton Key Switch & Cat5 RJ 45 Cables used with Democracy
                   Suite to transfer security and election information to the iButtons for use with the ICC.
         5.6.      Patented functionality known as the AuditMark. For each ballot scanned and accepted into
                   the unit, a corresponding ballot image is created and stored for audit purposes. The image
                   consists of two parts described below.
                       The top portion of the image contains a scanned image of the ballot.
                       The bottom portion consists of a machine-generated text showing each mark that the
                        unit interpreted for that particular ballot, known as the AuditMark.

6.       ImageCast Molded Plastic Ballot Box

         A textured molded plastic ballot box per ImageCast Precinct unit. The ballot box is made of a three
         (3) compartments, custom designed for use with the ImageCast Precinct.

7.       Voting Supply Carriers. Design and manufacture mobile Voting Supply Carrier that will store,
         secure and transport voting equipment and will act as a mobile vote center.

8.       System Security Description

         Dominion implements security protocols that meet or exceed EAC VVSG 2005 requirements. All
         of Dominion’s security protocols are designed and implemented to stay current with the rapidly
         evolving EAC security requirements set forth by various iterations of the VVSG. Dominion’s
         security technology is unprecedented insofar as it takes into account every aspect and every
         component of the Democracy Suite platform. This includes – but is not limited to – the full
         encryption of election projects, iButton security keys, memory cards, election data, software
         applications, and elections results files. In addition, Dominion developed a custom ballot
         authentication system built around an secure ballot paper stock and in-tabulator authenticators.

         Democracy Suite integrates a role-based access control system for all software and hardware
         components. Each user accessing the system is the member of one of the predefined or custom-
         made roles. Each role has its own set of permissions, or actions that users of that role are
         allowed to perform. This access control approach provides authentication and authorization
         services and can be granular according to the jurisdiction’s needs and organization. Complete




State of Georgia/Dominion Confidential                                                                    55
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 58 of 113
Master Solution Purchase and Services Agreement



         user and role membership management is integrated within the Democracy Suite EMS Election
         Event Designer client module.

         The Democracy Suite EMS platform implements role-based user management for provisioning
         access control mechanisms on each election project. Managing access control policies is
         integrated within the User Management activity of the EMS EED module. This activity is permitted
         only for users with administrative privileges.

         Democracy Suite utilizes hardware- based security tokens (iButton security keys) in the process
         of access control for ImageCast Precinct tabulators. These password paired hardware tokens
         contain data encryption information used in the voting process (encryption and signing keys).
         Without a valid security token, and paired access password, the administrative functions of
         election tabulators are effectively locked.

         All of these activities and controls, and more described below in response to specific section
         requirements, are integrated within the Democracy Suite platform. Dominion utilizes
         authentication and authorization protocols that meet EAC VVSG 2005 standards. In addition,
         Dominion’s solution relies on industry-standard security features to ensure that the correct users
         based on a user role or group are granted the correct privileges.

         8.1       Password configurations

                   Proper password management relies on multiple activities and controls, namely:
                    Input data validation
                    Data quality
                    Utilization of one-way (hash) cryptography
                    Computer generated passwords for greater entropy and protection from dictionary
                      attacks
                    Different password strength profiles for different user levels
                    Utilization of hardware tokens for storing user credentials (two-level authentication
                      security: something you know and something you have)
                    User state machine (initial, active, inactive)

                   The system does not enforce aging or complexity, but Dominion recommends
                   establishing best practices that meet State’s requirements.

          8.2      Authentication configuration

                   To protect any modification of software by malicious users, the Democracy Suite Election
                   Management System integrates the Microsoft .NET Framework code signing process,
                   within which, Dominion digitally signs every executable and library (DLL) during the
                   software build procedure. After the installation of Election Management software, only
                   successfully verified EMS software components will be available for use. Digital signature
                   verification is performed by the .NET Framework runtime binaries. If a malicious user
                   tries to replace or modify any EMS executables or library files, the digital signature
                   verification will fail and the user will not be able to start the EMS application.

          8.3      Encryption configurations for both data at rest and data in motion

                   Data generated by the Democracy Suite platform is protected by the deployment of FIPS-
                   approved symmetric AES and asymmetric RSA encryption. The Democracy Suite
                   Election Management System uses these techniques to encrypt election files prior to their
                   use on ImageCast tabulators. Once the polls have been closed, the ImageCast tabulators
                   encrypt all of the results files prior to transmitting them back to EMS.




State of Georgia/Dominion Confidential                                                                       56
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 59 of 113
Master Solution Purchase and Services Agreement



                   SHA-256 hashes are used for all data integrity and verification. Should an intrusive
                   process or altering of any file occur, hash values will be, in turn, altered as well. Any
                   presence of an intrusive process will be detected, as the hashes of any altered data will
                   not match the value initially determined.

                   For communication channels (as well as data storage) a combination of security
                   techniques for data integrity, authenticity and confidentiality is implemented. Democracy
                   Suite integrates AES or RSA encryption algorithms for data confidentiality, along with
                   SHA-256 and HMAC digital signatures for data signing (data authenticity and integrity).




                 File Type to Security Algorithmic Mappings

          8.4      Logging/Auditing capabilities

                   From the initial state of the election project, until the deactivation state, the EMS system
                   maintains an activity log within the EMS Database. This activity log contains every action
                   that any of the users have performed within the system and represents a detailed audit
                   log that can be analyzed and printed in the form of an audit report. The audit record
                   information cannot be modified or permanently deleted using the EMS client applications.
                   It can, however, be exported for archiving purposes as part of the record retention policy.
                   During the voting, ImageCast devices keep an activity audit log which tracks events
                   happening on the device itself. Logs are exportable in text format.

           8.9     Secure Development Process

                   All software programs satisfy recommended coding standards, as well as code styling
                   guidelines as required by EAC VVSG standards. Automated code review processes are
                   in place, that verifies compliance with industry accepted coding standards for
                   programming languages used. In addition, proper system and software hardening
                   procedures are clearly defined and regularly tested. Data integrity and confidentiality is
                   also implemented according to NIST defined and FIPS validate procedures and
                   algorithms.




State of Georgia/Dominion Confidential                                                                         57
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 60 of 113
Master Solution Purchase and Services Agreement




9.       KNOWiNK Electronic Pollbook

         The KNOWiNK Poll Pad solution provides a seamless electronic voter check-in and verification
         process for election authorities across North America. Poll Pad is a secure Apple iPad application
         requiring no appendages for operation.

                  Process voters in approximately 30 to 45 seconds; mitigate long lines with fast and
                   secure voter look-up.

                  Built-in election management and reporting tools; elections can be finalized and
                   submitted within hours of election close.

                  Customizable workflow presents required steps according to each jurisdiction’s
                   requirements and preferences.

                  Improved accuracy and reduced preparation time and storage requirements with the
                   elimination of paper logs.

                  Poll workers or voters cannot leave the application without a password, preventing user
                   error, a line slow-down, or creating a potential security issue.

         The Poll Pad components include the following:

                  iPad tablet - The iPad has a touchscreen/keyboard and a shockproof clear case. The
                   iPad has a battery life of approx. 10 hours. Make: Apple | Model: MP2FLL/A

                  Encoder/iOS Reader - The Mfi certified lightning port contact card reader connects
                   securely to the iPad lightning port and include a micro USB cable. Make: FEITAN
                   Technologies | Model: iR301

                  iSync Drive - KNOWiNK’s secure proprietary removable memory device, the iSync flash
                   drives. Make: KNOWiNK | Model: iSD-110

                  Stand for iPad - The iPad stand is durable and user friendly. Make: AI Data | Model: i360

                  Scanning tray - KNOWINK’S patented scanning trade scans barcodes on voter ID cards
                   or state identification cards. Make: KNOWiNK | Model: ISP103b-KN2-1

                  Styluses - Poll workers and voters may use the styluses or their finger for the iPad’s
                   capacitive touch screen. Make: AI Daata | Model: ISP-1010-KNO

                  Carrying case - Shockproof weatherproof foam-fitted case. Make: Nanuk | Model: 910



10.      Implementation Services

10.1     Implementation Phase Periods

The implementation period will consist of a sixteen-month implementation; Phase One includes a pilot of 6
counties and the GA Secretary of State office for the November 2019 General elections. Phase Two
includes the 2020 Presidential Preference Primary and all Primary, General, Runoff and Special elections
for all 159 counties in Georgia as well as the state in the 2020 Election cycle.



State of Georgia/Dominion Confidential                                                                       58
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 61 of 113
Master Solution Purchase and Services Agreement



10.2     Implementation Plan and Schedule

Dominion’s Project Manager and the State’s Project Manager shall provide an Implementation Plan
specifying the details for all tasks necessary to successfully complete the project, working cooperatively to
set hard and soft deadlines. Each task identified will include a start and end date and the responsible
parties involved. The Implementation Plan will include, but will not be limited to, a detailed Implementation
Project Plan, which includes product delivery with implementation, delivery and training dates; Acceptance
Testing Plan; System Readiness Plan; a Training Plan specifying training dates and curriculum to parties
requiring training; as well as a Communication Plan. Please see a draft Project Plan attached hereto.

The draft Project Plan developed for this Agreement represents the sample based upon discussions with
the State. Upon execution of the Agreement, the Parties shall finalize the project plan including the training
and delivery schedule. The Parties agree that during the course of the implementation, changes to the
project schedule may be required. Any changes to the project schedule must be mutually agreed to by
both Parties and such agreement shall not be unreasonably withheld.

10.3     Project Team

Dominion’s project team includes key experienced staff, with extensive expertise in system implementation,
project management and customer service obtained through years of dedicated work for our customers.
The personnel selected for the State of Georgia’s implementation are among Dominion’s most experienced
team members, ensuring that Georgia has the best people to meet their needs and requirements. The team
will receive executive oversight from the Executive Vice President of Sales and Executive Vice President
of Operations throughout the project.

         Project Manager. The Dominion Project Manager will be appointed and dedicated entirely to this
         project and will be on-site, full-time (consistent to the departments work hours) and available
         commencing shortly after the contract is signed through completion of the first year. Dominion’s
         Project Manager will be responsible for arranging all meetings, visits and consultations between
         the Parties and for all administrative matters such as invoicing, payments and amendments. The
         Dominion Project Manager shall have the requisite skills and experience to provide the services
         required for the implementation including without limitation: elections support, project management,
         excellent verbal and written communications skills, strong organizational skills to include multi-
         tasking and time management skills, and ability to manage detail-oriented projects with fixed
         deadlines. Dominion shall make commercially reasonable efforts to provide a Project Manager
         familiar with the election operations, and the election rules and regulations of Georgia.

         The Dominion Project Manager shall communicate with the State as to the status of information,
         milestones, procedures and progress on the tasks as set out in this Agreement and to advise the
         State forthwith upon the occurrence of any event requiring a material change in such plans, and
         request Customer’s written consent to any such material change. In addition, the following Project
         management resources will be dedicated on an as need basis through the 2020 general election.

         After the 2020 general election, Project Management will continue through the remainder of the
         Agreement. After the completion of the implementation, a Customer Relations Manager will work
         directly with the State (both on and off site), but will have other responsibilities outside of the
         Agreement. In addition, account management and technical phone support shall be available
         through the contract Term at no additional costs.

         Product Specialist.      Dominion Voting shall provide technical support throughout the
         implementation. This resource is responsible for the installation, operation, repair, and
         maintenance of all Dominion Voting Systems hardware and software, scheduling and supervising
         resources for all hardware and software related matters. The Product Specialist will provide
         election support services and customer training, and interfacing directly with customers, co-workers
         and election officials.




State of Georgia/Dominion Confidential                                                                     59
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 62 of 113
Master Solution Purchase and Services Agreement



         System Technical Manager. Shall work with the State’s elections staff, as well the State’s IT staff,
         to install the certified EMS and adjudication system hardware. As part of this role, the systems
         configuration manager will evaluate the current environment at the County and provide
         recommendations for any changes required for configuration.

         Training and Documentation Manager. Will coordinate with Dominion and County project
         managers to develop and customize all training documentation and supervise all training related
         activity.

         Election Programmers. Responsible for all aspects of election event definition, including without
         limitation to following components: Importing of data files into the EMS system, defining election
         project parameters and assigning templates, assigning tabulators (ICC, tablet, mobile ballot
         printing), defining ballot structures, creating proofing ballot, creating official ballots, and creating
         election files and the security keys for the ImageCast®.

         Ballot Printer Certification Manager. Shall conduct activities required to qualify the County certified
         printer as described in [section six] of this Agreement.

         Other. Additional Acceptance and Readiness Testing, Pre-Logic and Accuracy, Election Day rover
         personnel, and Post-Election activity (recount and canvass).


10.4     System Transition Review

This meeting is a key meeting with the objective of: reviewing the project plan; confirming major milestones,
key dates and deliverables; and developing the Implementation Plan.

Discussion items will include: Confirming ImageCast quantities, ImageCast delivery plan and schedule,
consumables, election programming, ballot definition and required resources. Demonstration of the
ImageCast units, training, testing, simulation services and managed election services are also discussed
for a successful delivery.

Gap Analysis - After an initial gap analysis, a simulation event further uncovers implementation,
deployment, usability, and customization requirements. All of these details are funneled into Dominion’s
implementation process, which includes (as realistically as possible) the customer in scheduled
development iterations.

In order to ensure that the system meets the State of Georgia’s business and technical requirements,
Dominion will work closely with State elections staff to identify, prioritize and enable the roll-out of these
requirements through each phase of the implementation.

At the end of each stage, a report will be created to summarize the shared understanding of the
requirements, and the State will have a chance to provide feedback and formal sign-off as acceptance.

10.5     System Installation and Configuration

Dominion’s Project Manager will manage the shipment process through an authorized shipper to ensure
delivery is successful. The State’s staff is also responsible for the removal of all legacy equipment.
Dominion’s Project Manager will require a written confirmation ensuring that all packages were delivered
successfully.

10.6     Acceptance Testing

Dominion shall provide an Acceptance Test Plan (ATP). The ATP shall identify all tests necessary to
demonstrate compliance with the requirements of the State of Georgia. Dominion shall be responsible for




State of Georgia/Dominion Confidential                                                                        60
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 63 of 113
Master Solution Purchase and Services Agreement



providing all training and training materials required to support the acceptance testing. Dominion and the
State shall finalize the development of the test plan and procedures prior to the acceptance-testing phase.

A Dominion hardware technician will provide guidelines to the team responsible for the State warehouse
for inbound acceptance testing. This includes assessing suitability and identifying any modifications
required, identifying areas for each process including a secure area for inventory control, preparing
necessary acceptance documentation, and ensuring all necessary supplies are available for work.

A checklist template will be provided to the State for printing and distribution during the acceptance test
process. For each piece of ballot marking equipment, State staff, under the supervision of a Dominion
technician, will complete the acceptance test for each unit received. Each form will be signed and stored
by the State with copies made or scanned for Dominion in order to ensure that each component is in proper
working order upon receipt and unpacking.

10.7     Printer Certification

Ballot qualification is an educational and testing process designed to assist ballot printers on how to properly
print ImageCast ballots and maintain an ongoing level of quality assurance needed to ensure the ballots
they provide their customers will tabulate correctly. ImageCast printing qualification is also meant to be an
ongoing support vehicle providing qualified printers with an ongoing resource to continually assist printers
if questions were to arise. The printer certification process consists of 5 stages: Administrative; Discovery;
Training; Testing; and Qualification.

10.8     Election Setup

Election Definition

Dominion’s Democracy Suite Election Management System shall have the capability of importing election
data from the State of Georgia’s current database to generate ballot layout used to conduct an election.
Dominion shall provide election definition services for the 2019 pilot and 2020 elections. In the event the
State requests additional election definition services from Dominion, Dominion shall provide those services
according to the prices identified in the pricing Schedule.

The State shall review and approve or identify issues to all Dominion deliverables related, with particular
attention to ballot proofs and audio files, to such service within two (2) business days of discovery of an
issue by the State. In the event the State discovers an issue, it shall provide written notice to Dominion
following the discovery of any issue and Dominion shall rectify the issue at no additional cost to the State.
In the event the State approves the final ballot proofs and audio files and subsequent to such approval,
requests that a change be made to the deliverable, the Dominion may provide the change according to the
service pricing identified in pricing schedule.

Ballot Layout

Dominion’s Ballot Layout/Generation System supports both English and Spanish both in written and audio
format; and, have the ability to add new languages. Dominion’s System has the ability to import data in all
languages via direct importation to appropriate files or cut and paste. The State will be able to edit all ballot
layout files in all languages.

Dominion’s System creates all ballots, (precinct, vote center, absentee, and audio) from a single Election
Management System. Dominion’s Ballot Layout/Generation System has audio capability utilizing human
voice recordings as well as voice simulation program.

Dominion’s Democracy Suite election management system can support a single input of customer profile
data such as voting locations, precincts, political subdivisions, offices, parties and machines; and use this
data to simultaneously manage multiple elections by multiple users.




State of Georgia/Dominion Confidential                                                                        61
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 64 of 113
Master Solution Purchase and Services Agreement



Dominion shall work with the State and the certified printer used by the State and Counties to create a
simple method of transferring ballot information to the printer for production.

Dominion will work with the State to develop the appropriate workflow to import the candidate/contest
information directly from the State of Georgia’s current Election Information Management System and
create the absentee ballot, BMD ballot, and sample ballot from the same imported file.

Logic and Accuracy Test

On completion of election definition and ballot layout, the ballots are generated. Ballot proofs and electronic
ballot image files are generated and provided to the State. The State and Counties carefully reviews each
ballot. When the State is satisfied that the ballots are correct, they initial each ballot, and when they are
satisfied that all ballots, audio and reports are correct, they sign-off on their accuracy, and the image files
are provided to the printer.

Ballot printing and distribution are the responsibility of the certified printer and the State/Counties. Dominion
will provide a recommended ballot inspection process that should be followed to ensure that all ballots
produced are of sufficient quality. The receipt of test ballots from the certified ballot printer is the milestone
that triggers the beginning of Pre-Election Logic and Accuracy Testing ("Pre-LAT"), a simulation of the
voting process under which the System will operate.

Election files are transferred from the EMS to memory cards which are created for each ICX ballot marking
device, ICP tabulator and the ICC system. The State is responsible for delivering the election files to the
Counties. The State, Counties, or Dominion will then load the election files onto the units. After loading the
election files onto the units, Pre-LAT must be performed on all System components before deployment.

With a paper-based tabulation system, Pre-LAT is performed on the ImageCast X, ImageCast Precinct and
ImageCast Central tabulators though the use of ballot test decks, rather than simulation scripts. Generally,
the Pre-LAT procedure involves programming all voting machines with the final election definition and
scanning hand-marked or pre-marked (computer generated) test decks through each tabulator. This
provides verification of both the quality of the printed ballots as well as the correctness of each tabulator’s
programming. After test decks have been scanned and the results report tapes have been verified, test
results may be uploaded directly to the EMS Server using EMS Results Tally and Reporting. This result
transfer test verifies that all parameters for each tabulator have been correctly configured.

10.9     Election Support

The Dominion project team will develop a customized support plan to meet the needs of the GASOS and
counties for the November 2019 Pilot elections through the 2020 election cycle. This plan will include
technical support for GASOS and counties on election night including the day before to the day after the
election. This support plan defines the number of Dominion staff required in the field on election day as
well. Dominion’s on-site support resources have the necessary skills to assist the State to ensure the
polling location opens in a timely fashion and that the equipment functions properly. In addition, a key role
for the on-site support resource is to assist the State and counties with polling place closing, tabulation and
results reporting. Dominion’s active voting support strategy will be customized to meet the State’s and
counties specific needs.

10.10    Post-Election

Canvass - Dominion will assist the State/Counties in creating procedures for the conduct of the canvass
and any necessary recounts. The system shall provide canvass reports including, but not limited to Interim,
Semi-Final Official, Final Official, and the Statement of Vote reports. Dominion will be available to assist
the State’s or County’s staff in the conduct of the canvass and for any recounts through the 2019 – 2020
Election Cycle. Dominion shall provide sample procedures and recommendations for the canvass process.




State of Georgia/Dominion Confidential                                                                         62
          Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 65 of 113
Master Solution Purchase and Services Agreement



Recount - The system must be able to provide for a manual recount process that would utilize either the
physical ballot or ballot image with AuditMark, Cast Vote Record and EMS SOV reports. Dominion will
assist the State/County in creating procedures for a recount.

                                         ATTACHMENT 1 TO SOLUTION ORDER

                                            Installation Site Specifications


ICX

For best lifetime, follow the storage recommendations described below for the ImageCast X:

      •     Operating Temperature min/max: 0ºC~40ºC
      •     Storage Temperature min/max: -20ºC~60ºC
      •     Operating and/Storage Conditions (Relative Humidity): From 0%~90% RH non-condensing
      •     Pack the ImageCast X tablet into its provided packaging box with foam inserts to provide
            vibration and impact protection.

The ImageCast X units should not be stacked on top of one another for storage unless they are in their
respective carrying cases or packaging boxes (Maximum Stack = 5 Boxes High).

Standard power / electrical outlets.

ICC

For optimal product of the ImageCast Central, storage limitations should adhere to the following
specifications:

      •     Storage Temperature min/max: -40ºC~65ºC
      •     Operating and/Storage Conditions (Relative Humidity): From 20%~80% (non-condensing)
      •     Place the CPU and Scanner in packaging boxes with foam inserts to provide vibration and
            impact protection
      •     Store the packaged CPU and Scanner boxes under conditions specified
      •     Store the CPU and Scanner boxes in a dust-free, clean environment
      •     The CPU and scanner units should not be stacked on top of one another for storage unless
            they are in their respective carrying cases or packaging boxes (Suggested Maximum Stack = 5
            boxes high for CPU and 4 boxes high for the G1130 scanner)

Standard power / electrical outlets.

ICP

For optimal ImageCast Precinct product life, storage limitations should adhere to the following
specifications:

      •     Storage Temperature min/max: From -25°C - 60°C
      •     Operating and/Storage Conditions (Relative Humidity): From 20% - 80% RH non-condensing
      •     Place the tabulator inside the re-sealable bag into the provided packaging box with foam inserts
            to provide vibration and impact protection.
      •     Store the packaged tabulator box under conditions specified.
      •     Alternatively, leave the tabulator on the ballot box but place the ballot box dust cover over it to
            keep it free from environmental elements.
      •     Store the tabulator (and ballot box, if applicable) in a dust-free, clean environment.
      •     Perform periodic charging of the back-up battery module for 12 hours every 9 months.




State of Georgia/Dominion Confidential                                                                       63
          Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 66 of 113
Master Solution Purchase and Services Agreement



      •     The tabulators should not be stacked on top of one another for storage unless they are in their
            respective carrying cases or packaging boxes (Suggested Maximum Stack = 4 Boxes High).

Standard power / electrical outlets.

Server Dell PowerEdge R630

Temperature        Specifications

Storage –40°C to 65°C (–40°F to 149°F)

Continuous operation (for altitude less than 950 m or 3117 ft)     10°C to 35°C (50°F to 95°F) with no
direct sunlight on the equipment.

      NOTE: Maximum of 145 W 22 core processor is supported in systems with eight 2.5-inches drives,
      two PCI slot chassis, and 75 W single wide active GPU.

Maximum temperature gradient (operating and storage) 20°C/h (36°F/h)

Standard power / electrical outlets.




State of Georgia/Dominion Confidential                                                                    64
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 67 of 113
Master Solution Purchase and Services Agreement




                                     ATTACHMENT 2 TO SOLUTION ORDER

                                             Functional Requirements

         System Capacity
 1       System accommodates for a minimum of three (3) different languages                   Comply
         Ballot Secrecy
 2       System must not allow ballot to be traced to voter                                   Comply
         Special ballot voting circumstances
 3       System must allow for write‐in candidate for all offices with post‐election review   Comply
         of write‐in votes readily available
 4       System must prevent voter from casting an overvote (voting for more candidates       Comply
         than allowed for an office)
 5       System must notify/alert voter if they failed to vote for one or more offices or     Comply
         propositions
 6       System must allow a voter to change a vote during the process prior to casting       Comply
 7       System must have secure mechanisms for insuring that all ballots cast are            Comply
         authorized by the pollworkers in that precinct
         Ballot Types
 8       Accommodate for no fewer than six (6) political parties in a primary election        Comply
 9       System must accommodate for hundreds of ballot styles to account for split           Comply
         precincts which may have several unique voting districts
 10      System must allow all voters to be capable of casting a ballot independently,        Comply
         without assistance or without the intervention of pollworkers, in all elections
 11      System capabilities for mobility‐restricted voters                                   Comply
 12      System capabilities for visually‐impaired voters with audio component                Comply
 13      System capabilities for voters with limited or no manual dexterity                   Comply
 14      System must accommodate last‐minute ballot changes due to court orders               Comply
         quickly and effectively
 15      System must be capable of performing self‐test to identify equipment errors          Comply
 16      System must be able to produce a paper “zero tape” evidencing the fact that the      Comply
         System has no votes recorded on it at the opening of the polls
         Results tabulation
 17      System must produce a paper record once the voter has finished voting of each        Comply
         voter's choices



State of Georgia/Dominion Confidential                                                          65
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 68 of 113
Master Solution Purchase and Services Agreement




 18       System must have the capacity to maintain internal back‐ups of the votes that      Comply
          have been cast on the System
 19       System must include a software component that produces a final, unified          Comply
          tabulation of the votes cast in the precincts, and any centrally cast or tallied
          ballots (such as votes‐by‐mail and early votes), including provisional votes
          Storage
  20      System includes all necessary equipment to optimally store its components        Comply
  21      System requires only standard electrical outlets to keep components charged and Comply
          use‐ready
  22      System components do not require temperature of humidity conditions outside        Comply
          of industry standard storage facilities
          Maintenance
  23      After the period of vendor‐supplied maintenance expires, the system is capable     Comply
          of being maintained by the County staff.
 24       Vendor guarantees the availability of replacement parts for a period of 10 years   Comply
          after system acquisition.
          Touchscreen Display
 25       Touchscreen component includes variable screen fonts                               Comply
 26       Touchscreen allows voter to vary screen font size                                  Comply
 27       Touchscreen allows contrast of screens to be varied                                Comply
 28       Touchscreen Allows voter to vary screen contrast                                   Comply
 29       Touchscreen component includes variable screen contrast                            Comply
 30       Touchscreen component allows voter to freely move from screen to screen            Comply
 31       Touchscreen component includes review function after voter has viewed all          Comply
          ballot pages
 32       Touchscreen component allows voter to go directly from review page to page         Comply
          where a change in vote can be made
  33      Touchscreen component prevents offices from being split onto multiple screens      Comply
  34      Touchscreen component prevents overvoting for an office or proposition             Comply
  35      Touchscreen component includes messages relating to successfully ballot casting    Comply
          Ballot Printer
 36       Printer is easily refilled with paper                                              Comply
 37       Printer uses industry standard connectors and ports                                Comply
 38       System can produce a flat file of the summary report to be posted on the web       Comply
          sites of the State




State of Georgia/Dominion Confidential                                                         66
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 69 of 113
Master Solution Purchase and Services Agreement




                                     ATTACHMENT 3 TO SOLUTION ORDER

                                                  RESERVED




State of Georgia/Dominion Confidential                                       67
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 70 of 113
Master Solution Purchase and Services Agreement




                                     ATTACHMENT 4 TO SOLUTION ORDER

                          Implementation Schedule including standard Milestones

Task Name                                                 Duration    Start         Finish
GA Draft Project Plan
Installation Key Dates                                    123 days    Thu 8/1/19    Mon 1/20/20
  Phase 1 Installations                                   69 days     Thu 8/1/19    Tue 11/5/19
  Phase 2 Part 1 Installations                            40 days     Wed 11/6/19   Tue 12/31/19
  Phase 2 part 2 Installations                            14 days     Wed 1/1/20    Mon 1/20/20
Election Key Dates                                        261 days    Tue 11/5/19   Tue 11/3/20
  2019 General Election                                   1 day       Tue 11/5/19   Tue 11/5/19
  PPP                                                     1 day       Tue 3/24/20   Tue 3/24/20
  Primary Election                                        1 day       Tue 5/26/20   Tue 5/26/20
  Primary Election Runoff                                 1 day       Tue 7/28/20   Tue 7/28/20
  General Election                                        1 day       Tue 11/3/20   Tue 11/3/20
Project Management                                        383 days    Tue 7/16/19   Thu 12/31/20
  Project Initiation                                      14 days     Tue 7/16/19   Fri 8/2/19
   Review Project Structure, roles and responsibilities   11 days     Tue 7/16/19   Tue 7/30/19
   Review and update project plan                         11 days     Tue 7/16/19   Tue 7/30/19
   Manufacturing and Deliveries Schedule                  11 days     Tue 7/16/19   Tue 7/30/19
   Issues Tracking and Escalation Plan                    11 days     Tue 7/16/19   Tue 7/30/19
   Risk Mitigation Plan                                   11 days     Tue 7/16/19   Tue 7/30/19
   Communication Plan                                     11 days     Tue 7/16/19   Tue 7/30/19
   Conflict Resolution Plan                               11 days     Tue 7/16/19   Tue 7/30/19
   Training Plan Finalization                             11 days     Tue 7/16/19   Tue 7/30/19
   Review and Adjust Training Schedules                   11 days     Tue 7/16/19   Tue 7/30/19
   Requirements Gathering, Gap Analysis and Application
                                                          11 days     Tue 7/16/19   Tue 7/30/19
Configuration
     Requirements Review                                  11 days     Tue 7/16/19   Tue 7/30/19
     Requirements Signoff                                 1 day       Tue 7/30/19   Tue 7/30/19
   Create Election Data Import Bridge                     12 days     Tue 7/16/19   Wed 7/31/19
   Customer kick‐off meeting                              1 day       Thu 8/1/19    Thu 8/1/19
  Poll Pad Build, Testing and Documentation               54 days     Tue 7/16/19   Fri 9/27/19
   Receipt and Acceptance Testing in DVS facility         25 days     Tue 7/16/19   Mon 8/19/19
     Development                                          25 days     Tue 7/16/19   Mon 8/19/19
     Migrate App Changes                                  1 day       Fri 8/9/19    Fri 8/9/19
   Test                                                   14 days     Mon 8/12/19   Thu 8/29/19
     Create test cases                                    5 days      Mon 8/12/19   Fri 8/16/19
     Acceptance Testing                                   5 days      Thu 8/22/19   Wed 8/28/19
     Testing Signoff                                      1 day       Thu 8/29/19   Thu 8/29/19
   Documentation                                          5 days      Mon 9/23/19   Fri 9/27/19
     Create administrator and user guides                 5 days      Mon 9/23/19   Fri 9/27/19
  Project Meetings                                        371 days    Thu 8/1/19    Thu 12/31/20
   Weekly Project Status Meetings                         371 days    Thu 8/1/19    Thu 12/31/20



State of Georgia/Dominion Confidential                                                             68
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 71 of 113
Master Solution Purchase and Services Agreement



Receipt and Acceptance Testing in DVS facility        125 days   Mon 7/29/19    Fri 1/17/20
 July Shipment                                        20 days    Mon 7/29/19    Fri 8/23/19
   Receive Shipment                                   3 days     Mon 7/29/19    Wed 7/31/19
   Initial Acceptance Test                            18 days    Tue 7/30/19    Thu 8/22/19
   Preparation and Delivery of Equipment              17 days    Thu 8/1/19     Fri 8/23/19
 August Shipment                                      21 days    Mon 8/26/19    Mon 9/23/19
   Receive Shipment                                   5 days     Mon 8/26/19    Fri 8/30/19
   Initial Acceptance Test                            22 days    Thu 8/22/19    Fri 9/20/19
   Preparation and Delivery of Equipment              10 days    Tue 9/10/19    Mon 9/23/19
   Ship 334 Poll Pads                                 15 days    Tue 9/3/19     Mon 9/23/19
 September Shipment                                   23 days    Tue 9/24/19    Thu 10/24/19
   Receive Shipment                                   5 days     Tue 9/24/19    Mon 9/30/19
   Initial Acceptance Test                            23 days    Mon 9/23/19    Wed 10/23/19
   Preparation and Delivery of Equipment              10 days    Thu 10/10/19   Wed 10/23/19
   Ship 369 Poll Pads                                 14 days    Mon 10/7/19    Thu 10/24/19
 October Shipment                                     25 days    Fri 10/25/19   Thu 11/28/19
   Receive Shipment                                   5 days     Fri 10/25/19   Thu 10/31/19
   Initial Acceptance Test                            24 days    Mon 10/28/19   Thu 11/28/19
   Preparation and Delivery of Equipment              10 days    Fri 11/15/19   Thu 11/28/19
 November Shipment                                    19 days    Mon 11/25/19   Thu 12/19/19
   Receive Shipment                                   5 days     Mon 11/25/19   Fri 11/29/19
   Initial Acceptance Test                            18 days    Tue 11/26/19   Thu 12/19/19
   Preparation and Delivery of Equipment              10 days    Fri 12/6/19    Thu 12/19/19
   Ship 7047 Poll Pads                                75 days    Mon 11/18/19   Fri 2/28/20
 December Shipment ‐ Any additional balance needed    25 days    Mon 12/16/19   Fri 1/17/20
   Receive Shipment                                   5 days     Mon 12/16/19   Fri 12/20/19
   Initial Acceptance Test                            24 days    Mon 12/16/19   Thu 1/16/20
   Preparation and Delivery of Equipment              10 days    Mon 1/6/20     Fri 1/17/20
Phase 1 Installations                                 69 days    Thu 8/1/19     Tue 11/5/19
 November 2019 Election Day                           1 day      Tue 11/5/19    Tue 11/5/19
 Counties receiving equipment during Phase 1          32 days    Thu 8/1/19     Fri 9/13/19
   GASOS
   County 1
   County 2
   County 3
   County 4
   County 5
   County 6
 Procurement and Delivery                             32 days    Thu 8/1/19     Fri 9/13/19
   Election Management System                         32 days    Thu 8/1/19     Fri 9/13/19
     Documentation Delivery                           1 day      Thu 8/1/19     Thu 8/1/19
       Installation guides                            1 day      Thu 8/1/19     Thu 8/1/19
       User guides                                    1 day      Thu 8/1/19     Thu 8/1/19
     Equipment                                        30 days    Mon 8/5/19     Fri 9/13/19
       Procurement and Delivery                       30 days    Mon 8/5/19     Fri 9/13/19
       Installation                                   30 days    Mon 8/5/19     Fri 9/13/19
       County Level Acceptance Testing and Training   30 days    Mon 8/5/19     Fri 9/13/19


State of Georgia/Dominion Confidential                                                        69
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 72 of 113
Master Solution Purchase and Services Agreement



   Tabulator and Accessible Voting System                30 days     Mon 8/5/19   Fri 9/13/19
     Documentation Delivery                              1 day       Thu 8/1/19   Thu 8/1/19
       User Manuals                                      0.25 days   Thu 8/1/19   Thu 8/1/19
       Quick reference guides                            0.25 days   Thu 8/1/19   Thu 8/1/19
       Maintenance manuals                               0.25 days   Thu 8/1/19   Thu 8/1/19
       Training manuals                                  0.25 days   Thu 8/1/19   Thu 8/1/19
     Supplies and Consumables                            30 days     Mon 8/5/19   Fri 9/13/19
       Procurement and Delivery                          30 days     Mon 8/5/19   Fri 9/13/19
       County Level Acceptance Testing and Training      30 days     Mon 8/5/19   Fri 9/13/19
 Training
   GASOS Training                                        22 days     Thu 8/1/19   Fri 8/30/19
     D‐Suite Election Management System Election Event
                                                         10 days
Designer Training
     D‐Suite Accumulation only EMS Training              2 days
     D‐Suite Results Tally & Reporting                   1 day
     D‐Suite ICP Training                                1 day
     D‐Suite ICX Training                                1 day
     D‐Suite ICC & Adjudication Training                 1 day
     D‐Suite UOCAVA Training                             1 day
     D‐Suite Mobile Ballot Printing Training             1 day
     Pollworker Train the Trainer                        1 day
     Election Day Rover Training                         0.5 days
     Poll Pad Train the Trainer                          1 day
     Pollworker Training ‐ Pilot
   Regional Training 1                                   67 days     Thu 8/1/19   Fri 11/1/19
     D‐Suite Accumulation only EMS Training              2 days
     D‐Suite Results Tally & Reporting                   1 day
     D‐Suite ICP Training                                1 day
     D‐Suite ICX Training                                1 day
     D‐Suite ICC & Adjudication Training                 1 day
     D‐Suite UOCAVA Training                             1 day
     D‐Suite Mobile Ballot Printing Training             1 day
     Pollworker Train the Trainer                        1 day
     Election Day Rover Training                         0.5 days
     Poll Pad Train the Trainer                          5 days
     Pollworker Training ‐ Pilot
   Regional Training 2                                   67 days     Thu 8/1/19   Fri 11/1/19
     D‐Suite Accumulation only EMS Training              2 days
     D‐Suite Results Tally & Reporting                   1 day
     D‐Suite ICP Training                                1 day
     D‐Suite ICX Training                                1 day
     D‐Suite ICC & Adjudication Training                 1 day
     D‐Suite UOCAVA Training                             1 day
     D‐Suite Mobile Ballot Printing Training             1 day
     Pollworker Train the Trainer                        1 day
     Election Day Rover Training                         0.5 days
     Poll Pad Train the Trainer                          5 days
     Pollworker Training ‐ Pilot

State of Georgia/Dominion Confidential                                                          70
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 73 of 113
Master Solution Purchase and Services Agreement



   Refresh Training                                      67 days     Thu 8/1/19     Fri 11/1/19
 Election Programming ‐ November 2019 General Election
   November 2019 General Election                        1 day       Tue 11/5/19    Tue 11/5/19
   Ballot Definition and Programming
      Data entry and import                              5 days      Wed 8/7/19     Tue 8/13/19
      Ballot Styling                                     1 day?      Wed 8/7/19     Wed 8/7/19
      Review and modifications                           1 day       Fri 9/6/19     Fri 9/6/19
      Generate official ballots                          15 days     Fri 9/6/19     Thu 9/26/19
      Generate audio ballots                             3 wks       Fri 9/6/19     Thu 9/26/19
      Generate election files                            3 wks       Fri 9/6/19     Thu 9/26/19
      Generate test decks                                2 wks       Fri 9/6/19     Thu 9/19/19
   Ballot Production and L&A Testing
     UOCAVA Ballots Ready                                1 day?      Sat 9/21/19    Sat 9/21/19
      Official ballot printing                           15 days     Sat 9/21/19    Thu 10/10/19
      Logic and accuracy testing                         15 days     Sat 9/21/19    Thu 10/10/19
   Election Readiness
     Voter Outreach
     Pollworker Training                                 21 days     Mon 10/7/19    Mon 11/4/19
     Equipment Delivery to Polls                         6 days      Mon 10/28/19   Mon 11/4/19
   Poll Pad Pilot Readiness
     Confirm iOS and application updates                 5 days      Mon 9/30/19    Fri 10/4/19
     Deploy application updates                          10 days     Mon 10/7/19    Fri 10/18/19
     Confirm ePulse settings                             5 days      Mon 10/14/19   Fri 10/18/19
     Load election data                                  5 days      Mon 10/21/19   Fri 10/25/19
     Verify election data                                1 day       Fri 10/25/19   Fri 10/25/19
   Poll Pad Post Pilot Support
     Data Reconciliation                                 3 days      Wed 11/6/19    Fri 11/8/19
     Export Data                                         1 day       Mon 11/11/19   Mon 11/11/19
     Auditing the election                               1 day       Tue 11/12/19   Tue 11/12/19
     Archiving the elections                             1 day       Wed 11/13/19   Wed 11/13/19
 Phase 1 complete                                        0 days      Tue 11/12/19   Tue 11/12/19
   Phase 1 Lessons Learned Meeting                       1 day       Tue 11/12/19   Tue 11/12/19
Phase 2 Installations                                    40 days     Wed 11/6/19    Tue 12/31/19
 Counties Receiving Equipment Phase 2 Part 1             40 days     Wed 11/6/19    Tue 12/31/19
 Election Management System                              40 days     Wed 11/6/19    Tue 12/31/19
   Documentation Delivery                                1 day       Wed 11/6/19    Wed 11/6/19
     Installation guides                                 0.25 days   Wed 11/6/19    Wed 11/6/19
     User guides                                         0.25 days   Wed 11/6/19    Wed 11/6/19
   Equipment                                             15 days     Wed 12/11/19   Tue 12/31/19
     Procurement and Delivery                            40 days     Wed 11/6/19    Tue 12/31/19
     Installation                                        40 days     Wed 11/6/19    Tue 12/31/19
     County Level Acceptance Testing and Training        40 days     Wed 11/6/19    Tue 12/31/19
 Tabulator and Accessible Voting System                  40 days     Wed 11/6/19    Tue 12/31/19
   Documentation Delivery                                1 day       Wed 11/6/19    Wed 11/6/19
     User Manuals                                        0.25 days   Wed 11/6/19    Wed 11/6/19
     Quick reference guides                              0.25 days   Wed 11/6/19    Wed 11/6/19
     Maintenance manuals                                 0.25 days   Wed 11/6/19    Wed 11/6/19


State of Georgia/Dominion Confidential                                                             71
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 74 of 113
Master Solution Purchase and Services Agreement



     Training manuals                               0.25 days   Wed 11/6/19   Wed 11/6/19
    Equipment                                       40 days     Wed 11/6/19   Tue 12/31/19
     Procurement and Delivery                       40 days     Wed 11/6/19   Tue 12/31/19
     County Level Acceptance Testing and Training   40 days     Wed 11/6/19   Tue 12/31/19
  Supplies and Consumables                          40 days     Wed 11/6/19   Tue 12/31/19
   Procurement and Delivery                         40 days     Wed 11/6/19   Tue 12/31/19
  Training
    Regional Training 1                             40 days     Wed 11/6/19   Tue 12/31/19
     D‐Suite Accumulation only EMS Training         2 days
     D‐Suite Results Tally & Reporting              1 day
     D‐Suite ICP Training                           1 day
     D‐Suite ICX Training                           1 day
     D‐Suite ICC & Adjudication Training            1 day
     D‐Suite UOCAVA Training                        1 day
     D‐Suite Mobile Ballot Printing Training        1 day
     Pollworker Train the Trainer                   1 day
     Election Day Rover Training                    0.5 days
     Poll Pad Pollworker Training                   1 day
    Regional Training 2                             40 days     Wed 11/6/19   Tue 12/31/19
     D‐Suite Accumulation only EMS Training         2 days
     D‐Suite Results Tally & Reporting              1 day
     D‐Suite ICP Training                           1 day
     D‐Suite ICX Training                           1 day
     D‐Suite ICC & Adjudication Training            1 day
     D‐Suite UOCAVA Training                        1 day
     D‐Suite Mobile Ballot Printing Training        1 day
     Pollworker Train the Trainer                   1 day
     Election Day Rover Training                    0.5 days
     Poll Pad Pollworker Training                   1 day
    Regional Training 3                             40 days     Wed 11/6/19   Tue 12/31/19
     D‐Suite Accumulation only EMS Training         2 days
     D‐Suite Results Tally & Reporting              1 day
     D‐Suite ICP Training                           1 day
     D‐Suite ICX Training                           1 day
     D‐Suite ICC & Adjudication Training            1 day
     D‐Suite UOCAVA Training                        1 day
     D‐Suite Mobile Ballot Printing Training        1 day
     Pollworker Train the Trainer                   1 day
     Election Day Rover Training                    0.5 days
     Poll Pad Pollworker Training                   1 day
    Regional Training 4                             40 days     Wed 11/6/19   Tue 12/31/19
     D‐Suite Accumulation only EMS Training         2 days
     D‐Suite Results Tally & Reporting              1 day
     D‐Suite ICP Training                           1 day
     D‐Suite ICX Training                           1 day
     D‐Suite ICC & Adjudication Training            1 day
     D‐Suite UOCAVA Training                        1 day


State of Georgia/Dominion Confidential                                                       72
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 75 of 113
Master Solution Purchase and Services Agreement



    D‐Suite Mobile Ballot Printing Training       1 day
    Pollworker Train the Trainer                  1 day
    Election Day Rover Training                   0.5 days
    Poll Pad Pollworker Training                  1 day
   Regional Training 5                            40 days    Wed 11/6/19   Tue 12/31/19
    D‐Suite Accumulation only EMS Training        2 days
    D‐Suite Results Tally & Reporting             1 day
    D‐Suite ICP Training                          1 day
    D‐Suite ICX Training                          1 day
    D‐Suite ICC & Adjudication Training           1 day
    D‐Suite UOCAVA Training                       1 day
    D‐Suite Mobile Ballot Printing Training       1 day
    Pollworker Train the Trainer                  1 day
    Election Day Rover Training                   0.5 days
    Poll Pad Pollworker Training                  1 day
   Regional Training 6                            40 days    Wed 11/6/19   Tue 12/31/19
    D‐Suite Accumulation only EMS Training        2 days
    D‐Suite Results Tally & Reporting             1 day
    D‐Suite ICP Training                          1 day
    D‐Suite ICX Training                          1 day
    D‐Suite ICC & Adjudication Training           1 day
    D‐Suite UOCAVA Training                       1 day
    D‐Suite Mobile Ballot Printing Training       1 day
    Pollworker Train the Trainer                  1 day
    Election Day Rover Training                   0.5 days
    Poll Pad Pollworker Training                  1 day
   Regional Training 7                            40 days    Wed 11/6/19   Tue 12/31/19
    D‐Suite Accumulation only EMS Training        2 days
    D‐Suite Results Tally & Reporting             1 day
    D‐Suite ICP Training                          1 day
    D‐Suite ICX Training                          1 day
    D‐Suite ICC & Adjudication Training           1 day
    D‐Suite UOCAVA Training                       1 day
    D‐Suite Mobile Ballot Printing Training       1 day
    Pollworker Train the Trainer                  1 day
    Election Day Rover Training                   0.5 days
    Poll Pad Pollworker Training                  1 day
   Regional Training 8                            40 days    Wed 11/6/19   Tue 12/31/19
    D‐Suite Accumulation only EMS Training        2 days
    D‐Suite Results Tally & Reporting             1 day
    D‐Suite ICP Training                          1 day
    D‐Suite ICX Training                          1 day
    D‐Suite ICC & Adjudication Training           1 day
    D‐Suite UOCAVA Training                       1 day
    D‐Suite Mobile Ballot Printing Training       1 day
    Pollworker Train the Trainer                  1 day
    Election Day Rover Training                   0.5 days


State of Georgia/Dominion Confidential                                                    73
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 76 of 113
Master Solution Purchase and Services Agreement



    Poll Pad Pollworker Training                  1 day
   Regional Training 9                            40 days    Wed 11/6/19   Tue 12/31/19
    D‐Suite Accumulation only EMS Training        2 days
    D‐Suite Results Tally & Reporting             1 day
    D‐Suite ICP Training                          1 day
    D‐Suite ICX Training                          1 day
    D‐Suite ICC & Adjudication Training           1 day
    D‐Suite UOCAVA Training                       1 day
    D‐Suite Mobile Ballot Printing Training       1 day
    Pollworker Train the Trainer                  1 day
    Election Day Rover Training                   0.5 days
    Poll Pad Pollworker Training                  1 day
   Regional Training 10                           40 days    Wed 11/6/19   Tue 12/31/19
    D‐Suite Accumulation only EMS Training        2 days
    D‐Suite Results Tally & Reporting             1 day
    D‐Suite ICP Training                          1 day
    D‐Suite ICX Training                          1 day
    D‐Suite ICC & Adjudication Training           1 day
    D‐Suite UOCAVA Training                       1 day
    D‐Suite Mobile Ballot Printing Training       1 day
    Pollworker Train the Trainer                  1 day
    Election Day Rover Training                   0.5 days
    Poll Pad Pollworker Training                  1 day
   Regional Training 11                           40 days    Wed 11/6/19   Tue 12/31/19
    D‐Suite Accumulation only EMS Training        2 days
    D‐Suite Results Tally & Reporting             1 day
    D‐Suite ICP Training                          1 day
    D‐Suite ICX Training                          1 day
    D‐Suite ICC & Adjudication Training           1 day
    D‐Suite UOCAVA Training                       1 day
    D‐Suite Mobile Ballot Printing Training       1 day
    Pollworker Train the Trainer                  1 day
    Election Day Rover Training                   0.5 days
    Poll Pad Pollworker Training                  1 day
   Regional Training 12                           40 days    Wed 11/6/19   Tue 12/31/19
    D‐Suite Accumulation only EMS Training        2 days
    D‐Suite Results Tally & Reporting             1 day
    D‐Suite ICP Training                          1 day
    D‐Suite ICX Training                          1 day
    D‐Suite ICC & Adjudication Training           1 day
    D‐Suite UOCAVA Training                       1 day
    D‐Suite Mobile Ballot Printing Training       1 day
    Pollworker Train the Trainer                  1 day
    Election Day Rover Training                   0.5 days
    Poll Pad Pollworker Training                  1 day
   Regional Training 13                           40 days    Wed 11/6/19   Tue 12/31/19
    D‐Suite Accumulation only EMS Training        2 days


State of Georgia/Dominion Confidential                                                    74
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 77 of 113
Master Solution Purchase and Services Agreement



     D‐Suite Results Tally & Reporting              1 day
     D‐Suite ICP Training                           1 day
     D‐Suite ICX Training                           1 day
     D‐Suite ICC & Adjudication Training            1 day
     D‐Suite UOCAVA Training                        1 day
     D‐Suite Mobile Ballot Printing Training        1 day
     Pollworker Train the Trainer                   1 day
     Election Day Rover Training                    0.5 days
     Poll Pad Pollworker Training                   1 day
   Regional Training 14                             40 days     Wed 11/6/19    Tue 12/31/19
     D‐Suite Accumulation only EMS Training         2 days
     D‐Suite Results Tally & Reporting              1 day
     D‐Suite ICP Training                           1 day
     D‐Suite ICX Training                           1 day
     D‐Suite ICC & Adjudication Training            1 day
     D‐Suite UOCAVA Training                        1 day
     D‐Suite Mobile Ballot Printing Training        1 day
     Pollworker Train the Trainer                   1 day
     Election Day Rover Training                    0.5 days
     Poll Pad Pollworker Training                   1 day
   Refresh Training                                 40 days     Wed 11/6/19    Tue 12/31/19
  Phase 2 Part 1 Complete                           0 days      Tue 12/31/19   Tue 12/31/19
   Phase 2 Part 1 Wrap up Meeting
Phase 2 Part 2 Installations                        13 days     Wed 1/1/20     Fri 1/17/20
 Counties Receiving Equipment Phase 2 Part 2        13 days     Wed 1/1/20     Fri 1/17/20
 Election Management System                         13 days     Wed 1/1/20     Fri 1/17/20
   Documentation Delivery                           1 day       Wed 1/1/20     Wed 1/1/20
     Installation guides                            0.25 days   Wed 1/1/20     Wed 1/1/20
     User guides                                    0.25 days   Wed 1/1/20     Wed 1/1/20
    Equipment                                       13 days     Wed 1/1/20     Fri 1/17/20
     Procurement and Delivery                       13 days     Wed 1/1/20     Fri 1/17/20
     Installation                                   13 days     Wed 1/1/20     Fri 1/17/20
     County Level Acceptance Testing and Training   13 days     Wed 1/1/20     Fri 1/17/20
 Tabulator and Accessible Voting System             13 days     Wed 1/1/20     Fri 1/17/20
   Documentation Delivery                           1 day       Wed 1/1/20     Wed 1/1/20
     User Manuals                                   0.25 days   Wed 1/1/20     Wed 1/1/20
     Quick reference guides                         0.25 days   Wed 1/1/20     Wed 1/1/20
     Maintenance manuals                            0.25 days   Wed 1/1/20     Wed 1/1/20
     Training manuals                               0.25 days   Wed 1/1/20     Wed 1/1/20
    Equipment                                       13 days     Wed 1/1/20     Fri 1/17/20
     Procurement and Delivery                       13 days     Wed 1/1/20     Fri 1/17/20
     County Level Acceptance Testing and Training   13 days     Wed 1/1/20     Fri 1/17/20
 Supplies and Consumables                           13 days     Wed 1/1/20     Fri 1/17/20
   Procurement and Delivery                         13 days     Wed 1/1/20     Fri 1/17/20
Presidential Preference Primary Election                                       Tue 3/24/20
 Presidential Preference Primary Election           1 day       Tue 3/24/20    Tue 3/24/20
 Presidential Preference Primary Lessons Learned    0 days      Wed 3/25/20    Wed 3/25/20


State of Georgia/Dominion Confidential                                                        75
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 78 of 113
Master Solution Purchase and Services Agreement



  Election Programming
     Data entry and import                        3 days    Wed 12/4/19   Fri 12/6/19
     Ballot Styling                               2 days    Wed 12/4/19   Thu 12/5/19
     Review and modifications                     2 days    Fri 1/3/20    Mon 1/6/20
     Generate official ballots                    2 days    Fri 1/3/20    Mon 1/6/20
     Generate audio ballots                       2 days    Fri 1/3/20    Mon 1/6/20
     Generate election files                      2 days    Fri 1/3/20    Mon 1/6/20
     Generate test decks                          2 days    Fri 1/3/20    Mon 1/6/20
  Ballot Production and L&A Testing
    UOCAVA Ballots Ready                          1 day?    Sat 1/18/20   Sat 1/18/20
     Official ballot printing                     15 days   Sat 1/18/20   Thu 2/6/20
     Logic and accuracy testing                   15 days   Sat 1/18/20   Thu 2/6/20
  Election Readiness
     Voter Outreach
     Pollworker Training                          21 days   Mon 2/3/20    Sat 2/29/20
     Transport to polling                         6 days    Mon 2/24/20   Mon 3/2/20
  Poll Pad Election Readiness
    Confirm iOS and application updates           5 days    Mon 2/3/20    Fri 2/7/20
    Deploy application updates                    14 days   Mon 2/10/20   Thu 2/27/20
    Confirm ePulse settings                       5 days    Mon 2/17/20   Fri 2/21/20
    Load election data                            5 days    Mon 2/24/20   Fri 2/28/20
    Verify election data                          1 day     Fri 2/28/20   Fri 2/28/20
  Poll Pad Post Election Support                  7 days    Wed 3/25/20   Thu 4/2/20
    Data Reconciliation                           3 days    Thu 3/26/20   Mon 3/30/20
    Export Data                                   1 day     Tue 3/31/20   Tue 3/31/20
    Auditing the election                         1 day     Wed 4/1/20    Wed 4/1/20
    Archiving the elections                       1 day     Thu 4/2/20    Thu 4/2/20
May Primary Election                                                      Tue 5/26/20
  May Primary Election                            1 day     Tue 5/26/20   Tue 5/26/20
  May Primary Election Lessons Learned            1 day     Wed 5/27/20   Wed 5/27/20
  Election Programming
     Data entry and import                        3 days    Wed 2/26/20   Fri 2/28/20
     Ballot Styling                               2 days    Wed 2/26/20   Thu 2/27/20
     Review and modifications                     2 days    Fri 3/27/20   Mon 3/30/20
     Generate official ballots                    1 day     Fri 3/27/20   Fri 3/27/20
     Generate audio ballots                       1 day     Fri 3/27/20   Fri 3/27/20
     Generate election files                      1 day     Fri 3/27/20   Fri 3/27/20
     Generate test decks                          1 day     Fri 3/27/20   Fri 3/27/20
  Ballot Production and L&A Testing
    UOCAVA Ballots Ready                          1 day?    Sat 4/11/20   Sat 4/11/20
     Official ballot printing                     15 days   Sat 4/11/20   Thu 4/30/20
     Logic and accuracy testing                   15 days   Sat 4/11/20   Thu 4/30/20
  Election Readiness
     Voter Outreach
     Pollworker Training                          21 days   Mon 4/27/20   Mon 5/25/20
     Transport to polling                         6 days    Mon 5/18/20   Mon 5/25/20
July Primary Election Runoff                                              Tue 7/28/20


State of Georgia/Dominion Confidential                                                  76
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 79 of 113
Master Solution Purchase and Services Agreement



 June Primary Election                            0 days    Tue 7/28/20    Tue 7/28/20
 June Primary Runoff Lessons Learned              1 day     Wed 7/29/20    Wed 7/29/20
 Election Programming
    Data entry and import                         3 days    Wed 4/29/20    Fri 5/1/20
    Ballot Styling                                2 days    Wed 4/29/20    Thu 4/30/20
    Review and modifications                      2 days    Fri 5/29/20    Mon 6/1/20
    Generate official ballots                     1 day     Fri 5/29/20    Fri 5/29/20
    Generate audio ballots                        1 day     Fri 5/29/20    Fri 5/29/20
    Generate election files                       1 day     Fri 5/29/20    Fri 5/29/20
    Generate test decks                           1 day     Sat 6/13/20    Sat 6/13/20
 Ballot Production and L&A Testing
    UOCAVA Ballots Ready                          1 day?    Sat 6/13/20    Sat 6/13/20
    Official ballot printing                      15 days   Sat 6/13/20    Thu 7/2/20
    Logic and accuracy testing                    15 days   Sat 6/13/20    Thu 7/2/20
 Election Readiness
    Voter Outreach
    Pollworker Training                           21 days   Tue 6/30/20    Tue 7/28/20
    Transport to polling                          6 days    Mon 7/20/20    Mon 7/27/20
November 2020 General Election                                             Tue 11/3/20
 November 2020 General Election                   0 days    Tue 11/3/20    Tue 11/3/20
 November 2020 General Election Lessons Learned   1 day     Wed 11/4/20    Wed 11/4/20
 Election Programming
    Data entry and import                         3 days    Wed 8/5/20     Fri 8/7/20
    Ballot Styling                                2 days    Wed 8/5/20     Thu 8/6/20
    Review and modifications                      2 days    Fri 9/4/20     Mon 9/7/20
    Generate official ballots                     1 day     Fri 9/4/20     Fri 9/4/20
    Generate audio ballots                        1 day     Fri 9/4/20     Fri 9/4/20
    Generate election files                       1 day     Fri 9/4/20     Fri 9/4/20
    Generate test decks                           1 day     Fri 9/4/20     Fri 9/4/20
 Ballot Production and L&A Testing
    UOCAVA Ballots Ready                          1 day?    Sat 9/19/20    Sat 9/19/20
    Official ballot printing                      15 days   Sat 9/19/20    Thu 10/8/20
    Logic and accuracy testing                    15 days   Sat 9/19/20    Thu 10/8/20
 Election Readiness
    Voter Outreach
    Pollworker Training                           21 days   Mon 10/5/20    Mon 11/2/20
    Transport to polling                          6 days    Mon 10/26/20   Mon 11/2/20
Project Closeout Meeting(s)                       4 days    Tue 12/15/20   Fri 12/18/20




State of Georgia/Dominion Confidential                                                    77
            Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 80 of 113
   Master Solution Purchase and Services Agreement




                              APPENDIX A TO ATTACHMENT 4 TO SOLUTION ORDER

                                                     Critical Milestones

Table A - Critical Milestones:                                                                Milestone Deadline
  1. Delivery and Acceptance of 2 ICX BMD units and 2 ICP scanners for public                  5 days after Agreement
     demonstrations and initial training                                                       Effective Date
  2. Delivery and Acceptance of Equipment and Software required to conduct the Pilot          30 days after Agreement
     Election via the Solution, as mutually agreed to by the Parties                          Effective Date
  3. Delivery and Acceptance preliminary 10 ICX BMD units and 10 ICP scanners for             September 15, 2019
     public demonstrations and training
  4. Delivery and Acceptance of all Democracy Suite Election management system                October 15, 2019
     hardware and software
  5. Certification of the November 2019 Pilot Election conducted via the Solution.            November 22, 2019
  6. Delivery and Acceptance of all remaining ImageCast Precinct Scanner Kits                 December 31, 2019
  7. Delivery and Acceptance of all remaining ImageCast Central Scanner Kits                  December 31, 2019
  8. Delivery and Acceptance of all electronic pollbook Kits                                  December 31, 2019
  9. Delivery and Acceptance of all remaining ImageCast X BMD Kits                            January 15, 2020
  10. Delivery and Acceptance of all remaining ancillary items                                January 31, 2020
  11. Certification of the March 24, 2020 Presidential Preference Primary conducted via the   April 10, 2020
      Solution.
  12. Certification of the November 3, 2020 General Election conducted via the Solution       November 20, 2020




    State of Georgia/Dominion Confidential                                                                 78
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 81 of 113
Master Solution Purchase and Services Agreement



                                         ATTACHMENT 5 TO SOLUTION ORDER

                                                   RESERVED




State of Georgia/Dominion Confidential                                       79
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 82 of 113
Master Solution Purchase and Services Agreement




                                     ATTACHMENT 6 TO SOLUTION ORDER

                                                  Training Plan

Georgia Implementation Training Plan

The following is an in-depth training plan as requested and is submitted with the understanding that
training dates and training content are subject to change pending award of the contract and the outcome
of collaboration with the GASOS/County Election Officials.

Pre-Training Tasks

2 Days: 7/30 to 7/31 - Meeting with GASOS and GASOS-selected County Election Officials to customize
training documentation, syllabi, demonstration project and ballots to reflect GA election procedures and
terminology.
11 Days: 8/1 to 8/11 - Customized training documentation, syllabi, demonstration project and ballot
development.

Phase 1 Training Plan

GASOS – 8/12 to 8/23 – 11 1/2 Days. During this period, GASOS review and approval of final training
documentation, syllibi, demonstration project and ballot and set/confirm the training schedule.

        Election Programming – 4 1/2 Days
        DSuite Administrator and User – 2 Days
        ICX-BMD/ICP Operator – 1 Day
        ICC/ADJ Administration – 1 Day
        ICC/ADJ Operator – ½ Day
        UOCAVA – 1 Day
        Election day Rover Training – ½ day
        Pollpad Train the Trainer Training – 1 day

Counties – Administrative/User – 8/26 to 9/9 – 2 Regional Trainings - 4 Days Each

        DSuite Administrator and User – 2 Days
        ICC/ADJ Administration – 1 Day
        UOCAVA – 1 Day

Counties – Operator/Pollworker – 9/10 to 9/13 – 2 Regional Trainings - 3 Days Each

        ICX-BMD/ICP Operator – 1 Day
        ICC/ADJ Operator – ½ Day
        Pollworker Train the Trainer – ½ Day
        Pollpad Training – 1 day




State of Georgia/Dominion Confidential                                                                 80
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 83 of 113
Master Solution Purchase and Services Agreement



Phase 2 Training Plan

Counties not holding December Runoff Election

Counties – Administrative/User – 11/11 to 12/13 – Regional Trainings - 4 Days Each

        DSuite Administrator and User – 2 Days
        ICC/ADJ Administration – 1 Day
        UOCAVA – 1 Day

Counties – Operator/Pollworker – 11/11 to 12/13 – Regional Trainings - 3 Days Each

        ICX-BMD/ICP Operator – 1 Day
        ICC/ADJ Operator – ½ Day
        Pollworker Train the Trainer – ½ Day
        Pollpad Training – 1 day

Counties holding December Runoff Election

Counties – Administrative/User – 12/9/2019 to 1/17/2020 – Regional Trainings - 4 Days Each

        DSuite Administrator and User – 2 Days
        ICC/ADJ Administration – 1 Day
        UOCAVA – 1 Day

Counties – Operator/Pollworker – 12/9/2019 to 1/17/2020 – Regional Trainings - 3 Days Each

        ICX-BMD/ICP Operator – 1 Day
        ICC/ADJ Operator – ½ Day
        Pollworker Train the Trainer – ½ Day
        Pollpad Training – 1 day


Courses

DSuite Election Programming – 4.5 Days

        Democracy Suite Election Programming Software Overview
        Template (Master) Election Project Concepts
        Election Programming Phases
        Introduction to Election Event Designer
        Election Project Definition – Primary and General Elections
        Divisioning – Districts, Precincts, and Elector and Ballot Groups
        Election Event – Contests and Candidates
        User Management
        Advancing to Election Project Styling
        Ballot Styling and Templates
        Translations – Single and Multiple Language
        Creating the Ballots and Audio Ballot Files
        Previewing Audio Ballot Files
        Creating Electronic Ballot Headers
        Tabulation Setup

State of Georgia/Dominion Confidential                                                       81
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 84 of 113
Master Solution Purchase and Services Agreement



        Preparing Proofing Packages
        Create Election (Tabulator) Files
        Create Final Project Backup for Transfer to County
        Advanced Functions – Creating Template (Master) Projects and Using Election Data Translator
         for Import/Export of Election Definition Data

DSuite Administrator and User – 2 ½ Days

        Introduction to Democracy Suite
              o Democracy Suite Software Component Overview
              o Tabulator Systems Overview
                       ImageCast Precinct Ballot Scanner – ICP
                       ImageCast X-Ballot Marking Device – ICX-BMD
                       ImageCast Central – ICC
              o Review of Quick Reference Guides
              o Additional System Components
              o Consumable Items
              o Voting System Process Overview
              o Generic Election Timeline and Workflow Responsibilities Review
        The Election Proofing Process
              o Overview of the County Proofing Process
              o The Election Proofing Package
              o Proofing Ballots
              o Proofing Reports
              o Proofing Audio Ballot Files
        Election Preparation
              o Election Event Designer – EED – Programming the Tabulators
              o Setting Up ImageCast Central – ICC
              o Setting Up Adjudication
        Logic and Accuracy Testing
              o Testing Steps Overview
              o Test Deck Overview
              o Logic and Accuracy Test Procedures
                       ICX-BMD/ICP
                       ICC with Adjudication
                       RTR
        Results Talley and Reporting - RTR
              o Overview of RTR
              o Opening an Election in RTR
              o RTR Settings
              o Loading Election Results
              o Managing Results Files and Tabulators in RTR
              o Manual Entry of Results
              o Results Reporting and Exporting
              o Exporting Results Manually
        Backing up the Final Results
        Purging Test Results




State of Georgia/Dominion Confidential                                                                 82
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 85 of 113
Master Solution Purchase and Services Agreement



ICX-BMD/ICP Operator – 1 Day

    •    ICP Operations
             o Hardware Overview
             o Loading/Changing Paper Tape
             o Loading the Memory Cards
             o Acceptance Testing
             o Maintenance and Troubleshooting
    •    ICX-BMD Operations
             o Hardware Overview
             o Loading Paper and Toner in the BMD Printer
             o Loading Election Files
             o Acceptance Testing
             o Maintenance and Troubleshooting
    •    Logic and Accuracy Testing
             o Test Decks and Vote Sims
    •    Voting Equipment in the Polling Place
             o Setting up the Equipment
             o Opening the Polls
             o Activating Voter Cards
             o Voting on the ICX-BMD/ICP
             o Closing the polling place

ICC/ADJ Administration – 1 Day

        Overview of ICC and ADJ Functionality
        Setting Up the ICC – Loading the Tabulator Files and Scanner Configuration
        Setting Up RTR to Manage, Monitor and Automatically Upload Results From ICC/ADJ
        Setting Up Adjudication – Loading the Election and Setting Conditions
        Logic and Accuracy Testing
        Ballot Handling
             o Scanning Ballots and Common problems
             o Batch Handling
                      Rejecting and Resetting batches
                      Deleting Batches
        Adjudicating Ballots
             o Standard User Vs. Administrative User
             o Ballot Overlays
             o Ballot Review and AuditMark
             o Write-in Resolution
             o Submitting Batches
             o Managing Quarantined Ballots
             o Configuring and Managing Report Profiles

ICC/ADJ Operator – ½ Day

        Ballot Handling
             o Scanning Ballots and Common problems
             o Batch Handling
                      Rejecting, Resetting, and Deleting Batches
        Adjudicating Ballots
             o Ballot Overlays


State of Georgia/Dominion Confidential                                                     83
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 86 of 113
Master Solution Purchase and Services Agreement



              o    Ballot Review and AuditMark
              o    Write-in Resolution
              o    Quarantining Ballots

UOCAVA – 1 Day

        Configuring UOCAVA
             o Display
             o Language Management
             o Voter ID and PIN Options
        Tabulator Management
             o Importing Election Files
             o Configuring Parameters
        Download Administration
             o Editing the Ballot Package
             o Cover Sheet, Affidavit, and Return Envelope Settings
             o Security Question Administration
        User Management
        Customization
             o Logos
             o Color Schemes
        Voter List Management
        Accessibility
        Testing
        Reporting

 Election Day Rover Training – 1 Day

        Preparing for Election Day
        Opening and Closing the polls
        Processing Voters
        Assisting Voters with Special Needs
        Troubleshooting Election Day Problems

Pollpad Train the Trainer Training – 1 Day

    •    ePulse training
             o Create elections
             o Administer elections
             o Closing out elections
             o Monitoring pollpads
             o Generating reports
    •    Train the trainer
             o Set up of pollpad solution
             o Familiarizations of screens, statuses, and functionality
             o Configuration
    •    Meraki Mobile Device Management System training
             o Enrolling pollpad
             o Updating pollpad applications
             o Ensuring proper restriction settings
             o Monitoring/remote wipe devices


State of Georgia/Dominion Confidential                                       84
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 87 of 113
Master Solution Purchase and Services Agreement




Pollworker Train the Trainer – ½ Day

    •    Training Techniques
    •    Learning Styles
    •    Presentation Skills
    •    Voting Equipment in the Polling Place
             o Setting up the Equipment
             o Opening the Polls
             o Activating Voter Cards
             o Voting on the ICX-BMD/ICP
             o Troubleshooting
             o Closing the Polls




State of Georgia/Dominion Confidential                                       85
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 88 of 113
Master Solution Purchase and Services Agreement



                                                    Exhibit C
                               To Master Solution Purchase and Services Agreement

                                          FORM OF SERVICES ORDER

THIS SERVICES ORDER (“Services Order”) is dated this _______ day of ____________, 20__
(“Services Order Effective Date”) and is subject to the terms of the Master Solution Purchase and Services
Agreement (the “Agreement”) dated as of _____________, 20109 by and between
__________________________ (“State”) and _________________ (“Contractor”). Unless otherwise
defined herein, all capitalized terms used herein have the same meanings as is set forth in the Agreement,
which is hereby incorporated by reference. The undersigned State Entity hereby orders delivery for the
following pieces of Solution from Contractor. Contractor agrees to deliver the items ordered herein in
accordance with the Agreement and in compliance with all Applicable Laws including with the provisions of
O.C.G.A. Title 21, as amended and the State of Georgia Election Board and Secretary of State Rules
contained in Sections 183 and Sections 590 of the Georgia Administrative Code respectively.

NOW, THEREFORE, in consideration of the mutual covenants and conditions contained herein, State and
Contractor hereby agree as follows:
        In performing Services under this Services Order, Contractor shall communicate to __________ of
State or his/her designee

DESCRIPTION OF THE SERVICES.

Project Overview. The <insert project name here> project (“Project”) is <insert descriptive summary of the project
associated with these services>.

Services Order Purpose. The purpose of this Services Order is for Contractor to provide the following services <insert
a short general descriptive summary> to State related to the Project.

Services Scope. Contractor is responsible for the following Services and scope, as further described and detailed
below, in the context of the overall Project:

          <Please provide a list of services to be performed by Contractor here. If the services are subject to any
specific specifications, requirements or acceptance criteria, please list them here.>

SCHEDULE.

         Contractor shall complete the Services and provide any Deliverables on or before __________. The parties
agree that time is of the essence in this Agreement.

         <Please provide a schedule here, including a commencement date, a completion date, and any interim
milestone dates.>

DESCRIPTION OF DELIVERABLES.

         <Please provide a list of deliverables here, including a delivery date for each of the deliverables. If the
deliverables are subject to any requirements or acceptance criteria, please list them.>

MILESTONES

Contractor shall deliver to Company the Deliverables listed in the table below during the period of performance of this
Services Order.




State of Georgia/Dominion Confidential                                                                              86
         Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 89 of 113
Master Solution Purchase and Services Agreement




             Item                                                                     Final Acceptance
                          Deliverables / Milestone                         Due Date
             Number                                                                   Criteria


                                                                                      <Describe         the
                          <Identify all “items” (including interim                    precise conditions /
                          deliverables) that will be developed or                     criteria that will be
                          provided as a result of contractor                          applied             to
            1.            performing the tasks detailed in Section         XX/XX/XX   determine that the
                          Error! Reference source not found.                          Deliverable         is
                          above (i.e., products, plans, status reports,               accepted           for
                          documentation, etc.)>                                       payment issuance
                                                                                      to the Contractor>.



            2.




FEES AND EXPENSES.

         The Fees for the Services shall not exceed __________, and [Expenses associated with performing the
Services shall not exceed __________.]

        Any additional services shall be set forth in an additional Statement of Work executed by STATE and
Contractor under the Agreement or in a purchase order issued by STATE and accepted by Contractor under the
Agreement. Contractor shall be reimbursed for additional reasonable expenses if pre-approved by STATE in writing.

DEVIATIONS FROM TERMS OF AGREEMENT

[Insert any deviations from the Master Agreement]

This Services Order is approved by:

STATE OF GEORGIA

OFFICE OF THE SECRETARY OF STATE                                  DOMINION VOTING SYSTEMS, INC.


By:                                                               By:

Name:                                                             Name:

Title:                                                            Title:    __________________________




State of Georgia/Dominion Confidential                                                                         87
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 90 of 113
Master Solution Purchase and Services Agreement



                                                  Exhibit D
                             To Master Solution Purchase and Services Agreement

                        LIST OF PERMITTED CONTRACTOR SOLUTION PARTNERS


    1. KNOWiNK, LLC having its principal place of business at 2111 Olive Street, Saint
       Louis, MO 63103.

    2. Diversified Technologies, LLC having its principal place of business at 100
       Peachtree St, Atlanta, GA 30303.




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        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 91 of 113
Master Solution Purchase and Services Agreement



                                                   Exhibit E
                              To Master Solution Purchase and Services Agreement

                                            CHANGE CONTROL FORM




State of Georgia/Dominion Confidential                                             89
                 Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 92 of 113
        Master Solution Purchase and Services Agreement
1. Contract Information. This change control form is provided pursuant to and governed by Section 6.2 of the Master
Solution Purchase and Services Agreement entered into between State and Contractor as of ___________ (“Agreement”).
Any term used but not defined in this Change Control Form will have the meaning given to it in the Agreement. Once this
Change Control Form is signed by both parties below it shall be deemed a Change Order.

Contract                                         Change                             For Solution
Control No.                                      Order No.                          Order     or
                                                                                    Services
                                                                                    Order No.
2. Party Information.

Name Of Requesting Party:                        Name of Party to whom Submitted:   Date Submitted:




3. Change Request. (Attach additional pages referencing this Section as required.)

Change to:                                       Description of Requested Change
(identify one only)

         Deliverable

         Services Task

4. Impact Analysis. (Required to be filled-out with all Change Requests submitted by Contractor and as part of all Change
Responses returned to State by Contractor as part of a State submitted Change Requests. Attach additional pages
referencing this Section as required.)
Resource Impact:

Cost Impact:

Timing Impact:

Date Response Delivered

5. Change Response - Acceptance or Rejection of Change Request.

HAVING RECEIVED, UNDERSTOOD AND AGREED with this Change Control Form, (check only one)                          STATE
Contractor hereby (initial one):

         ____ accepts the Change Request and desires to proceed with the change requested hereon.

        ____ rejects the Change Request and does not desire to proceed with the change requested hereon and hereby
               terminates such request.
6. Change Order. If this Change Control Form is signed by both parties below it shall be deemed a Change Order and shall
become a part of the Solution Order or Services Order to which it relates, shall be governed by this Agreement and shall be
attached thereto as if initially entered into as part of a Solution Order or Services Order.

State ENTITY                                                       CONTRACTOR

___________________________                                        ___________________________

AUTHORIZED SIGNATURE & DATE SIGNED                                 AUTHORIZED SIGNATURE & DATE SIGNED


        State of Georgia/Dominion Confidential                                                                  90
                Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 93 of 113
       Master Solution Purchase and Services Agreement




___________________________                              ___________________________

PRINTED NAME & TITLE                                     PRINTED NAME & TITLE




        State of Georgia/Dominion Confidential                                         91
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 94 of 113
Master Solution Purchase and Services Agreement



                                                   Exhibit F
                              To Master Solution Purchase and Services Agreement

                                                  RESERVED




State of Georgia/Dominion Confidential                                             92
         Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 95 of 113
Master Solution Purchase and Services Agreement



                                                   Exhibit G
                              To Master Solution Purchase and Services Agreement

                                                  FEE SCHEDULE

First Year Purchase Summary - Prices of equipment, technical facilities, software, and other related
services for voting, vote counting, and result processing. All pricing in U.S. Dollars.

                                 DESCRIPTION                                 QTY      TOTAL GROUP COST
           Central Scanning Solution: Absentee / Central Count
 ImageCast Central Kit - G1130                                                14
 ImageCast Precinct Tabulator (Absentee Only without ballot box)              153
                                                                Sub-Total:                    $816,768.00
             In-Person Voting Solution: Ballot Marking Device
 ImageCast X Kit - Prime                                                     30050
 ImageCast X BMD Polling Place Metal Cart                                    30050
 ATI Kit - ICX - USB                                                         2754
 Polling Place UPS                                                           2750
                                                                Sub-Total:                  $59,684,408.50
          In-Person Voting Solution: Precinct Scanner/Tabulator
 ImageCast Precinct Tabulator                                                3500
 ImageCast Precinct Ballot Box - Plastic                                     3500
 ICP Paper Roll (98')                                                        14000
 Seals - Pull Up / Pull Tight - Plastic - Red (25/pkg)                       1120
 Seals - Pull Quick (25/pack)                                                 560
 Seals - Tamper Evident Security Label (25/pkg)                              5368
                                                                Sub-Total:                   $8,156,260.00
 In-Person Voting Solution: Electronic Pollbook Hardware and Software
 EPB Unit (Apple IPAD)                                                       8,000
 Carrying Case (without printer)                                             8,000
 Stand                                                                       8,000
 Stylus                                                                      16,000
 Encoders                                                                    8,000
 Isync Drives                                                                2,800
 EPB Software Initial License                                                8,000
 Administrative Dashboard/Command Center and Reporting                         1
                                                                Sub-Total:                   $5,671,440.00
                Election Management Hardware and Software
 EMS Standard Server Kit                                                      14
 EMS Client Workstation Kit                                                   151
 EED/RTR/ Adjudication Workstation Kit                                        28
 Smart UPS 1500 (rack mountable for Standard Server)                          14
 Smart UPS 1500 (non-rack mountable for Express Server)                       151
 Democracy Suite Standard Initial License (through 12/31/2021)                 1
 Adjudication Module Initial License (through 12/31/2021)                      1



State of Georgia/Dominion Confidential                                                              93
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 96 of 113
Master Solution Purchase and Services Agreement



 Automated Test Deck Module Initial License (through 12/31/2021)             1
 Remote UOCAVA Module Initial License (through 12/31/2021)                   1
                                                           Sub-Total:                    $834,673.35
                                Support Services                           Days
                         Implementation and Training
 Product Implementation & Support                                           510
 Project Management & Implementation                                       1716
 Logic & Accuracy Testing                                                   640
 Training (/day)                                                            320
 Train The Trainer: Poll worker                                             28
 Democracy Suite Full System Training                                       20
 Democracy Suite Result, Tally and Reporting                                80
 ImageCast Central Operator Training                                        80
 ImageCast Central Adjudication Training (reserved)                         80
 ImageCast Precinct Training                                                80
 Election Setup / Ballot Setup                                             1045
 On-site Services - Election Day                                           1280
 On-Site Services - Non-Election Day (/day)                                 200
                                                           Sub-Total:                  $14,772,040.80
 Purchase - Year 1 Total:                                                              $89,935,590.65
 BMD security paper ballots                                             $0.13/ballot            TBD



Annual Purchase Summary - Dominion shall provide invoices for Annual Licenses and Warranties
on January 1 of each Term year. Dominion shall provide invoices for BMD ballot security paper
upon delivery to the State for each Election during the Term. The State shall pay invoices in a
timely manner in accordance with the terms of the Agreement. All pricing in U.S. Dollars.


                    Ballot Marking Device Security Paper
 BMD security paper ballots                                             $0.13/ballot            TBD



                       Annual Software Licenses: 2022
 Democracy Suite Standard Annual License Fee                                 1           $190,500.00
 Adjudication Annual License Fee                                             1               Included
 Automated Test Deck Annual License Fee                                      1               Included
 Remote UOCAVA Module Annual License Fee                                     1               Included
 Electronic Poll Bool Management System Annual License Fee                   1               Included
 Electronic Poll Book (EPoll) Annual License Fee                           8000              Included
 ImageCast X Annual License Fee                                           30050         $2,319,108.00
 ImageCast Precinct Annual License Fee                                     3653          $410,571.00
 ImageCast Central Annual License Fee                                       14            $287,605.50
                                                              TOTAL:                    $3,207,784.50




State of Georgia/Dominion Confidential                                                         94
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 97 of 113
Master Solution Purchase and Services Agreement




                Annual Software Licenses: Years 2023 - 2029
 Democracy Suite Standard Annual License Fee                               1              $190,500.00
 Adjudication Annual License Fee                                           1                  Included
 Automated Test Deck Annual License Fee                                    1                  Included
 Remote UOCAVA Module Annual License Fee                                   1                  Included
 Electronic Poll Bool Management System Annual License Fee                 1                  Included
 Electronic Poll Book (EPoll) Annual License Fee                         8000                 Included
 ImageCast X Annual License Fee                                         30050           $1,660,342.00
 ImageCast Precinct Annual License Fee                                   3653             $293,637.00
 ImageCast Central Annual License Fee                                     14              $205,114.00
                                                               TOTAL:                   $2,349,593.00



                 Annual Warranty: 2022 (optional to county)
 Electronic Poll Book (EPoll) Annual License Fee                         8000             $890,000.00
 ImageCast X Annual License Fee                                         30050           $2,396,412.38
 ImageCast Precinct Annual License Fee                                   3653           $1,498,522.62
 ImageCast Central Annual License Fee                                     14               $67,656.75
                                                               TOTAL:                   $4,852,591.75

         Annual Warranty: Years 2023 – 2029 (optional to county)
 Electronic Poll Book (EPoll) Annual License Fee                         8000             $890,000.00
 ImageCast X Annual License Fee                                         30050           $1,593,886.00
 ImageCast Precinct Annual License Fee                                   3653             $997,483.00
 ImageCast Central Annual License Fee                                     14               $47,515.00
                                                               TOTAL:                   $3,528,884.00



Price List – Standard Price List without volume discounts for future purchases by counties.

ImageCast Central Kit - G1130                                           $25,000.00
ImageCast Central Kit - M160ii                                           $7,500.00
ImageCast X Kit - Prime                                                  $3,500.00
ImageCast X Prime Voter Smart Card - Generic                                   $8.10
ImageCast X Prime Poll Worker Smart Card - Generic                             $8.10
ImageCast X Prime Technician Smart Card - Generic                              $8.10
ImageCast Precinct Tabulator - 320C                                      $3,900.00
Mobil Ballot Printing Kit #2 Portable High Volume                        $5,800.00
EMS Standard Server Kit (R630/WS2012/SS2016)                            $17,000.00
EMS Client Workstation Kit                                               $1,700.00
EMS Adjudication Workstation Kit                                         $1,700.00
Smart UPS 1500 (rack mountable)                                           $800.00
ATI Kit - ICX - USB                                                       $375.00
ImageCast X Voting Booth - Standard                                       $295.00


State of Georgia/Dominion Confidential                                                         95
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 98 of 113
Master Solution Purchase and Services Agreement




ImageCast X Prime Transport Bag - Single                   $60.00
ImageCast X BMD Printer Transport Bag                      $63.00
ImageCast Precinct Ballot Box - Plastic                  $1,000.00
ICP Paper Roll (98')                                        $4.00
Seals - Pull Up / Pull Tight - Plastic - Red (25/pkg)      $14.00
Seals - Pull Quick (25/pack)                                $6.75
Seals - Tamper Evident Security Label (25/pkg)             $16.75




State of Georgia/Dominion Confidential                                       96
        Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 99 of 113
Master Solution Purchase and Services Agreement



                                                   Exhibit H
                              To Master Solution Purchase and Services Agreement

                                                  INSURANCE


A. PERFORMANCE BOND

Contractor shall furnish a performance bond or an irrevocable letter of credit to the State for the faithful
performance of the Agreement in an amount equal to 100% of the value of the Agreement as determined
by the State. The bond shall be issued by a Corporate Surety authorized to do business with the State of
Georgia. The performance bond/letter of credit must be submitted to the State within ten (10) calendar days
of the date the Agreement is awarded, but in any event, prior to the beginning of any contract performance
by the Contractor. The Performance Bond requirement shall expire on December 31, 2020.

B. MINIMUM INSURANCE COVERAGE

1.1      Workers’ Compensation and Employer’s Liability - Statutory Workers Compensation as required
         by the laws of all jurisdictions (other than the State of Georgia) in which Contractor Personnel are
         physically present to perform the Services and/or the premises at which such Services were
         performed, and Employers’ Liability with a minimum limit of not less than $1 Million per occurrence.
         In the State of Georgia, Contractor shall maintain Workers Compensation Insurance (Occurrence)
         in the amounts of the statutory limits established by the General Assembly of the State of Georgia.
         Any self-insurer must submit a certificate from the Georgia Board of Workers Compensation stating
         that the supplier qualifies to pay its own workers compensation claims. In addition, Contractor shall
         require all subcontractors occupying the premises or performing work under the Agreement to
         obtain an insurance certificate showing proof of Workers Compensation Coverage with the
         following minimum coverage:

                       Bodily injury by accident - per employee $100,000;
                       Bodily injury by disease - per employee $100,000; and
                       Bodily injury by disease – policy limit $500,000.

1.2      Commercial General Liability (CGL) - On a per occurrence basis, including (a) products / completed
         operations coverage; (b) independent contractors protective coverage; and (c) contractual liability
         coverage, which coverage must specifically cover Contractor’s indemnification provisions
         contained herein (but net of intellectual property indemnification which shall be covered by the policies
         required in Section 1.5 below). The CGL policy must be maintained in effect for ten (10) years
         following the date of expiration or termination of the Agreement. The CGL policy shall provide for
         the following minimum coverage.

                       Each Occurrence Limit - $1,000,000;
                        Personal & Advertising Injury Limit - $1,000,000;
                       General Aggregate Limit - $2,000,000; and
                       Products/Completed Ops. Aggregate Limit - $2,000,000.

1.3      Automobile Liability - Covering all non-owned and hired vehicles utilized in the performance of the
         Agreement with a combined single limit of not less than $1 Million per occurrence (inclusive of
         amounts under Contractor’s umbrella policy).

1.4      Professional Errors & Omissions – Coverage, which shall include, but not be limited to, loss or
         damage resulting from errors and omissions, advertising injury, personal injury (including invasion
         of privacy), intellectual property offenses related to software, internet, network and e-business
         activities, claims of code misappropriation, code theft, copyright and/or trademark infringement with
         an aggregate limit of no less than $3 Million per claim. If the policy is issued on a claims-made
         basis, either an extended reporting period of not less than ten (10) years following the expiration or

State of Georgia/Dominion Confidential                                                                         97
       Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 100 of 113
Master Solution Purchase and Services Agreement



         termination of the Agreement shall be provided; or such coverage must be maintained in effect for
         ten (10) years following the date of expiration or termination of the Agreement. The retroactive date
         shall not precede the (signature) date of the Agreement.

1.5      Commercial Fidelity and Crime Insurance – Coverage with a limit of not less than $1,000,000 per
         occurrence, including coverage for or the benefit of State in the event of loss of money, securities
         or property third party legal liability, or fraud arising out of or in connection with the acts or omissions
         of Contractor Personnel in an amount not less than $1 Million per loss.

1.6      Cyber-Liability Insurance - Coverage $1,500,000 per occurrence covering liability for transmission
         of a virus, hacker damage, theft or unauthorized disclosure of private information, theft of digital ID,
         cyber business interruption, cyber extortion, and consumer and client coverage.

1.7      Excess or Umbrella Liability Insurance - Coverage on a follow-form basis, with a minimum limit of
         $5,000,000 per occurrence and $5,000,000 as an annual aggregate, in excess of the following
         insurance coverages described above: Worker’s Compensation Insurance and Employer’s Liability
         Insurance coverage; Commercial General Liability Insurance; and Automobile Liability Insurance
         coverage.




State of Georgia/Dominion Confidential                                                                            98
                 Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 101 of 113


                                                               Exhibit I
                                         To Master Solution Purchase and Services Agreement

                                           FORM OF DELIVERY & ACCEPTANCE NOTICE




State of Georgia/Dominion Confidential                                                        99
                 Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 102 of 113



                                                                                                          COUNTY:

                                                                                                            DATE:
                                      On-Site Acceptance Test Checklist                                   MODEL:
                                        ICX Prime – ImageCast X®                                      SW VERSION:

                                                                                                   SERIAL NUMBER:
                                                                                                      P
           STAGE                                                                                      A
 STEP                                                                                                                         COMMENTS
         DESCRIPTIO                                         DETAILS                                   S
  NO.                                                                                                 S     Please list any anomalies or issues and resolution.
             N                                                                                        

                                                 Unpacking & Inspection Stage
   1                     Ensure the system is properly packed.
                         Ensure that the following items are present in the packaging box:
                          1. Inspect the machine for any external damage.
            Physical      2. Inspect the screen
   2       Inspection     3. Inspect the stand
                          4. Inspect the card reader slot
                          5. Open the four external doors and check for damage to ports.
                          6. Verify the presence of the power cord(10’) and the external battery
   3                     Place ICX and HP Printer on flat surface
   4       Hardware      Connect AC Power Supply to ICX ( bottom-right corner)
   5        Setup        Connect Power Cable to rear of HP Printer
                                Power Up and System Status Verification (with Test CF cards)
                         Turn on Printer ( Front of Unit)
          Maintenance    Turn on ICX Prime( bottom-right door)
          Diagnostic     ICX unit launches the ICX application by default
                         Check battery charging status ( top right tool bar)
                                               Verify Android Version/Kernel Version

                         Insert Technician Card:
                          1.    Enter Technician Pin and Select Login
                          2. Confirm and modify the date and time
                          3. Select Android Settings
                          4. Select About Tablet
                          5. Verify Android Version
                          6. Verify Kernel Version Date
          Maintenance     7. Select home
          Diagnostic
          (Continue)     Check functionality of all USB ports:
                             A. Unplug ATI cable from USB port and plug into each USB port not
                                   being use.
                             B. There are a total of 6 ports: 4 ports inside top left door, 2 ports
                                   inside top right door.
                             C. Light blinks when plugged in. Repeat for each USB port.
                             D. When finished, plug ATI cable back into original USB port

                        Load Elections Files On USB ( PG_ICX.dat file)
                        Load Election file to ICX:
                         1.   Insert Technician card
                         2.   Enter Technician Pin and Select Login
                         3.   Select Load Election Data
                         4.   Select the PG_ICX.dat file
           Functional
                         5.   Select the select option
             Testing
                         6.   Select Copy
                         7.   Select OK
                         8.   Select Result Location to Prime (Drop down menu)
                         9.   Select Apply
                         10. Select OK
                         11. Remove Technician Card
                        Open Election Polls:
                         1. Insert Pollworker Card
                         2. Enter Pollworker Pin and Select Login
                         3.   Select the appropriate tabulator (Drop down menu)
           Functional
                         4. Select OK
             Testing
                         5.   Check the box to enable AVS Controller
           (Continue)
                         6.   Check the box to enable Manual Session Activation
                         7.   Select Yes
                         8.   Select OK
                         9.   Remove Pollworker Card
State of Georgia/Dominion Confidential                                                                                                 100
                 Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 103 of 113


                         Activate a Manual Voter Session:
                         1.   Insert Pollworker card
                         2.   Select the Activation Ballot tab
                         3.   Enter Activation Code
                         4.   Select Next
                         5.   Select Regular
                         6.   Voting Session will start
                         7.   Remove Pollworker card

                        Activate a Manual Voting Session with Audio:
                         1.   Insert pollworker Card
                         2.   Select the Activation Ballot tab
                         3.   Select Enable AVS controller check box
                         4.   Select Next
                         5.   Select Regular
                         6.   Voting Session will start, LED will turn yellow
                         7.   Remove Pollworker Card

                        Vote and cast Audio ballot:
                         1.   Select Vote in English
                         2.   Select ATI
                         3.   Make Voting selections with ATI and cast ballot
                         4.   Confirm selections are heard on headphone
                         5.   Select more (top right corner)
                         6.   Cancel Activation

                         Vote and Cast Ballot:
                         1.   Select Vote in English
                         2.   Make voting selections and cast ballot
                         3.   Print ballot, confirm printed selections
                         4.   Insert ICX ballot into ICP2 Tabulator
                         5.   Confirm ICP2 has accepted ICX Ballot

                         Close polls:
                         1.    Insert Pollworker card
                         2.    Enter Pollworker Pin and select Login
                         3.    Select Close poll and select yes
                         4.    Report Prints
                         5.    Select OK
                         6.    Remove Pollworker card

                        Re-zero results:
                         1.   Insert Technician card
                         2.   Enter Technician pin and select Login
                         3.   Select Re-zero
                         4.   Select Yes
                         5.   Re-enter Technician pin
                         6.   Confirm all results are deleted
                         7.   Select OK

                        Reset Machine:
                         1.   Select Clear All Election Data
                         2.   Select Yes
                         3.   Enter Technician pin
                         4.   Confirm selections are heard on headphone
                         5.   Confirm all election data, results and audit logs are deleted
                         6.   Select OK

                        Power off Unit (bottom right corner)




State of Georgia/Dominion Confidential                                                        101
                 Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 104 of 113




                                                                                                                       County:

                                                                                                                        DATE:
                                         Acceptance Test Checklist                                            PCOS MODEL:
                                             ImageCast® Precinct                                               FW VERSION:
                                                                                                               PCOS SERIAL
                                                                                                                  NUMBER:
                                                                                                                                 P
                                                                                                                                 A                  COMMENTS
 STEP      STAGE
                                                                     DETAILS                                                     S     Please list any anomalies or issues and
  NO.   DESCRIPTION                                                                                                              S
                                                                                                                                 
                                                                                                                                                      resolution.
                                                    Unpacking & Inspection Stage
   1                       Ensure the system is properly packed in a large plastic zip-tight bag.
                           Ensure that the following items are present in the packaging box:
                                       1.    Power supply unit
          Unpacking
   2                        2. Power Cord.
                            3. Two (2) Memory Cards
                            4. Two (2) Security Keys (iButtons)
   3                       Verify that the ICP is secured to the ballot box correctly.
   4      Inspection       Verify unit has external doors installed and function correctly.
   5                       Ensure that there are no obvious scratch marks, dents or spots.
                                            Power Up and System Status Verification (with Test cards)
                           Insert two (2) cards programmed with a Test Election Project into the
   6                       memory card slots of the tabulator. Note: The Test Election Project must be
            System         compatible with the SW installed on the tabulator.
           Power Up        Power up the system and verify that the appropriate audio-visual indications
   7
            Status         are seen and heard and that the correct F/W version successfully installed.
          Verification     When prompted by the operator screen (accompanied by an audible beep),
   8                       place the security token on the tabulator. Hold the token in place until the
                           operator screen displays “Key Accepted, Validating Election Files”
                                            Functional Testing (with Test Election cards)
                  (Note: This section is to be performed based on the ImageCast® L1 Tech Guide v0-02 20100310 Level 1 Maintenance Manual)
                           Select "Utilities” from the Admin menu. Select “Diagnostic” from the Utilities
                           menu and select "Complete" and verify that all diagnostic functions
   9
                           complete successfully

                           Verify that the printed tape has the same serial number that is on the
  10                       tabulator and also has the correct software version listed

                           Select the “open Poll” option from the Administrator menu. The Operator
  11                       Screen will display that the totals are zero. Press the “Zero” button to print
                           the zero proof.
                           Inspect the printed tape to verify that the serial number on the tape matches
  12
                           the tabulator.
                           Unplug the A/C power from the rear of the unit to verify that the unit is
  13
                           running on battery.
           Election
                           Preform standard voting using the supplied test deck.
           Project
                           Note: This is not a conclusive battery capacity test but only verification of the
  14       Testing
                           battery's ability to hold charge. Re-Connect to AC power source upon
                           completion.
                           Close the polls and print the results tape. Verify that the results on the report
  15
                           match the expected results as per the Master Results Report Tape.
  16                       Re-zero the memory cards.
  17                       Follow the standard procedure to power down the tabulator.
  18                       Unplug AC power cord and any peripheral devices attached to the tabulator.
  19                       Record the machine Serial Number in the Inventory Database.
         Power Down
  20                       Place the completed and signed Checklist with the tabulator.
           & Sign
  21                       Store the system away or set aside for dispatch, whichever required.
  22




State of Georgia/Dominion Confidential                                                                                                                              102
                 Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 105 of 113



                                                                                                                COUNTY:

                                                                                                                   DATE:
                                     On-Site Acceptance Test Checklist                                           MODEL:
                                    ICC – Canon ImageCast Central®                                           SW VERSION:

                                                                                                          SERIAL NUMBER:
                                                                                                            P
           STAGE                                                                                            A
 STEP                                                                                                                               COMMENTS
         DESCRIPTIO                                        DETAILS                                          S
  NO.                                                                                                       S     Please list any anomalies or issues and resolution.
             N                                                                                              

                                                 Unpacking & Inspection Stage
   1                    Ensure the system is properly packed.
                        Ensure that the following items are present in the packaging box:
                         5. Power cord
          Unpacking      6. USB Data cable
   2
                         7. Dell all in one workstation
                         8. Keyboard, mouse, power cord, dell driver disk
                         9. CF card reader, iButton reader and adaptor
   3                    Ensure there are no loose screws or parts.
   4                    Remove all tape and foam packaging from scanner and workstation.
   5      Inspection    Ensure that there are no obvious scratch marks, dents or spots.
                        Verify that the Scanner, keyboard, mouse, iButton reader and CF card reader
   6
                        are all plugged into the workstation properly.
                               Power Up and System Status Verification (with Test CF cards)
                        Insert one (1) CF card programmed with a Test Election Project into the CF
   7
            System      reader and attach the iButton to the 1wire adaptor.
           Power Up     Power up the system, Enter the login credentials and verify that the operating
   8
                        system powers up correctly and no hardware error messages occur.
                                      Functional Testing (with Test Election CF cards)
                        Load the election files to the proper location as specified in the ICC user
   9
                        guide.
                        Verify the following:
                         10. Open the ICC Application and enter the administrator code”12345678”
  10                     11. Ensure that the scanner initializes and no error messages occur.
                         12. Verify the Software version of the application under the “Status” tab.

                        Under Configuration:
           Election
                              1.    Enter supervisor mode and verify that the scan options are set to
           Project
                                    maximum paper length and that the driver options are set to user
  11       Testing
                                    guide saved profile.
                              2.    Set the server path if applicable
                              3.    Change stop options if applicable
  12                    Print or save a zero proof report from the status menu.
                        Scan the pre marked test deck and verify that the scanner is stopping on all
  13
                        exception ballots that were pre-determined.
  14                    Close the tabulator and print or save the results report.
  15                    Compare Results to the master report for accuracy.
  16                    Zero the tabulator and close the application.
         Power Down
                        Reset the DVS folder to a new election state by deleting the all election files
  17       & Sign
                        from the DVS and config folders and power down the scanner.




State of Georgia/Dominion Confidential                                                                                                       103
       Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 106 of 113


                                                   Exhibit J
                              To Master Solution Purchase and Services Agreement

                                         DISASTER RECOVERY PLAN

Overview

The Disaster Recovery & Business Continuity Plan (“DRCP”) described herein details the coordinated
mitigation strategies employed by Dominion Voting Systems, Inc. (Dominion) during project
implementation in conjunction with the State of Georgia in the event of a disaster leading to business
interruptions

This Plan remains valid until superseded by a revised DRCP mutually endorsed by the partners. This
DRCP outlines the parameters of all strategies offered as the primary partners mutually understand them.
This DRCP does not supersede current processes and procedures unless explicitly stated herein.

Dominion will from time to time review its procedures with respect to security safeguards through risk
assessments, benchmarking or other means, to determine whether they are still consistent with applicable
Privacy Laws, appropriate to the risks, and consistent with best practices, and if not, Dominion will revise
the same as required.

Scope and Objectives

The scope of this Disaster Recovery & Business Continuity Plan is to document the coordination and
support strategies set by the State of Georgia in conjunction with Dominion in the event of a disaster or
major business interruption. Dominion shall implement the recovery strategies as set forth in this
document in line with the State of Georgia processes.

The objectives of the Disaster Recovery & Continuity Plan include the following:

             To minimize interruptions of normal operations.
             To limit the extent of disruption and damage.
             To minimize the economic impact of the interruption.
             To establish alternative means of operation in advance.
             To train personnel with emergency procedures.
             To provide smooth and rapid restoration of service.

The Disaster Recovery & Continuity Plan accounts for a variety of disruption types. The first step is to
identify the potential disaster and issue types and assess the risk associated with each one. After
identifying the potential risks, it is necessary to grade them based on likelihood and seriousness.
Preventative measures are then identified for risk prevention and recovery strategies are outlined in cases
where disruption occurs.

Team Members & Responsibilities by Phase

This disaster recovery plan focuses on the primary Crisis Team and departmental/management leadership
responsibilities related to incidents or situations outside normal business operations. The Crisis Team
will include both senior GASOS and Dominion management (President, Executive Vice Presidents and
local Project Manager) and specific corporate department heads (Accounting, Administration/Facilities,
Human Resources, Information Technology, and Marketing and Sales). The Dominion Executive Vice
President and GASOS designated executive (or other senior GASOS assigned staff) may designate
additional staff from their areas of responsibility to assist the Crisis Team. This may be particularly
important if a location other than the main corporate headquarters in Denver, CO or our Atlanta metro
State of Georgia/Dominion Confidential                                                                      104
       Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 107 of 113


area facility is impacted by a disaster situation. In a situation of this nature, the local Project Manager and
his/her department heads will assist the Crisis Team with any additional support required provided by
wither Dominion or GASOS corporate offices.

At Imminent Declaration of a Disaster

Crisis Team

             All Crisis Team members must work to ensure the immediate safety and well-being of all
              GASOS, Dominion staff, and electors present.
             Implement the Disaster Recovery & Business Continuity Plan (DRCP).
             Adjust the task list and timelines of the DRCP as necessary.
             The GASOS Crisis Team members in collaboration with Dominion Crisis Team members
              will communicate with all staff, insurance and service providers customers, news media as
              necessary (via telephone, email, fax, or through local cable or radio channels – employees
              should follow local guidelines regarding radio or cable channels to monitor in case of a
              disaster situation in their area.)
             The President of Dominion, with informational assistance from both GASOS and Dominion
              staff, will make the decision regarding “Stay and Repair”, “Repair and Temporarily
              Relocate”, or “Permanently Relocate” operations.
             Monitors DRCP progress.
             Assists each employee/department as required
             The President of Dominion in partnership with the designated executive from GA SOS is
              responsible for making the decision regarding when to transition from the crisis phase to the
              recovery phase of the plan.
             Implement Recovery Phase tasks.
             GASOS in partnership with Dominion will communication with staff, insurance and service
              providers, customers, news media as necessary.
             The President of Dominion and the designated executive from GASOS are responsible for
              making the decision regarding when the recovery phase has been completed and the
              corporation can return to “business as usual.”
             Critique and review DRCP and processes and update and enhance the DRCP as needed.
             Dissemination of updated DRCP/destruction of previous version of DRCP.

Senior Management

             Remain visible to employees, customers, and stakeholders.
             Delegate recovery roles.
             Establish the Disaster Recovery as a partnership between GASOS and Dominion
             Direct, manage and monitor the recovery.
             Ensure all business and operational units receive normal ongoing support (offices and
              business units in other locations not impacted by the disaster).
             Avoid the temptation to participate “hands on.”
             Publicly praise success.
             Rationally amend business plans/projections as necessary.
             Closely control media and analyst communications to ensure accuracy of information
              dissemination.




State of Georgia/Dominion Confidential                                                                     105
       Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 108 of 113


Human Resources

             Monitor employee morale
             Monitor productivity of personnel
             Prioritize reallocation of resources
             Provide appropriate retraining
             Provide counseling and support resources

Technology Management

             Identify/prioritize mission critical applications
             Prepare business impact analysis by unit
             Re-assess original recovery plans as necessary
             Continuously assess recovery site stability
             Recover/reconstruct all critical data ASAP in the agreed order (department, function, site,
              etc.)
             Ensure all business and operational units receive normal ongoing support (offices and
              business units in other locations not impacted by the disaster)
             Information systems security during the disaster and recovery, including opportunistic fraud

Within the Recovery Environment

Crisis Team
         Assesses the adequacy of information security
         Assesses the adequacy of system security
         Re-assesses recovery tolerance/timeframes
         Evaluates recovery contingencies
         Develops and tests recovery plans semi-annually
         Develops emergency plans for recovery staff
         Evaluates Information systems security

Customers Clients and Suppliers

             Re-establishes customer and vendor contacts ASAP
             Recover/reconstructs customer data and contracts
             Continues full customer support/assistance services
             Reconsider product and service cost/delivery projections

In the Post-Disaster Environment

Crisis Team

             Assists in responses to any changed customer requirements
             Assesses ability to respond to customer requests/inquiries
             Assesses Customer/Counterparty stability
             Assesses Supplier/Vendor reliability
             Statuses existing orders and contracts
             Assists in fulfillment of Customer support needs




State of Georgia/Dominion Confidential                                                                  106
       Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 109 of 113


Finance Department, General Counsel and Compliance

             Protect facilities from further damage
             Site security
             Formally notify insurers of any claims
             Ensure all business and operational units receive normal ongoing support (offices and
              business units in other locations not impacted by the disaster)

Process Re-Establishment

             Key reconciliations
             Other financial controls
             Meaningful key performance indicators

Dominion Operations
        Assess ability to deliver customer orders
        Identify outsourcing options/opportunities
        Refresh supply chain management
        Analyze lease options/requirements
        Establish new risk Dominion controls
        Amend policies and procedures
        Monitors DRCP progress assists each employee/department as required
        Implement Recovery Phase tasks continue communication with staff, insurance and service
          providers, customers, and other items
        Critique and review DRCP and processes and update and enhance the DRCP as needed
        Dissemination of updated DRCP/destruction of previous version of DRCP

Identification of Disaster Scenarios

The types of disasters that we must prepare for include the following:
        Environmental disasters
        Criminal disasters
        Hardware failures
        Programming and Generation Failures
        Service and Shipping Failures
        Network and Power Failures

Environmental and Criminal Disasters

Environmental disasters can range from events such as fires and floods. To account for these types of
potential disasters, Dominion incorporates preventative measures into the initial project plan. Although
the likelihood of these types of disasters is low, the seriousness is quite high. Dominion maintains
inventories of spare voting equipment (both vote counters and accessible voting devices) in case of such
disasters. In addition to spare equipment and systems, Dominion also maintains an inventory of spare
parts that can be used to repair systems with minor damage.

In the event of an Environmental Disaster, the recovery strategy includes deployment of spare units to the
affected voting locations. This additional equipment may be used to supplement the project, if the scope
of the disaster is far worse than the spare units are capable of rectifying. The recovery strategy for a
criminal disaster would also include deploying spare units and replacing the units through investigative
and insurance claims.

State of Georgia/Dominion Confidential                                                                 107
       Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 110 of 113


Security systems and/or secure storage facilities are used to store spare inventory and Dominion requires
that the customer implement similar security measures when responsible for voting equipment and
hardware. Dominion equipment also incorporates built-in security features on each other their voting unit
through the use of redundant memory media locks, and seal hasps.

All edges, upon which a tabulator is connected to the ballot box, are pre-sealed in manufacturing to
prevent ballots from being dropped within the ballot box without passing through the vote center. These
edges can further be sealed with the use of sticker seals.

Hardware Failures

Although there is a higher likelihood of hardware failures, than environmental or criminal disasters, these
types of failures are commonly less serious or severe. Hardware failures encompass any type of issue that
may prevent the use of the vote counting equipment or accessible voting equipment.

Preventative measures are employed on all equipment in order to minimize the potential for hardware
failures. These measures include diagnostic testing and maintenance prior to deployment. The
maintenance and diagnostic testing examines the condition of the equipment and its components and tests
the systems hardware and configuration. Diagnostic testing examines the functionality of the equipment
and ensures all aspects are in proper working order.

Dominion maintains inventories of spare voting equipment (both vote counters and accessible voting
devices) in case of such disasters. In addition to spare equipment and systems, Dominion also maintains
an inventory of spare parts that can be used to repair systems with minor damage. Supplementary units
are deployed in the event of a major hardware failure, and their initial inclusion in the project plan is
another preventative measure for this type of failure.

Prior to an election event, pre-election logic and accuracy testing is performed. Similar to the
preventative testing implemented by Dominion, logic and accuracy testing ensures accurate functioning
of the equipment. Any malfunctions or deficiencies found during L&A testing can be repaired in advance
of the election event. If a hardware failure of any type occurs, the recovery strategy would include
troubleshooting, and diagnosis. If the failure is deemed non-repairable, a spare unit will be deployed in
its place. Spare units should be included in the stock purchased by the GASOS so they are available for
immediate deployment in regional deployment centers. This rapid deployment provides a solution to a
hardware failure.

           ID           Description of Risk                       Preventative           Recovery
                                                                  Measures               Strategy
           1    Vote Counting Equipment: Malfunctions during      Diagnostic testing     Deploy spare
                tabulation/scanning                               Pre-election Logic     voting units
                                                                  and Accuracy testing
           2    Vote Counting Equipment: Malfunction during       Diagnostic testing   Deploy spare
                ballot review, prior to ballot being cast         Pre-election Logic   voting equipment
                                                                  and Accuracy testing
           3    Accessible Voting Equipment: Malfunctions           Diagnostic testing   Deploy spare
                during accessible session (technical or user error) Pre-election Logic   voting equipment
                                                                    and Accuracy testing
           4    Accessible Voting Equipment: Malfunctions         Diagnostic testing   Deploy spare
                during review of voting session, prior to paper   Pre-election Logic   voting equipment
                ballot printing                                   and Accuracy testing


State of Georgia/Dominion Confidential                                                                  108
       Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 111 of 113


           5    Accessible Voting Equipment: Malfunction           Diagnostic testing   Deploy spare
                during ballot printing                             Pre-election Logic   voting equipment
                                                                   and Accuracy testing
           6    Voting Equipment: Malfunctions during opening Diagnostic testing   Deploy spare
                or closing of polls                           Pre-election Logic   voting equipment
                                                              and Accuracy testing
           7    Voting Equipment: Malfunctions during advance Diagnostic testing   Deploy spare
                or special voting days                        Pre-election Logic   voting equipment
                                                              and Accuracy testing
           8    Voting Equipment: Malfunctions during pre-         Diagnostic testing     Deploy spare
                election Logic and Accuracy testing                                       voting equipment
           9    Voting Equipment: Malfunctions during post-        Diagnostic testing   Deploy spare
                election Logic and Accuracy testing                Pre-election Logic   voting equipment
                                                                   and Accuracy testing

         Programming and Configuration Failures

         Programming and configuration failures are most likely to occur during the configuration phase
         (pre-election). Preventative measures include testing configurations and programming prior to
         delivery to the customer. For example, ballots are tested after printing to ensure that the voting
         equipment is able to gather the appropriate information from the ballot. These testing steps are
         implemented so if an error is discovered they can be corrected as part of the recovery strategy.
         The recovery strategy for this type of failure, involves determining the error and rectifying it
         immediately. The preventative steps are put in place, so errors can be detected and the recovery
         strategy may be implemented in a timely manner.

           ID Description of Risk                               Preventative         Recovery Strategy
                                                                Measures
           10 Error during memory card and security key         Tested prior to      Determine error
              programming                                       being sent to        and correct;
                                                                {client name}        reprogram cards
           11 Unable to collect pronunciation of candidate      Software/Process     Determine error
              and party names through normal process            already been used    and correct
                                                                in the past to
                                                                collect this info
           12 Ballots generated incorrectly                     Tested prior to      Determine error
                                                                printing             and correct
           13 Ballots printed incorrectly                       Tested after being Determine error
                                                                printed            and correct;
                                                                                   reprint ballots


         Service and Shipping Failures

         Please refer to the Service Level Agreement for detailed preventative measures and recovery
         strategies regarding the services provided by Dominion. Additional resources are available and
         factored in to the project plan for every Dominion project. In the event of a resource or delivery
         issue, for example, an employee taking leave during a project, additional resources are available
State of Georgia/Dominion Confidential                                                                    109
       Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 112 of 113


         to supplement the project and in turn to prevent or recover from a resource issue. All Dominion
         employees utilize the same standardized procedures and collaboration techniques to ensure a
         seamless transition in case of accident or other business continuity threat.

           ID Description of Risk                              Preventative          Recovery Strategy
                                                               Measures
           14 Model and Demonstration Units unavailable        Voting Equipment      Use Allotted
              by requested Dates                               already               Additional
                                                               manufactured and      Resources
                                                               in- stock
           15 System equipment not shipped by time set out Voting Equipment          Use Allotted
              in the Project Plans                          already                  Additional
                                                            manufactured and         Resources
                                                            in- stock
                                                            Have used same
                                                            shipping company
                                                            for past elections;
           16 Supplies not delivered to correct location/by Most Supplies            Use Allotted
              time set out in the Project Plans/ contract   already                  Additional
              agreement                                     manufactured and         Resources
                                                            in- stock
                                                            Have used same
                                                            shipping company
                                                            for past elections;
           17 Error in shipping results in system equipment Have used same d         Send another
              not arriving at appropriate location          shipping company         shipment with
                                                            for past elections;      different shipping
                                                            never encountered        company
                                                            this issue
           18 Shipment handling resulting in damage to         Have used same        Send another
              system equipment                                 shipping company      shipment with
                                                               for past elections;   different shipping
                                                               never encountered     company
                                                               this issue
           19 Unable to supply personnel for on- site          Always schedule Use Allotted
              support                                          back-up personnel Additional
                                                               for on-site support Resources
           20 Unable to perform training on date set out in    Always schedule Use Allotted
              Election Calendar                                back-up personnel Additional
                                                               for on-site training Resources
           21 Issue in travel resulting in trainer unable to   Never encountered Use Allotted
              make training date/location                      this issue in past Additional
                                                               elections; always Resources
                                                               schedule travel
                                                               ahead of training
                                                               session to prevent
                                                               these issues



State of Georgia/Dominion Confidential                                                                    110
       Case 1:17-cv-02989-AT Document 786-2 Filed 08/20/20 Page 113 of 113


         Power Failures

         In the event of a power failure, the voting equipment is configured to maintain the integrity of
         Election Day results. The battery power supplied to the vote tabulator provides sufficient time to
         properly power-down the unit and protect the integrity of the results. If the battery discharges
         prior to a proper power-down, the results will remain stored in the memory cards, unchanged by
         the improper power down.

           ID Description of Risk                              Preventative         Recovery Strategy
                                                               Measures
           24 Power failure resulting in call center being     Ensure other         Route all calls and
              unreachable                                      support locations    communications to
                                                               are available        alternate support
                                                                                    location
           25 Call center overloaded/network failure           Ensure other         Route calls and
              resulting in delay in return of                  support locations    communications to
              calls/unreachable                                are available        alternate support
                                                                                    location
           26 Network Failure during Ballot Generation         Generate Copies      Deploy Copy

           27 Power Failure during Ballot Generation           Generate Copies      Deploy Copy
           28 Power Failure on Election Day                    Backup Battery in Shut down voting
                                                               Voting Equipment equipment.

                                                                                    Use auxiliary port
                                                                                    on ballot box.


         Escalation Process

         Contact Details

         In the event of any type of disaster, the Vendor Delivery Manager will be the primary point of
         contact. The primary contact will have access to key resources on the Dominion Project teams as
         well as product and technical specialists and will be responsible for coordination of all recovery
         strategies.

         Escalation Chain of Command

         If during the recovery period the primary contact is not available, the following Dominion
         representatives should be contacted in the listed order below:

         Primary Contact: Project Manager
         Secondary Contact: Executive Sponsor
         Tertiary Contact: President of Dominion Voting




State of Georgia/Dominion Confidential                                                                    111
